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 1    Joseph Miner
      PO Box 11650
 2    Costa Mesa, CA 92627
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 3    Email Address: josephminer@gmail.com                              DEC 23, 2024
 4                   self-represented (pro se)
                                                                                  PD
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 6
 7
 8
                                    UNITED STATES DISTRICT COURT                        PAID
                                    CENTRAL DISTRICT OF CALIFORNIA
 9
10     JOSEPH MINER, an individual,
                                                                        8:24-cv-02793-MCS (E)
                                                    Civil Action No. _________________________
11                     Plaintiff,                   Related: 8:22-cv-01043-CAS-MAA (stayed)
12                         vs.
13     CITY OF DESERT HOT SPRINGS,                  VIOLATION OF FEDERAL CIVIL RIGHTS
       CALIFORNIA, a municipal                      42 U.S.C. Section § § 1983
14     corporation;
                                                    CONSTITUTIONAL AMENDMENTS
15     TUAN ANH VU, an individual;
                                                    STATE CLAIMS
16     PRESIDING JUDGE OF THE
       SUPERIOR COURT OF RIVERSIDE                  DECLARATORY RELIEF
17     COUNTY SUPERIOR COURT in
       official and administrative capacity;        INJUNCTIVE RELIEF
18
       ADMINISTRATIVE DIRECTOR OF                   DEMAND FOR JURY TRIAL
19     RIVERSIDE SUPERIOR COURT,
       EXECUTIVE OFFICER (JASON                     Declaration of Joseph Miner with exhibits
20     GASKIN) in official and administrative
       capacity.
21
22     DOE DEFENDANTS 1-20,
                       Defendants.
23
24                                               COMPLAINT
25           COMES NOW PLAINTIFF, JOSEPH MINER, pro se. Plaintiff complains of the above-
26    named Defendants as follows:
27           Paramount in this Bangladeshi hailstorm from hell, within the cluster of issues that have
28    injured Plaintiff since he was targeted by the City, is that a judicial imposter - not a judge; an


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 1    individual with no permission, no stipulation, no training, no experience, no history, and most
 2    importantly no jurisdiction – obstinately, and clearly against Plaintiff Miner’s will and consent,
 3    heard and decided critical issues of law – then issued legal decrees and judgment, affecting
 4    Plaintiff’s life, rights, liberty, and property -- affecting him personally, for eternity.
 5            These acts deprived Plaintiff of his rights secured by the Constitution. The law is clear -
 6    “Every order thereafter made in that court [is] coram non judice,” meaning “not before a judge.”
 7    (Steamship Co. v. Tugman, 106 US 118 - Supreme Court 1882); (Roman Catholic Archdiocese v.
 8    Feliciano, 140 S. Ct. 696 - Supreme Court 2020); Black's Law Dictionary 426 (11th ed. 2019).
 9    See also 14C C. Wright, A. Miller, E. Cooper, J. Steinman, & M. Kane, Federal Practice and
10    Procedure § 3736, pp. 727–729 (2018). As the Kern Court stated: “being without jurisdiction, its
11    subsequent proceedings and judgment were not, as some of the State courts have ruled, simply
12    erroneous, but absolutely void. (Kern v. Huidekoper, 103 US 485 - Supreme Court 1881)
13            Section 1983 provides a tort remedy against "[e]very person who, under color of [state
14    law] subjects, or causes to be subjected, any citizen of the United States ... to the deprivation of
15    any rights, privileges, or immunities secured by the Constitution and laws." 42 U.S.C. § 1983.
16            1.      The crux of this complaint targets clarification of law, and Riverside Superior
17    Court’s policy of assigning subordinate judicial officers (SJO) to falsely act as duly appointed
18    judges without mandated constitutional or legal authority. This cloaked practice, as all judicial
19    officers wear black robes, violates and has violated due process, equal protection, the California
20    Constitution, the Unified States Constitution and civil rights of party litigants including Plaintiff.
21    The practice will likely violate Plaintiff’s civil and constitutional rights in the future.
22            2.      Additional causes of action include the City Defendants’ violation of due process,
23    abuse of process, and malicious prosecution against Miner by Defendant Tuan Anh Vu and the
24    City of Desert Hot Springs.
25            3.      Because of un-foreseeable acts by the un-stipulated commissioner in state court,
26    Miner contends this action regarding the issues raised logically must precede and complete
27    before the continuation of Miner’s previously filed and stayed federal action in the Central
28    District of California case # 8:22-cv-01043-CAS-MAA.


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 1                                     JURISDICTION AND VENUE
 2            4.     Plaintiff brings this civil-rights lawsuit pursuant to 42 U.S.C. § 1983 and the
 3    Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, for violations of rights, privileges, or
 4    immunities secured by the U.S. Constitution.
 5            5.     This Court has jurisdiction under 28 U.S.C. § 1331 (federal-question jurisdiction)
 6    and 28 U.S.C. § 1343 (civil-rights jurisdiction). To the extent that there are issues of State law
 7    and State constitutional law, this Court has supplemental jurisdiction pursuant to 28 U.S.C. §
 8    1367.
 9            6.     Venue is proper in the Central District of California under 28 U.S.C. § 1391.
10                                                  PARTIES
11            7.     Plaintiff JOSEPH MINER (hereinafter Plaintiff, or Miner) is an individual and is
12    a citizen and resident of Orange County, and Riverside County, California.
13            8.     At all times material herein Plaintiff Joseph Miner has been the sole owner of a
14    rectangular 5+/- acre ranch with a designated main physical address of 66381 Dillon Road,
15    Desert Hot Springs, California (Ranch). Plaintiff has been a resident of Desert Hot Springs postal
16    code since 1994. Plaintiff has effectively been a resident of the City of Desert Hot Springs since
17    about 2010 when his Dillon Road ranch property was moved out of jurisdiction of the County of
18    Riverside, and forcibly annexed into jurisdiction of the City.
19            9.     At all times herein alleged, Plaintiff Joseph Miner was an inhabitant of the United
20    States of America and within its jurisdiction. Plaintiff Miner pays a variety of taxes to the City of
21    Desert Hot Springs including sales and property tax.
22            10.    Defendant PRESIDING JUDGE RIVERSIDE COUNTY SUPERIOR COURT
23    (“PJRC”) is Judith Clark, according to its Web site (accessed December 22, 2024), the Riverside
24    County judicial arm of the California judiciary.
25            11.    Defendant RIVERSIDE COUNTY SUPERIOR COURT EXECUTIVE OFFICER
26    (“RCEO”) is Jason Galkin, according to its Web site (accessed December 22, 2024), the
27    Riverside County judicial arm of the California judiciary. Superior court officials are sued in
28    their administrative and official capacity.


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 1           12.     At all times material herein Defendant TUAN ANH VU (Vu or VU) is named as
 2    an individual who has acted under color of state law, and at all times relevant to this action, was
 3    a contract employee for the City of Desert Hot Springs. Defendant Vu works at the City offices.
 4           13.     Plaintiff contends Defendant Vu is involved, and some way, in some form, acts as
 5    a legal researcher, legal document author, consultant, and also as a supervisor or manager in an
 6    administrative capacity, and either controls, or has a say in every code action and court action.
 7    Plaintiff alleges Defendant Vu has full knowledge the defendants City and Vu acted wilfully, in
 8    many cases ultra vires, beyond the law, or in conflict with the law, and mislead the court.
 9           14.     Defendant CITY OF DESERT HOT SPRINGS (City or DHS) at all times relevant
10    to this complaint is/was a charter city, and municipal corporation, employing the individual
11    Defendants, officers, and employees, who were acting within the scope of their employment
12    within Riverside County, California and operating under the laws of the State of California.
13           15.     City Defendants are believed to use the following address at Desert Hot Springs
14    City Hall, 11999 Palm Drive, Desert Hot Springs, California. City Defendants are officials,
15    employees, and members of the City of Desert Hot Springs. It is believed Defendant VU as a
16    manager or supervisor, decision and policy maker, reports to the City manager. He may also
17    report to City Council. Plaintiff has specifically advised the City Council of these issues. Miner
18    has properly filed tort claims against the City. The City and its agent failed to respond to the
19    instant tort claims filing regarding this action. Miner was admonished in writing by the City’s
20    defense attorneys for requesting a tort claim response from the City and its agent.
21           16.     Every Defendant who is a natural person is sued in both his / her individual /
22    personal capacity, as well as in his / her official capacity if he or she had any policymaking
23    duties, decisions, functions, or responsibilities with respect to the matters alleged herein. Plaintiff
24    alleges a “meeting of the minds” that ties all defendants to the allegations. Separately alleging a
25    count for conspiracy would be redundant.
26           17.     The true names and capacities, whether individual, corporate, associate or
27    otherwise, herein named as DOES 1 through 20, and persons heretofore unknown involved in the
28    actions taken against Plaintiff are unknown to him at this time. Plaintiff is informed and believes


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 1    and based thereon alleges that each of the DOE Defendants are responsible in some manner for
 2    the wrongful conduct and occurrences herein referred to, and that Plaintiff’s injuries and damages
 3    as herein alleged were proximately caused by those Defendants.
 4           18.     Defendants Does 1-20 are the unknown agents of Defendants who participated in
 5    the allegations. Once their identities have been determined through discovery, the Complaint will
 6    be amended to name them.
 7           19.     Plaintiff sues said DOE Defendants by such fictitious names on the grounds that
 8    the true names and capacities of said Defendants are unknown to them at this time. Plaintiff will
 9    amend this complaint when the true names and capacities of said DOE Defendants are
10    ascertained. Each reference in this complaint to Defendant, “Defendants” or a specifically named
11    Defendant also refers to Defendants sued under fictitious names.
12                                      FACTUAL INTRODUCTION
13           20.     After the City’s allegedly unconstitutional search of his ranch, without a warrant,
14    then receiving an administrative citation more than two months later, Miner alleges the City did
15    everything in its power to disrupt and prevent a fair and meaningful defense, a fair hearing, and
16    finally, a fair trial. (See Decl. Miner attached with exhibits)
17           21.     Miner was forced the full pay fine in advance just to schedule a hearing to dispute
18    the allegations and defend himself (this seems to be a constitutional violation). The City, without
19    legal authority, scheduled a zoom hearing. When Miner refused a zoom hearing where no
20    evidence could be presented live, the City abruptly changed the hearing date without proper legal
21    notice. Defendant Vu gave Miner the wrong hearing information by email. Nevertheless, the
22    hearing went forward without Miner.
23           22.     At the hearing Defendants City and Vu failed to advise the hearing officer,
24    knowing well in advance, Miner was not properly served and would not attend. Miner, who was
25    at the coast -100+ miles away from Desert Hot Springs, had advised the City he would not attend
26    the hearing and had requested a reschedule. The City was aware of the issues and Miner’s written
27    request. It wilfully ignored the request. When the hearing officer asked about Miner’s presence at
28    the hearing, the City and Vu were wilfully and maliciously silent as to the truth. (transcript)


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 1           23.     The City and Vu failed to inform the hearing officer of the issues and maliciously
 2    urged the hearing officer to proceed with the hearing without Miner’s attendance (transcript)
 3    depriving Miner of due process. The City had also failed to produce any CPRA documents or
 4    requested discovery before the hearing. The City failed to produce witnesses Miner requested.
 5    The hearing officer ruled against Miner in his absence. Miner requested a trial de novo (new
 6    trial) in superior court pursuant to Gov. Code §53069.4. The legal process is conveniently labeled
 7    an ‘appeal’ but ‘constitutionally’ a new trial is mandated. (Collier & Wallis, Ltd., v. Astor, 9 Cal.
 8    2d 202 - Cal: Supreme Court 1937; citing Chinn v. Superior Court, 156 Cal. 478 [105 P. 580];)
 9           24.     Skipping far ahead in the events that have occurred, at the trial de novo in superior
10    court, with Miner in the shoes of a defendant – the City took first chair and put on its case. In the
11    final five minutes of trial, it took a un-tested, un-codified, previously un-decided legal maneuver.
12    The City, magically, using a few computer keystrokes, converted its own defendant (Miner), re-
13    labeled him the ‘Plaintiff’ on the face of its motion, and then accused him, without legal or
14    statutory standing, of being a vexatious litigant – essentially for putting on what was a statutorily
15    authorized limited civil defense; requesting discovery, witnesses, and filing motions in an
16    attempt to make a record pursuant to California’s code of civil procedure §85-100 that governs
17    limited civil cases in superior court. It was a Coup de grâce - the death blow administered, Miner
18    contends, in a court of Coram non judice.
19           25.     Miner knew, the court is a court of record. He was aware he had to make a record
20    using common and standard pleadings because of the trial court’s bizarre lack of a discovery,
21    absent trial calender, and non-existent statutory limited civil court procedure. It was a court
22    without procedure and without rules. Miner stoically filed documents to preserve his rights.
23           26.     The SJO found Miner with zero vexatious history to be a vexatious litigant, for
24    filing motions (that the overwhelmed SJO never read)1 and requesting witnesses and documents
25
26           1
                 The SJO clearly appeared new to the system (lost/confused). Miner, as a witness,
27    watched as the City attorney (effectively the municipal brother of a ‘former’ county attorney)
      coached him. It seemed to Miner the SJO simply took the City attorney’s word for everything
28    argued i.e. if the City attorney says Miner is a vexatious litigant, than Miner is a vexatious
      litigant. It was beyond troubling.

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 1    he was entitled to, in defense of a single limited civil action. The City and SJO severely injured
 2    Miner and the ability to freely litigate in his defense of the City’s prosecution. Miner was
 3    technically beaten into submission, chilling his speech, his ability and efforts to defend himself.
 4            27.     On its face, the legal argument that a defendant who statutorily requests, by
 5    motion or filing - a trial de novo, now becomes the plaintiff seems absurd and would lead to
 6    absurd results. But for no other reason but attempting to defend himself, and with no warning
 7    whatsoever, Miner was declared a vexatious litigant for life. That is what the SJO ruled.
 8            28.     The City and Vu misled and maliciously coached the newbie SJO with bad law.
 9    Vu then verbally stroked and poked the SJO’s soft spots promoting anger against Miner
10    (transcript). With a wink and a nod, the green SJO, made eye contac with the trusted the City
11    attorney, and no matter how absurd the legal argument, ruled for the City. These acts lead to a
12    permanent scar on Miner’s life that exists today. When, at the final hearing, Miner refused to pay
13    security as a defendant, to continue to defend himself, the SJO issued a judgment of dismissal.
14    Subordinate Judicial Officers
15            29.     The Superior Court causes alleged herein, in parallel, stem from the cloaked use
16    of subordinate judicial officers who fail to identify, or perhaps are unclear, of their judicial
17    powers in a courtroom mixed with small claims and limited civil cases. All who dawn a black
18    robe do not possess judicial powers, virtual or temporary judicial powers, nor are they trained
19    and experienced as superior court judges in law or procedure.
20            30.     Miner contends he was entitled to an experienced judge - who substantively knew
21    the law; not a two month subordinate judicial officer who was new to the entire process, had zero
22    training in administrative matters, limited civil matters, or vexatious litigant law. A judge who
23    would not be led by the nose by an unscrupulous City representative -- not seeking ‘justice’ but
24    aiming to ‘win’ using every possible vile legal tactic, no matter how unethical or dishonorable.
25            31.     From the administrative hearing through judicial process the quality of
26    adjudication could not have been more unfair. Clarification of the law is a necessity for all and
27    will eliminate these judicial shortcomings for all administrative citation superior court defendants
28    who are statutorily entitled to a limited civil trial and re-do in front of a judge.


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 1           32.     There are three levels of commissioners’ judicial powers. This is not clear to the
 2    anxious gallery of party litigants awaiting trial in these courtrooms. An obvious, or properly
 3    advertised Notice, addressing and clarifying these issues for parties, or any explanation at all is
 4    not offered by this Court. A court commissioner is a subordinate judicial officer, not a judge.
 5    Both sit on the bench and wear a black robe. Unfamiliar litigants would not know the difference.
 6    At this judicial level a litigant is supposed to be able to trust the system and that the court
 7    administration is acting within the law and protecting both sides equally.
 8           33.     Subordinate judicial duties do not include hearing, considering and deciding
 9    dispositive contested motions or demurrers, and an array of other legal issues without consent
10    and stipulation of the parties litigant to act as a temporary judge. This is a jurisdictional issue. A
11    judge pro tem is a temporary judge. A judge pro tem or temporary judge - it’s the same creature.
12           34.     It is obvious clearly established constitutional law that neither a presiding judge,
13    nor the chief administrative officer of the court may assign a non judge (subordinate judicial
14    officer) to autocratically and insistently act as a judge in a limited civil court without clear Notice
15    and request for stipulation (and agreement) from the parties litigant. Every upper level
16    administrative court employee who assigns cases or sets court policy should know this.2
17           35.     Specifically, court commissioners (un-stipulated) have clear statutorily authority
18    to hear and decide small claims cases and criminal penal infractions, such as speeding citations
19    (Gov. Code, § 72190) (Settlemire v. Superior Court (2003) 105 Cal.App.4th 666, 669 [129
20    Cal.Rptr.2d 560].) Additional judicial powers are designated through section §259 of the code of
21    civil procedure. Lastly, there are subordinate judicial officers with permitted subordinate judicial
22    duties including taking of facts during a hearing and reporting them to a judge for disposition. A
23    subordinate judicial officer performs subordinate judicial duties which do not include deciding
24    questions of law. (Kim v. Superior Court, 64 Cal.App.4th 256, 75 Cal. Rptr. 2d 468 (Cal. Ct.
25
26           2
                See (Hafer v. Melo, 502 U.S. 21, 30 (1991) “state officials sued for injunctive relief in
27    their official capacities are "persons" subject to liability under § 1983.” Also (clarifying that the
      Eleventh Amendment does not bar suits against state officials sued in their individual capacities,
28    nor does it bar suits for prospective injunctive relief against state officials sued in their official
      capacities). (Also see Cornel v. Hawaii, 37 F. 4th 527 - Court of Appeals, 9th Circuit 2022)

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 1    App. 1998). A trove of case law makes clear a court commissioner’s jurisdiction is very limited.
 2           36.     Nowhere in the California constitution or California law does it state that a
 3    subordinate judicial officer is granted the judicial power to “hear and determine” the infinite
 4    array of intricate and complex questions of law associated with apparently unlimited monetary
 5    amounts imposed in administrative penalties, found in the 540 separate sets of confounding
 6    agency-specific law enacted by each of California’s 540 individual local agencies which now
 7    issue administrative citations. Government code §53059.4 requires clarification. The California
 8    Legislature created a true monster for its citizens and the courts. (ex 1)
 9           37.     The plain text of the statute GC. 53069.4 (a)(1) “may by ordinance make any
10    violation of any ordinance enacted by the local agency subject to an administrative fine or
11    penalty. As applied - is in significant tension with (b)(3) “The conduct of the appeal under this
12    section is a subordinate judicial duty that may be performed by traffic trial commissioners and
13    other subordinate judicial officials at the direction of the presiding judge of the court.
14           38.     It would be counter intuitive to believe or ague that an un-stipulated newly minted
15    court commissioner, a subordinate judicial officer, would have the exact powers of a superior
16    court judge to hear, determine, and rule on - “any violation of any ordinance enacted” everything
17    from land use, development zoning, civil rights, constitutional issues, legal treatise, contested
18    demurrers, contested motions, and the fines as seen in attached exhibits (ex 2) all because a
19    citation recipient, a defendant, requests a new trial with new evidence in superior court pursuant
20    to statute §53069.4. Miner submits and argues subordinate judicial duty does not include literally
21    absolute judicial power - effectively unlimited powers of a duly appointed California judge.
22           39.     Creating more confusion, city ordinances, although the law states otherwise, are
23    not a misdemeanor by default. (Airlines for America v. City and County of SF, 598 F. Supp. 3d
24    748 - Dist. Court, ND California 2022. P. 756-758) Sections 25132(a) and 36900(a) are
25    implicated only when a local ordinance expressly calls for criminal enforcement. Government
26    Code sections 25132 and 36900 makes the violation of a city or county ordinance either a
27    misdemeanor or an infraction only when the violation is declared to be a misdemeanor or
28    infraction by express ordinance language.


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 1          40.     Miner was not able to litigate these issues, in trial court, in a fair and meaningful
 2   way. The issues of subordinate judicial duty were not actively litigated or permitted to be
 3   litigated by the SJO. Issues Miner raised were not meaningly addressed – there were ignored,
 4   sidelined, or effectively laughed off by the SJO including Miner’s lack of an administrative
 5   hearing, and unlawful search and seizure at Miner’s ranch without a signed warrant.
 6          41.     Factually, Miner’s injuries began at the administrative hearing level when Miner
 7   did not receive a hearing. The City Defendants including Vu wilfully misled the hearing officer.
 8   Miner’s injuries began in the trial court when the non-judge began performing judicial acts
 9   without judicial authority; acts not permitted constitutionally or by statutory law. These judicial
10   acts and injuries began long before the final judgment, orders or decrees.
11          42.     The California Legislature is clear and precise when it intends, in text, to confer
12   the specific powers of a judge – as in this unrelated example code §872.120. “In the conduct of
13   the action, the court may hear and determine all motions, reports, and accounts and may make
14   any decrees and orders necessary or incidental to carrying out the purposes of this title and to
15   effectuating its decrees and orders.”
16          43.     Conversely, in a stark comparison, in government code §53069.4 (b)(3) the plain
17   text of the statute states:“The conduct of the appeal under this section is a subordinate judicial
18   duty that may be performed by traffic trial commissioners and other subordinate judicial
19   officials at the direction of the presiding judge of the court.”
20          44.     Miner contends the Legislature clearly did not intend or authorize the same
21   powers for a SJO in §53069.4 as it did for a judge in §872.120. The authority powers are not
22   statutorily or textually comparable. Arguing otherwise would not be logical or rational.
23          45.     Statutory law, and case law are substantial as to what powers are available to a
24   court commissioner who lacks party litigant stipulation to act as a temporary judge.
25          46.     Miner contends Government code section §53069.4 does not confer judicial
26   power to act as a temporary judge or “hear and determine” a limited civil case, and its panoply of
27   legal issues and procedures, to a plain vanilla subordinate judicial officers such as an everyday
28   court commissioner or referee. Notice and party litigant stipulation would be mandate per law


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 1   before an SJO would have authority to act as a ‘temporary judge.’ Ambush, by a silent court that
 2   provides no clear and meaningful notice, is not a an express or tantamount stipulation.
 3           47.     Code of civil procedure §85-100 governs limited civil cases. Statute §85(c) #14
 4   specifically identifies Government code de novo hearings (trials de novo) as a limited civil
 5   action. Within the limited civil code it spells out the statutory accouterments of economic
 6   litigation including discovery, motions and all procedures.
 7           48.     Miner alleges the Riverside County branch of the California Superior Court
 8   maintains a policy to assign subordinate judicial officers, who hold no constitutional judicial
 9   power, to hear and determine, limited civil cases, without stipulation, and without subject matter
10   jurisdiction, in violation of the California constitution and civil rights under the US constitution.
11   Coram non judice "before a person not a judge" violates common law and the Due Process
12   Clause of the Fourteenth Amendment. (See Burnham v. Superior Court, 495 U.S. 604, 110 S.Ct.
13   2105, 109 L.Ed.2d 631 [II A P. 609] (1990)) . (ex 3)
14           49.     Statutorily absent from power, case law is clear that un-stipulated subordinate
15   judicial officers, lack judicial authority to adjudicate any issue that was above subordinate
16   judicial duty including: ruling on the demurrer, the motions, witnesses, protective orders, rulings
17   on the law, and finally - passing judgment and determining the limited civil case in total.
18           50.     A court commissioner is a subordinate judicial officer. Their power is limited by
19   the California constitution and section §259 of Civ. Code of Procedure including case law listed
20   in Miner’s exhibits: Rooney, Horton, Edgar, Foosadas, Tijerina, Settlemire, Aetna, Galis et al.
21           51.     Under the California Constitution, court commissioners may perform "subordinate
22   judicial duties" including the trying of cases, subject to the stipulation of the parties. (Cal. Const.,
23   art. VI, §§ 21, 22; In re Horton (1991). On many levels the trial court, under direction of a
24   subordinate judicial officer, lacked subject matter jurisdiction - it had no power to grant the relief
25   it granted. (Becker v. S. Construction Co., 27 Cal.3d 489, 165 Cal. Rptr. 825, 612 P.2d 915 P.
26   493 (Cal. 1980)
27           52.     For example, Miner’s motion for non-stipulation to the commissioner, the
28   demurrer, all motions in limine were highly contested, and by law an un-stipulated commissioner


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 1   has no judicial power to hear and determine or rule on these issues. CCP. §259 defines the power
 2   of a subordinate judicial officer commissioner. The facts of case law state:
 3            “Code of Civil Procedure section 259, subdivision (7), which implements
 4            California Constitution article VI, section 22. Article VI, section 22 of the
              California Constitution states: "The Legislature may provide for the
 5            appointment by trial courts of record of officers such as commissioners to
              perform subordinate judicial duties." Pursuant to this section, the legislature
 6            has enacted Code of Civil Procedure section 259, subdivision (7) which grants
              commissioners the power to "[h]ear, report on, and determine all
 7            uncontested actions and proceedings other than actions for divorce,
              maintenance, or annulment of marriage." (Reisman v. Shahverdian, 153 Cal.
 8            App. 3d 1074, 201 Cal. Rptr. 194 (Ct. App. 1984).

 9          53.     The California Supreme Court has been clear: “Neither the rule nor the statute

10   purports to authorize a court commissioner to act as a temporary judge if he is not “otherwise

11   qualified so to act, and in the absence of a stipulation of the parties, he is not so qualified.”

12   (People v. Tijerina, 459 P. 2d 680 - Cal: Supreme Court 1969). It becomes clear that assigning

13   un-stipulated subordinate judicial officers to adjudicate the vast areas and now limitless fines of

14   administrative citations, sans an express request for stipulation by parties litigant, would make no

15   sense. (See People v. Berch (2018) 29 Cal.App.5th 966, 969)

16          54.     The code of civil procedure section 259 (b) also states a commissioner may take

17   proof and make and report findings. (International Jet Ski Boating Assn. v. Superior Court

18   (1991) 232 Cal.App.3d 112, 116) This seems to be more in line with the plain text of GC.

19   53069.4 (b)(3) if it was in fact a review, and not a trial de novo with new evidence. However

20   section 259(b) clearly infers a superior court judge would consider and may approve a

21   subordinate judicial officer’s findings in contested matters:

22            “(b) Take proof and make and report findings thereon as to any matter of
              fact upon which information is required by the court. Any party to any
23            contested proceeding may except to the report and the subsequent order of the
              court made thereon within five days after written notice of the court’s action. A
24            copy of the exceptions shall be filed and served upon opposing party or counsel
              within the five days. The party may argue any exceptions before the court on
25            giving notice of motion for that purpose within 10 days from entry thereof.
              After a hearing before the court on the exceptions, the court may sustain, or set
26            aside, or modify its order.”
27          54.     The trial court subordinate judicial commissioner made no findings in the trial de
28   novo regarding Miner’s de novo trial of the citation. There was no judgment on the merits as to


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 1   the issues in Riverside County court case CVPS2106001. As stated, the case was dismissed
 2   without prejudice, which was favorable to Miner because he can now complete case
 3   8:22-cv-01043-CAS-MAA . (Jamgotchian v. Ferraro, 93 F.4th 1150, 1160 (9th Cir. 2024))
 4          55.     While Miner contends the Appellate Division mis-stated Miner’s appellate brief,
 5   the record, and the law - Miner does not contest the judgment nor does he contest the Appellate
 6   Court’s Opinion. The Appellate Division’s Opinion omitted any reference to the commissioner’s
 7   dismissal of the action without prejudice.
 8          56.     Under California law, subordinate judicial officers, and court commissioners lack
 9   jurisdiction to “hear and determine” (Operative phrase used by Talbot v. The Commanders, 1
10   US 95 - Supreme Court 1784) a case of this nature without the stipulation and consent of all
11   parties to act as a temporary judge as codified in code of civil procedure section §259.
12          57.     On information and belief - courts, many with financial issues, are taking
13   advantage of the lack of textual clarity of the code and the sad fact these case never or rarely end
14   up in the Court of Appeal as limited civil matters. Just 44 cases in google scholar since 1995
15   using search phrase “53069.4" (1 per year and just 1 that mentions a court commissioner). With
16   12 more in federal jurisdiction (0 that mention a court commissioner).
17          58.     Assigning these cases to small claims commissioners and subordinate judicial
18   officers in limited civil jurisdiction in place of mandated superior court judges who must decide
19   complex issues of law, including dispositive demurrers, and complex motions or issues of law,
20   which are all permitted in limited civil jurisdiction, is a violation of the California Constitution.
21          59.     This is further addressed in many well settled Court of Appeal cases such as the
22   following state cases: (1) Rooney v. Vermont Investment Corp., 515 P.2d 297, 10 Cal. 3d 351,
23   110 Cal. Rptr. 353 (1973); (2) People v. Berch, 29 Cal. App. 5th 966, 241 Cal. Rptr. 3d 51 (Ct.
24   App. 2018); (3) In re Frye, 150 Cal. App. 3d 407, 197 Cal. Rptr. 755 (Ct. App. 1983); (4)
25   Michaels v. Turk, 239 Cal. App. 4th 1411, 191 Cal. Rptr. 3d 669 (Ct. App. 2015); (5) People v.
26   Tijerina, 459 P.2d 680, 1 Cal. 3d 41, 81 Cal. Rptr. 264 (1969) and many additional published
27   California Court of Appeal decisions.
28          60.     To date California courts have failed to clarify these issues. It seems to be the


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 1   policy of the Riverside County Superior Court and its own Appellate Division is to permit
 2   subordinate judicial officers to hear and decide limited civil cases in violation of the plain text of
 3   the constitution, statutory law, and established case law.
 4          61.     The issue of subject matter jurisdiction did not come into focus until after the
 5   Appellate Division of Riverside County Superior Court, in its un-published un-certified un-
 6   transferred Opinion.
 7          62.     Following Miner’s timely appeal, the Appellate Division stated the commissioner
 8   was acting, during the case, as a subordinate judicial officer. It’s Order was without any
 9   meaningful legal analysis of the plain text of the statute, or legal support how a SJO magically
10   transformed into a duly appointed superior court judge who would have judicial power to
11   determine all legal issues case law clearly states an SJO has no authority to decide. There had
12   been no clarity during the case itself as to the exact judicial capacity of the subordinate judicial
13   officer. The court would not engage in Miner’s attempts to clarify authority or jurisdiction.
14          63.     More tension arises in other Opinions by this same Appellate Division. In other
15   GC. 53069.4 Opinions issued, the appellate panel has referred to the appellant as the
16   “defendant,” while without statute or case law to support the arbitrary label, it stated Miner was a
17   plaintiff[?] - under the exact same statutory filing. This legal issue also mandates clarification -
18   was Miner the defendant or the plaintiff when he requested a trial de novo? In Miner’s case this
19   label has had severe legal implications for all persons in 22 de novo categories listed under CCP.
20   85(c). This - who is the defendant or plaintiff issue - should be clarified by this court.
21          64.     When the Appellate Division ruled the SJO was acting not as a judge, but in a
22   subordinate judicial capacity, the SJO’s lack of subject matter jurisdiction became clear. Miner
23   then filed a Motion to vacate the void judgment (ex 4). Again, a trial court denied Miner’s
24   motion stating he had no power to over-rule the Appellate Division’s Opinion, which Miner
25   contended was arbitrary and capricious and wholly unsupported in any legal analysis at all.
26          65.     The ruling on the motion to vacate the void judgment was appealable. Again,
27   Miner filed a notice of appeal to the Appellate Division. This time, even though Miner was
28   entitled by law, the chief judge of the Appellate Division would not permit Miner to file an


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 1   appeal in the same case. Miner was arbitrary BLOCKED FROM FILING and litigating the new
 2   issues, because the same court upheld Miner was the plaintiff and therefore a vexatious litigant!
 3   (ex 5)
 4            66.    Miner was BLOCKED with a simple one word denial to file the appeal to clarify
 5   the all issues of subject matter jurisdiction applicable to the same legal action. Miner believed
 6   this to be a violation of the Supreme Court holding in John v. Superior Court, 369 P. 3d 238 -
 7   Cal: Supreme Court 2016.
 8            67.    Miner believed the court, short of judges, was seemingly content using SJOs even
 9   when unconstitutional and therefore did not wish to clarify this law and neither did its Appellate
10   Division who are simply superior court judges and who work for the same presiding judge. Miner
11   attempted every judicial avenue to correct these issues including the attempted appeal of the lack
12   of subject matter jurisdiction.
13            68.    Miner found his case, which began with a simple city citation, had manifested into
14   a Kafkaesque nightmarish circular issue that now severely affect his life and business.
15            69.    No state proceedings currently exist. Miner filed a federal action long before a
16   state court judgment and requested comity (denied by the SJO). Miner’s injuries (in this action)
17   began with the denial of administrative hearing and continued in trial court when the SJO began
18   to act with the powers of a judge - long before any state court judgment. Miner submits there is
19   no preclusive issues here as the glaring issue is that it only became clear the SJO was acting as a
20   subordinate when the Appellate Division ruled that was his role.
21            70.    The trial court’s rulings, allegedly without subject matter jurisdiction, and without
22   knowledge and training poisoned the case from beginning to end including an Order for
23   Defendant to post security to defend himself against a citation, and the dismissal without
24   prejudice, while effectively permitting abuse of process and malicious prosecution by the City.
25
               “In any event, our judicial system does not exist simply to resolve cases
26             quickly, nor to prevent litigation from ever taking place. It is a serious matter
               whether a decision is correct in law and results from a fair process for all
27             sides... (Cf. Johnson v. City of Loma Linda (2000) 24 Cal.4th 61, 77 (Cited by;
               Samara v. Matar, 419 P.3d 924, 5 Cal. 5th 322, 234 Cal. Rptr. 3d 446 2018).)”
28            71.     Miner intends to prove that §53069.4 does not confer judicial power to


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 1   subordinate judicial officers and that elements of the statute are in conflict with many of the 58
 2   judicial jurisdictions who each seem to interpret the law differently. Administrative Citation
 3   litigants in the State of California deserve clarification of this law (Superior court and its
 4   Appellate Division have refused to decide), due process, and equal protection under the law. An
 5   example is that one court prosecutes the case with no discovery and no new evidence, others do
 6   just the opposite. (ex 6)
 7   Administrative Citations
 8          72.     Administrative citation fines within the state have grossly escalated since 1995
 9   under the expansion of the original $25 “garbage can” law the City of San Jose sponsored. (ex 7)
10   Breathtaking one line notices of fines exceeding $500,000 are now issued. (ex 8)
11          73.     These citations are generally thread-bare notice-style pleadings labeled
12   administrative citations in a fact pleading state. The citations fail to notice and advise you of
13   minimal facts – what you did, where you did it, when you did it, how to locate it. The barren
14   citations don’t come with a decoder cipher. This lack of written detail permits the facts of the
15   citation is based on to changed at will. (ex 9)
16          74.     In a trial de novo this becomes a separate due process issue because the
17   administrative citation documents (barren notice-style pleading) becomes the City’s (agency’s)
18   ‘complaint’ in a fact pleading state. See Cal. Gov. Code §53069.4 (b)(1).
19          75.     Local agencies seem to be content citizens have been stripped of constitutional
20   protections; it is clearly in their favor. The Supreme Court now disfavors these exact issues.
21   (Loper Bright Enterprises v. Raimondo 144 S. Ct. 2244, 603 US, 219 L. Ed. 2d 832 - Supreme
22   Court, 2024) (SEC v. Jarkesy 144 S. Ct. 2117, 603 U, 219 L. Ed. 2d 650 - Supreme Court, 2024)
23                        FACTS SPECIFIC TO MINER’S ADJUDICATION
24          76.     Setting forth the relevant history for context give reasons and examples of why
25   this law must be clarified. On April 28, 2021 Joseph Miner’s fenced and gated ranch, home and
26   buildings, located in the City of Desert Hot Springs were entered and searched by code
27   enforcement officers who failed to obtain a search warrant. The ranch had been partially rented
28


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 1   out. The time period was during COVID. Miner was not present. The tenants then permanently
 2   vacated the ranch.
 3           77.      About sixty days later, out of nowhere, a code officer appeared at the front gate.
 4   The officer contacted property owner Joseph Miner (Miner) by phone and then requested a re-
 5   inspection. The City had never produced warrants to Miner to enter or inspect the property for its
 6   first inspection. The officer had no warrant - Miner declined. This angered the code officer.
 7           78.      The angry officer, undaunted, used a telescopic camera, peered through holes in
 8   Miner’s fence, while standing on Miner’s land, and issued a citation with a fine for the north land
 9   parcel (APN 657-220-005).
10           79.      Miner believed the issues were retribution and frivolous yet involved
11   constitutional issues - search and seizure, free speech, property and liberty interests. Miner was
12   cited for absurd flyspeck issues - a spare tire (1), a nursery tray (1), fence slats, firewood - all on a
13   property, a property many times the size of combined city residential lots. Miner believed he
14   enjoyed constitutional, civil rights and a liberty interest that encompass the issues. (ex 10)
15           80.      The revenge citation against Miner was a targeted silly annoyance. Miner has
16   witnessed that the City willfully leave much more trash and junk on land, AFTER it’s own code
17   officer abatements, than ever existed in any photograph on Miner’s 5 acre 200,000sf land parcel
18   (40 times the lot depicted in the photo below). Photos show are what left after city lot cleanup.
19
20
21
22
         Trash left by code officers             About December 16, 2024                First Street in Desert Hot Springs
23
24
25
26
27
28
               Miner was violated for 1 spare tire on his ranch. Across street (photo) 200 junk cars. 800 tires.


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 1          81.     Miner has been treated unfairly and unequally under the law, a violation of equal
 2   protection. He was forced to pay the fine in advance and filed a brief to defend himself in an
 3   administrative hearing. Miner was improperly noticed regarding the hearing date. The hearing
 4   officer ruled against Miner.3 Miner requested a trial de novo in superior court. (See Andrade v.
 5   City of Hammond, 9 F.4th 947, 948 (7th Cir. 2021).
 6          82.     Miner expected to defend himself using statutory procedures in a superior court
 7   limited civil action. Miner, a 70 year old senior citizen, who holds two professional licenses, is
 8   generally not involved in lawsuits except for unlawful detainers or infrequent small claims
 9   actions for money damages. For Miner, the law, and listening to federal and supreme court oral
10   arguments, has become almost a daily hobby that has educated him about the law.
11          83.     In the Riverside County limited civil action (CVPS2106001) Miner was listed as
12   Defendant and Appellant (ex 11). In a preliminary hearing the court clerk in open court stated
13   Miner had a choice of a commissioner or a judge. Miner orally chose a judge in open court.
14   Because Miner chose a superior court judge, the temporary judge immediately recused himself.
15          84.     It became clear a judge was never assigned. A court commissioner, Hon. Arthur
16   Hester, was assigned to the trial de novo. Superior court failed to Notice, advise, or request
17   parties stipulate to the commissioner to act as a temporary judge.
18          85.     Miner, who has been through civil court trials and expected to properly defend
19   himself, quickly became concerned about the trial court’s seemingly lack of knowledge, and
20   unconventional procedures that did not follow the rules of the court, and rules of civil procedure,
21   case law, or statute for a limited civil case. The commissioner seemed to think it was a small
22   claims case and a single hearing.
23          86.     It also soon became clear to Miner, the City was taking advantage of the newly
24   minted SJO’s lack of knowledge as to administrative citations, land use, and public nuisance law.
25   As an example the City argued to the SJO a defendant could not demurrer to the citation. The
26   court agreed, yet parties have been demurring to citations, including traffic citations, and civil
27
            3
28            Miner advised the subordinate judicial officer Miner was not given a fair hearing at city
     level, and that cases are generally sent back to the city for completion. The SJO ignored Miner.

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 1   actions since the 1700s. At least 11 cases appear when searching google scholar, or fastcase, for
 2   search phrase 53069.4 demurrer. In (Wang v. City of Sacramento Police Dept., 68 Cal. App. 5th
 3   372 - Cal: Court of Appeal, 3rd Appellate Dist. 2021) it was the City who demurred. At every
 4   defense Miner experienced the same response from the SJO - overruled. It made no sense to
 5   Miner.
 6            87.    Further confusing to party litigants, while the commissioner was statutorily
 7   permitted to ‘conduct’ a hearing, nowhere in the law does it state “determinations” may be made.
 8            88.    Miner researched the law. There was no clear discussion of the SJO’s limits or
 9   duties. There had been no Notice or discussion with parties about stipulation to the
10   commissioner. The SJO never once requested a stipulation. Certainly, the SJO never repeatedly
11   requested a stipulation as he had in Horton (In re Horton, 813 P. 2d 1335 - Cal: Supreme Court
12   1991) where Commissioner Cowell habitually solicited stipulations... that he reminded
13   petitioner's counsel to get a stipulation. In opposite Commissioner Hester never once mentioned
14   a request for stipulation. Miner never submitted to the jurisdiction of the commissioner to act as a
15   judge.
16            89.    When the commissioner began to act not as a commissioner, but as a temporary
17   judge – Miner, per the law, (1) filed a notice of non stipulation. The notice was ignored by the
18   SJO. (2) Miner also filed a motion to vacate any unintended stipulation. This was overruled by
19   the SJO with no supervising judge present at the motion hearing with a simple statement “its not
20   done that way.” No judge was present at the motion hearing, just the SJO. Miner was shocked. A
21   SJO court commissioner with no stipulation acted as a judge with no oversight. (People v.
22   Tijerina, 459 P. 2d 680 - Cal: Supreme Court 1969. P. 44)
23
               Rule "2.831(f). A motion to withdraw a stipulation for the appointment of a
24             temporary judge must be supported by a declaration of facts establishing good
               cause for permitting the party to withdraw the stipulation, and must be heard by
25             the presiding judge or a judge designated by the presiding judge.

26            90.    In Miner’s perspective it was clear the commissioner was not following the law.

27   Miner then attempted to remove the commissioner. The commissioner filed a declaration stating

28   he was ‘assigned’ the case for all purposes and refused to recuse himself. Again, the SJO


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 1   commissioner, heard and decided his own recusal and his own future. Miner was stunned.
 2          91.     The commissioner never made clear that it was his opinion (if in fact it was his
 3   opinion), he was statutorily enabled to act as a judge. The law however, government code
 4   §72190, does not remotely compare to §53069.4(b)(3) and Miner was in limited civil jurisdiction
 5   pursuant to limited civil procedure, not small claims or a penal infraction.
 6          92.     The trial de novo case involved defenses including constitutional issues such as
 7   warrant-less search and seizure, free speech, and land use and zoning issues including municipal
 8   land annexation, grandfathered land use rights, trespass and more. It did not involve small claims
 9   case or a traffic infraction case as identified in CG. §72190 where the commissioner would have
10   all power of a judge, nor did his unwarranted judicial power come from CCP. §259.
11          93.     Section GC. §53069.4 clearly, in its plain text, does not assign judicial power, to
12   act as a superior court judge to “hear and determine” limited civil trials to California’s nine
13   categories of subordinate judicial officers. Basic linguistics and statutory interpretation analysis
14   of the plain text of statute does not confer the judicial power to the nine levels and categories of
15   subordinate judicial officers:
16
              “The conduct of the appeal under this section is a subordinate judicial duty that
17            may be performed by traffic trial commissioners and other subordinate judicial
              officials at the direction of the presiding judge of the court.”
18            Miner contends this phrase “the conduct of the appeal” means something like...
19            “"Conduct of the appeal" refers to the process or steps taken to carry out an
              appeal, including filing necessary documents, presenting documents to the
20            relevant authority for decision, and following established procedures.”
21          94.     The statute §53069.4 states clearly the proceeding is a limited civil action. Case
22   law affirms “appeals de novo” are constitutionally required to be “trials de novo.” The code of
23   civil procedure §85-100 is clear on procedure such as discovery, witnesses, depositions - yet
24   Riverside Superior court attempts to schedule a trial 30 days from filing and systematically
25   eliminates defensive statutory entitlements - such as discovery. Other courts have ruled just the
26   opposite. (ex 12)
27          95.     At trial the city took first chair. Miner filed a demurrer to the citation, motions,
28   and requested witnesses. The commissioner rejected every defense. The court stated Miner could


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 1   not demurrer to a citation. [?] The court knowingly eliminated all Miner’s witnesses. The court
 2   gutted Miner’s defense and stated so in open court.
 3           96.     Miner, to preserve the record, hired a court reporter, and just like any competent
 4   defense attorney, filed the motions to preserve the issues on appeal. It was a fact the motions
 5   were not read by the commissioner because he was not aware of the motions until the hearing
 6   when Miner mentioned they were on calendar. The commissioner opened the motions, on his
 7   computer, right in front of Miner and the City while on his computer and did not know they
 8   existed before ruling on each them with seconds of minimal oral input by Miner. There was no
 9   meaningful legal analysis of each motion. The trial proceeded.
10           97.     The newly minted small claims commissioner, a veteran county criminal felony
11   prosecutor, seemed to treat the case as small claims action eliminating all limited civil procedure.
12           98.     Miner was hostage in a courtroom where statutory procedure, law and case law
13   were no longer the laws of the court. Up was down and down was up. Nothing made sense.
14           99.     Separately, Miner’s attorney sued the City and City officials in a federal court
15   action (8:22-cv-01043-CAS-MAA). Miner requested comity in the trial de novo. The subordinate
16   judicial commissioner rejected comity with the federal court. It became clear it was futile for
17   defendant Miner to object, non-stipulate, file motions, or attempt to make any defensive act at all.
18           100.    The City attorney was made aware, and received a copy, of the federal case filed
19   against him personally months earlier. Just two days after the federal case was served on the City
20   attorney, at the very end of the trial de novo, in the very last minutes of trial, the City attorney
21   filed a vexatious litigant motion against the City’s own citee, the defendant - defendant Miner.
22           101.    Then, a blockbuster surprise with no safe harbor warning, the plaintiff City, used a
23   procedure not found in the vexatious litigant statute, filed a vexatious litigant motion against its
24   own defendant. Magically, on it’s pleading caption, the City converted Defendant and Appellant
25   Miner, and changed his role to Plaintiff.
26           102.    Per law, with obvious repetitive non-stipulations, Miner did all that he could do
27   to secure a judge. Non stipulating clearly became futile. Miner was not shy telling the
28   commissioner he was not stipulating to the commissioner’s acts. The reporter’s record is clear.


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 1          103.    Miner advised his federal attorney Joseph Rosenblit. Defendant Miner and his
 2   attorney, as a team, opposed the vexatious litigant motion. No stipulation was mentioned (ex 13).
 3   The motion was filed against defendant Miner for the motions and witnesses he had requested or
 4   filed, as the defending party, in the single citation civil action for his own defense.
 5          104.    When the hearing came, the commissioner reversed Miner’s role, and re-labeled
 6   Miner the plaintiff because Miner had requested a trial de novo. Miner was gobsmacked.
 7          105.    Miner and his special appearance pro bono attorney (his federal attorney) both
 8   argued Miner simply filed common motions any attorney would file, and the VL filing by Tuan
 9   Anh Vu was vindictive and retribution for the federal action against the City and Tuan Anh Vu.
10          106.    Miner had no express attorney representation - it was a joint effort. The hybrid
11   defense was put on as a team. Miner knew the case history. Miner knew it would be futile to
12   again non-stipulate orally and the hearings had been unfair. Miner decided not to infuriate the
13   SJO as he was the un-stipulated decider at the vexatious litigant hearing. Coram non Judice.
14          107.    Again, the commissioner argued in open court in favor of the City, Miner was the
15   Plaintiff!? stating the City attorney could not have put together the motion in just a few days - yet
16   the City Defendants had the federal complaint for months to craft the motion. They dropped it at
17   the end of trial. The clerk routinely falsely input non existent stipulations in the minutes. (ex 13)
18          108.    The court ordered Miner to pay a security fee to continue to defend himself. Miner
19   refused to pay a fee to defend himself against the citation. Miner had already paid in advance just
20   to file an administrative appeal, and never received the administrative hearing. This was Déjà vu,
21   paying in advance to defend yourself. Miner never heard of such a thing. (See Griffin v. Illinois,
22   351 US 12 - Supreme Court 1956, P. 17-18). The SJO dismissed the trial de novo without
23   prejudice.4 Miner timely appealed to the Appellate Division. “There can be no equal justice
24    where the kind of trial a man gets depends on the amount of money he has."State v. Rankin, 295
25
26          4
               While the case was dismissed without prejudice. The judgment and all acts by the SJO
27   may be (should be) void abinitio for lack of subject matter jurisdiction and or coram non judice.
     (See Burnham v. Superior Court, 495 U.S. 604, 110 S.Ct. 2105, 109 L.Ed.2d 631 [II A P. 609]
28   (1990)). This important jurisdictional issue has been glossed over and not meaningly addressed
     or litigated by the superior court or the Appellate Division.

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 1   SE 2d 416 - NC: Supreme Court 1982"
 2           109.    Miner was never permitted to actively litigate the fact the commissioner lacked
 3   judicial power. The commissioner refused to hear it. (reporters’ transcript) The appellate division
 4   ignored it, then failed to analyze the text of the statute, history or the law, and the rationality of
 5   case law and unlimited issues and fines that are part of deciding administrative citations.
 6           110.    AOB exhibit. (ex 15 ). The Appellate Division on page 11 of its Opinion stated
 7   “As Commissioner Hester did not perform his duties in the underlying action as a
 8   temporary judge but as a subordinate judicial officer.” (ex 14) This confirmation and
 9   Opinion was new information to Miner that confirmed what was a vortex of jurisdictional
10   mystery during the entire case. The Opinion established and raised new facts to litigate in the
11   instant matter. (Opinion ignores and failed to address 95% of the issues raised on appeal).
12           111.    This holding by the Appellate Division was opposite of the trial court’s own
13   ruling on Miner’s motion to non-stipulate, where the SJO stated Miner’s motion to vacate
14   stipulation was untimely falsely leading Miner to believe he had inadvertently stipulated.
15           112.    The court’s (SJO’s ) ruling should have made clear the commissioner was acting
16   as a subordinate judicial officer and that [he believed] he was assigned the case and he was
17   statutorily enacted to perform all judicial duties as if he was a superior court judge. But that
18   never happened. Miner then could have actively litigated these issues in a meaningful way at the
19   trial court level. Following the Appellate Division Opinion Miner contends the judgment is void.
20   Judgment of Dismissal
21           113.    There was no final judgment on the merits. Miner does not request a change in
22   judgment (dismissal without prejudice). Miner requests a clarification in the law for all that it
23   affects. These constitutional abuses will continue indefinitely if not decided in a competent court.
24           114.    Miner alleges administrative decisions by the presiding judge of the superior court
25   and its chief administrative officer violated at least Miner’s due process and equal protection
26   rights under the US constitution by assigning a subordinate judicial officer to act, without
27   constitutional or statutory authority, as a superior court judge to adjudicate Miner’s cases and
28   multiple similar cases in the same courthouse. Miner contends the SJO lacked judicial powers


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 1   and lacked subject matter jurisdiction to “hear and determine” a limited civil action leading to
 2   violations of Miner’s constitutional rights.
 3             115.   These un-constitutional assignments as well as other conflicts such as discovery,
 4   civil procedure, and notice pleadings are occurring throughout the State. The law must be
 5   clarified for the estimated 1,000,000 California and US Citizens annually who are subject to the
 6   citations, the law and its adjudication.
 7                                    COUNT ONE - DUE PROCESS
                              42 U.S.C. Section 1983 - Fourteenth Amendment
 8                                 Violations of the Right to Due Process
                             (Against VU, DHS, (City Defendants) DOES 1-20)
 9
               116.   Plaintiff hereby incorporates all previous paragraphs as though fully restated
10
     herein.
11
               117.   Plaintiff brings this count against the City Defendants based on its policy and
12
     practice of denying the opportunity for a hearing paid for in advance, and failing to legally issue
13
     notice, and legally schedule an administrative hearing pursuant to law.
14
               118.   On October 14, 2021 the City held a administrative hearing, regarding City of
15
     Desert Hot Springs administrative citation #27948D, code case 21-566. Knowing in advance
16
     Miner was not properly noticed, City Defendants wilfully failed to advise the city arranged
17
     hearing officer, Elio Palacios, that Miner would not attend. This lead to a default decision by the
18
     hearing officer without Plaintiff’s ability to be heard. The due process injury occurred before the
19
     hearing officer’s decision. Declaration of Gregg Roberts (ex 16).
20
               119.   The Due Process Clause of the Fourteenth Amendment to the United States
21
     Constitution provides that “[n]o state shall make or enforce any law which shall … deprive any
22
     person of life, liberty, or property, without due process of law.”
23
               120.   The Due Process Clause guarantees a fair legal process in adjudicative and quasi-
24
     adjudicative proceedings, including code-enforcement actions.
25
               121.   Among other things, the Due Process Clause requires that the government provide
26
     the accused with notice and an opportunity to be heard at a meaningful time and in a meaningful
27
     manner. The City took Miner’s money without a legal notice, and a hearing.
28
               122.   Additionally, the Due Process Clause prohibits the government from imposing

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 1   penalties, including fines and fees, or adjudicating guilt or innocence before providing
 2   appropriate notice and a meaningful opportunity to be heard.
 3           123.    The City Defendants, acting under color of law, deprived Plaintiffs of the due
 4   process of law in violation of the Fourteenth Amendment to the United States Constitution.
 5           124.    The City has a duty under the Fourteenth Amendment to provide the named
 6   party an opportunity to be heard at a meaningful time and in a meaningful manner.
 7           125.    The City deprived the named Plaintiff of due process by denying them adequate
 8   notice and a fair or meaningful opportunity to be heard.
 9           126.    It did so by engaging in affirmative acts and a pattern of conduct designed to
10   violate Miner’s due process rights and thereby deny Miner the ability to defend against the
11   administrative citation issued by the City, present documents, cross examine witnesses, and
12   present new evidence. These practices and customs significantly deprive citee recipients, such as
13   Miner, of their rights to due process of law, both procedurally and substantively.
14           127.    All acts and/or omissions perpetrated by each defendant were engaged
15   in fraudulently, coercively, maliciously, callously, oppressively, wantonly, recklessly, with
16   deliberate indifference to the rights allegedly violated, despicably, and with evil motive and/or
17   intent, in disregard of the rights of Plaintiff.
18           128.    Through Defendant’s willful malicious and wanton efforts Miner has suffered.
19   The actions and efforts of City Defendant(s) have resulted in damages to Plaintiff, including, but
20   not limited to, failure to provide adequate notice, failure to provide an administrative hearing,
21   loss of funds paid in advance to secure the hearing, lost use of property, lost rental income, lost
22   business time, un-necessary costs, un-necessary attorney fees, anxiety, lost sleep, intentional
23   infliction of emotional distress, and other wrongs inflicted by the Defendants acting in concert
24   under color of state law.
25           129.    That the actions and efforts of the Defendant(s) render them liable to Plaintiff for
26   violation of Plaintiff’s rights and entitlements and deprivation of same without due process and
27   for which Defendant(s) and each of them are liable to Plaintiff under state remedies as well as
28   pursuant to 42 U.S.C. 1983 and The Due Process Clause of the Fourteenth Amendment to the


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 1   United States Constitution.
 2             130.   The City has no legitimate governmental interest in depriving the named Plaintiff
 3   of their right to due process, free speech, equal protection or any constitutional guarantee.
 4             131.   As a direct and proximate result of the City Defendant’s acts, policy and practice,
 5   Plaintiff has suffered irreparable injuries to their constitutional rights.
 6             132.   Plaintiff seeks an award of damages to compensate him for his losses and injuries
 7   and the infringements of his rights.
 8                                    COUNT TWO - DUE PROCESS
                             42 U.S.C. Section 1983 - Fourteenth Amendment
 9                     Violations of the Right to Due Process AND Equal Protection
                         (Against PJRC, RCEO, (Court Defendants) DOES 1-20)
10
                              DECLARATORY AND INJUNCTIVE RELIEF
11
               133.   Plaintiff hereby incorporates all previous paragraphs as though fully restated
12
     herein.
13
               134.   This count is brought pursuant to 28 U.S.C. §2201.
14
               135.   Under the theory of lack of jurisdiction and Coram non judice “before a person
15
     not a judge” Miner contends the Court violated common law and the Due Process and Equal
16
     Protection clauses of the Fourteenth Amendment by assigning a subordinate judicial officer, who
17
     lacked subject matter jurisdiction, to act as a judge with judicial power, thus mis-interpreting or
18
     mis-applying the law causing Plaintiff Miner injury. (See Rankin v. Howard, 633 F. 2d 844 -
19
     Court of Appeals, 9th Circuit 1980) (Ruisi v. Thieriot, 53 Cal. App. 4th 1197 - Cal: Court of
20
     Appeal, 1st Appellate Dist., 1st Div. 1997;( Virginia v. Rives, 100 US 313 - Supreme Court
21
     1880). The Due Process Clause of the Fourteenth Amendment to the United States Constitution
22
     provides that “[n]o state shall make or enforce any law which shall … deprive any person of life,
23
     liberty, or property, without due process of law.”
24
               136.   The Due Process Clause guarantees a fair legal process in adjudicative and quasi-
25
     adjudicative proceedings, including code-enforcement actions and court trials. (Taylor Inv., Ltd.
26
     v. Upper Darby Tp., 983 F. 2d 1285 - Court of Appeals, 3rd Circuit 1993). Under certain
27
     conditions court officials may be sued, but not for damages. (Forrester v.White, 484 US 219 -
28
     Supreme Court 1988; Ex parte Young, 209 U.S. 123, 28 S.Ct. 441, 52 L.Ed.714 (1908)

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 1
              “(1c) Particularly, the court has no power to make an unconsented-to general
 2            reference, which conclusively decides all or part of a matter, because not only is
              such a general reference not authorized except by explicit agreement of the
 3            parties (§ 638, supra), but also, the California Constitution prevents delegation
              of judicial power except for the performance of "subordinate judicial duties."
 4            (Cal. Const., art. VI, § 22; see In re Perrone C. (1979) 26 Cal.3d 49 [160 Cal.
              Rptr. 704, 603 P.2d 1300]; In re Edgar M. 436*436 (1975) 14 Cal.3d 727 [122
 5            Cal. Rptr. 574, 537 P.2d 406].) Deciding a major legal issue in a case, which
              probably will determine liability, is not a subordinate judicial duty. (4) The
 6            Supreme Court said in In re Edgar M. a referee can make a binding
              determination only in a consensual general reference. (In re Edgar M., supra, at
 7            p. 734; see §§ 638, 644; Estate of Hart (1938) 11 Cal.2d 89, 91 [77 P.2d 1082].)
              The statutes carefully preserve the distinction of special and general reference
 8            to comply with the constitutional mandate; a general reference has binding
              effect, but must be consensual, whereas a special reference may be ordered
 9            without consent but is merely advisory, not binding on the superior court. (See
              §§ 644, 645; Estate of Bassi (1965) 234 Cal. App.2d 529, 536-537 [44 Cal.
10            Rptr. 541]; 6 Witkin, Cal. Procedure (3d ed. 1985) Proceedings Without Trial,
              §§ 50, 51.) (Aetna Life Ins. Co. v. Superior Court, 182 Cal. App. 3d 431 - Cal:
11            Court of Appeal, 4th Appellate )
12          137.     Miner’s Due Process rights were violated because a subordinate judicial officer,
13   who wholly lacked any experience or appointment as a judge, was assigned, not to perform
14   subordinate judicial duties to conduct the proceedings, but to ‘hear and determine’ all legal issues
15   in defendant Miner’s limited civil trial, a general reference, without judicial power, and with no
16   consent of the parties litigant. A clear violation of statute, the California Constitution, and the
17   Due Process and Equal Protection clause of the Fourteenth Amendment of the United State
18   Constitution.
19          138.     Among other things, the Due Process Clause requires that the government provide
20   the accused with notice and an opportunity to be heard at a meaningful time and in a meaningful
21   manner - in a court of proper jurisdiction, before a judicial officer with constitutional jurisdiction.
22          139.     Additionally, the Due Process Clause prohibits the government from imposing
23   penalties, including fines and fees, or adjudicating guilt or innocence before providing
24   appropriate notice and a meaningful opportunity to be heard.
25          140.     The Court Defendants, acting under color of law, deprived Plaintiffs of the due
26   process of law in violation of the Fourteenth Amendment to the United States Constitution.
27          141.     The Court has a duty under the Fourteenth Amendment to provide the named
28   Plaintiff an opportunity to be heard at a meaningful time and in a meaningful manner by a judge


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 1   of the superior court.
 2           142.    The Court deprived the named Plaintiff of due process by denying them adequate
 3   notice and a fair or meaningful opportunity to be heard.
 4           143.    The Court has no legitimate governmental interest in depriving the named
 5   Plaintiff of their right to due process.
 6           144.    As a direct and proximate result of the Court Defendant’s acts, policy and
 7   practice, Plaintiff Miner has suffered irreparable injuries to their constitutional rights.
 8           145.    Plaintiff Miner does not challenge the judgment, but challenges the interpretation
 9   of the law (Behr v. Campbell, 8 F. 4th 1206 - Court of Appeals, 11th Circuit 2021) where
10   Miner’s case was assigned to a non-judicial officer for adjudication.
11           146.    Because the State judicial system chooses to avoid these critical constitutional
12   Due Process issues, Plaintiff seeks clarification of this law (GC. 53069.4) administrative citation
13   recipients in the State who choose to defend themselves in Superior Court.
14           147.    Plaintiff asks this Court for a declaratory judgment determining that the process
15   under which County of Riverside Superior Court assigns a subordinate judicial officer to
16   adjudicate limited civil trials, without notice or stipulation, violated Plaintiff’s due process rights.
17   Miner contends the commissioner lacked legal authority and subject matter jurisdiction to
18   conduct the proceeding. Miner requests declaratory relief; clarification of law and jurisdiction.
19                               COUNT THREE – ABUSE OF PROCESS
                                               State Claim
20                            (Against VU, DHS, (City Defendants) DOES 1-20)
21           148.    Plaintiff hereby incorporates all previous paragraphs as though fully restated.
22           149.    Plaintiff claims that City Defendants wrongfully accused Miner of being a
23   vexatious litigant in his defense against the City knowing Miner was (1) the defendant, (2) the
24   city was Plaintiff in the prior action, (3) that the City as Plaintiff, per law, had no legal standing
25   to bring a vexatious litigant claim against its own defendant, (4) that the claim against Miner
26   was/is effectively a life sentence and a black mark against his credibility (broadcast on the
27   Internet) affecting his ability to protect his business and financial livelihood using the court
28   system to protect his interests in a swift and unrestrained manner, and (5) that the attack on


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 1   Miner was in direct retribution against Miner for filing a federal lawsuit against the City and
 2   Defendant Tuan Anh Vu.
 3           150.    That City Defendants used a improper procedure against Plaintiff Miner in the
 4   prior court action to chill Miner’s free speech as a defendant, and chill his ability to defend
 5   himself through the use of the false and inapplicable vexatious litigant motion filed against a
 6   defendant.
 7           151.    That City Defendants intentionally used this inapplicable legal procedure to chill
 8   Miner’s free speech in the courtroom as to his defense, and chill his ability to further litigate
 9   against the City.
10           152.    City Defendant’s callous disregard of Miner’s legal and constitutional rights,
11   under the color of law, were attacked fraudulently, coercively, maliciously, callously,
12   oppressively, wantonly, recklessly, with deliberate indifference to the rights allegedly violated,
13   despicably, and with evil motive and/or intent, in disregard of the rights of Plaintiff Miner.
14           153.    That Plaintiff Miner was harmed; the harm continues, and
15           154.    That the City Defendant’s conduct was a substantial factor in causing Plaintiff
16   Joseph Miner’s harm/injury.
17                          COUNT FOUR – MALICIOUS PROSECUTION
                                             State Claim
18                          (Against VU, DHS, (City Defendants) DOES 1-20)
19           155.    Plaintiff hereby incorporates the previous paragraphs as though fully restated.
20           156.    Plaintiff claims that City Defendants wrongfully accused Miner of being a
21   vexatious litigant in his defense against the City knowing Miner was (1) the defendant, (2) the
22   city was Plaintiff in the prior action, (3) that the City as Plaintiff, per law, had no legal standing
23   to bring a vexatious litigant claim against its own defendant, (4) that the claim against Miner
24   was/is effectively a life sentence and a black mark against his credibility (broadcast on the
25   Internet) affecting his ability to protect his business and financial livelihood using the court
26   system to protect his interests in a swift and unrestrained manner, and (5) that the attack on
27   Miner was in direct retribution against Miner for filing a federal lawsuit against the City and
28   Defendant Tuan Anh Vu.


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 1             157.   That City Defendants used a improper procedure against Plaintiff Miner in the
 2   prior court action to chill Miner’s free speech as a defendant, and chill his ability to defend
 3   himself through the use of the false and inapplicable vexatious litigant motion filed against a
 4   defendant. A defendant requesting a trial de novo does not legally convert his role to plaintiff.
 5             158.   That City Defendants intentionally used this inapplicable legal procedure to chill
 6   Miner’s free speech in the courtroom as to his defense, and chill his ability to further litigate
 7   against the City.
 8             158.   City Defendant’s callous disregard of Miner’s legal and constitutional rights,
 9   under the color of law, were attacked fraudulently, coercively, maliciously, callously,
10   oppressively, wantonly, recklessly, with deliberate indifference to the rights allegedly violated,
11   despicably, and with evil motive and/or intent, in disregard of the rights of Plaintiff Miner.
12             160.   That Plaintiff Miner was harmed; the harm continues, and
13             161.   That the City Defendant’s conduct was a substantial factor in causing Plaintiff
14   Joseph Miner’s harm/injury.
15                          COUNT FIVE - CLARIFICATION OF THE LAW
                             IN THE FORM OF DECLARATORY RELIEF
16
               162.   Plaintiff hereby incorporates all previous paragraphs as though fully restated
17
     herein.
18
               163.   This count is brought pursuant to 28 U.S.C. §2201.
19
               164.   In civil case CVPS2106001, a trial de novo in limited civil division of the
20
     Superior Court Miner was defending his ranch against the City, the aggressor. The law and the
21
     process were unclear. The law and process are adjudicated differently in different superior court
22
     jurisdictions. Because these cases rarely make to Court of Appeal, and citizens are generally self-
23
     resented the law is unequal throughout the state.
24
               165.   The California courts have refused to clarify the law. Thus, the meaning and
25
     enforcement of the Statute continues to be entirely at the discretion of 58 Superior Court
26
     jurisdictions throughout the State. Each jurisdiction interprets this law differently. For the most
27
     part these issues are limited civil cases that rarely are permitted transfer to the Court of Appeal
28
     leaving 1,000,000 citees in the State of California each being subjected to different vastly

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 1   interpretation of the law.
 2           166.    This request for declaratory relief applies to every California defendant who
 3   requests a Trial de novo under GC. 53069.4 and CCP 85(c). The Plaintiff asks this Court for a
 4   declaratory judgment clarifying the law.
 5           Miner identifies three specific statutory textual issues:
 6           Issue #1
 7           [1] 53069.4 (b)(1) “A copy of the notice of appeal shall be served in person or by
 8   first-class mail upon the local agency by the contestant.”
 9           167.    When a party is cited by a local agency, the party defends themselves. Once past
10   the administrative hearing, a Trial De Novo is permitted by law. Whether the party is the
11   “defendant” or “plaintiff” in the Trial de novo may lead to significant legal consequences such as
12   who goes first at trial, when discovery may be propounded by law, whether a case questionnaire
13   may be requested, who may legally dismiss the citation, and whether a party may file motions or
14   pleadings as “defendant” or “plaintiff.” Miner contends not knowing the legal requirements, by
15   law, is the ‘defendant’ and who is the ‘plaintiff’ in Superior Court Trial de novo leads to due
16   process violations and violates a citizen’s federal and state constitutional rights.
17           Issue #2
18           [2] 53069.4 (b)(1) “. . . “A proceeding under this subdivision is a limited civil case.”
19           168.    Legislature did not label the superior court procedure a small claims case. A
20   limited civil case is controlled by CCP. §85-100. CCP. §90-100 controls discovery and all other
21   procedural issues. CCP. 85(c) reclassifies an administrative citation, as well as 22 additional
22   listed re-classifiable offenses into a ‘civil appeal de novo” - case law states this is a new trial.
23   Some courts appear to abide by all elements of CCP. §85-100, some do not and adjudicate the
24   case as a small claims action with no discovery, no subpoenas, and a single hearing - similar to
25   §116.110-§116.950. Plaintiff contends - not strictly following the civil code of procedure, as a
26   limited civil case under CCP. §85-100, violates a citizen’s federal constitional rights including
27   due process.
28


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 1          Issue #3
 2          [3] 53069.4 (b)(3) “The conduct of the appeal under this section is a subordinate judicial
 3          duty that may be performed by traffic trial commissioners and other subordinate judicial
 4          officials at the direction of the presiding judge of the court.
 5          169.    What exactly does this sentence mean? The inconsistent interpretation and
 6   application of the law from one judicial officer to another and one court to another throughout
 7   the State fails to afford California citizens adequate notice of the conduct that will subject them
 8   to fines (some life changing), suspensions of driver licenses, liens on, and use limitations, on real
 9   property, a public record of a conviction or judgment, collections actions, and possibly a
10   vexatious litigant decree or contempt of court. It therefore violates due process, as guaranteed by
11   the Fifth Amendment and incorporated by the Fourteenth Amendment.
12          170.    Both the inconsistent application of the GC. §53069.4 statute, and the failure to
13   give the public advance notice of what the statute means, violates due process.
14          171.    Wherefore, Plaintiff Miner prays for relief as set forth more fully below.
15                                        PRAYER FOR RELIEF
16          172. Wherefore Miner requests relief as follows, and according to proof,
            against each Defendant:
17
            A). General and compensatory damages in an amount according to proof;
18          B). Special damages in an amount according to proof;
19          C). Exemplary and punitive damages against each Defendant in an amount
            according to proof;
20
            D). Costs and attorneys’ fees, under 42 U.S.C. § 1988, California Code of Civil
21          Procedure § 1021.5, and any other applicable provision of law;
22          E). Declaratory and Injunctive relief where warranted and is proper and just;
            F). For such other and further relief as the Court deems equitable and just;
23
            G). For such other relief as may be warranted or as is just and proper.
24
                                             JURY DEMAND
25
            173.    Miner demands trial by jury of all issues that can be so tried.
26
     Respectfully submitted this 23rd day of December
                                                  ber 2024.
27
                                                   ______________________________
                                                    ________
                                                          _ ____________________
28                                                 JOSEPH
                                                    OSEPH H MINER,
                                                             I     Pro Se


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 1                                  DECLARATION OF JOSEPH MINER
 2   I, Joseph Miner declare:
 3           1.      I state the following facts and history of my own personal knowledge and if
     called, I can and would testify competently thereto.
 4
             2.      Except where stated in this declaration upon information and belief, the facts set
 5   forth in this declaration are known to me personally, and, if called and sworn as a witness in a
 6   court of law, I could and would competently testify to such facts. As for those facts stated upon
     information and belief, I believe in good faith that they are true.
 7
             3.      My name is Joseph Miner. I am over the age of eighteen (18).
 8           4.      I personally authored the foregoing federal complaint.
 9           5.      All facts, history described by me are true and correct to the best of my
     knowledge.
10
             6.      I have included the following exhibits attached to my complaint. All exhibits are
11   true and correct copies of original documents which support my contentions and allegations
12   contained within the foregoing federal complaint. Some documents are annotated.

13
         EXHIBITS
14
         1. A copy of the law at issue: Government Code 53069.4;
15       2. A sampling of various citations issued under the law;
         3. Job offer for commissioner in Riverside County (requires stipulation);
16       4. Miner’s motion to vacate void judgement (subject matter jurisdiction);
         5. Judge Firetag denial of Miner’s ability to appeal subject matter jurisdiction (same case);
17       6. Discovery ruling by seasoned trial judge. More examples below;
         7. Joan Gallo, sponsor of 53069.4 spelling out the intent of $25 Administrative Citations;
18       8. Recently issued $500,000 Administrative Citation (notice pleading);
         9. Recently issued $350,000 Administrative Citation (notice pleading);
19       10. Miner Administrative Citation (notice pleading). Officer added $4,000 in citations total;
         11. Miner listed as Defendant and Appellant on Riverside County court website;
20       12. Discrepancies in discovery rulings and requests throughout the court system;
         13. Forth year attorney Joseph Rosenblit declaration about vexatious litigant hearing;
21       14. Miner’s appeal of many issues including dismissal and vexatious litigant Order;
         15. Appellate Division’s Order (misstating record, the law, and failed to address most issues);
22       16. Declaration of Gregg Roberts. City never advised hearing officer to reschedule.

23           I declare, under penalty of perjury, under the laws of the State of California, that the
24   foregoing is true and correct, and that this declaration is executed this 23 day of December 2024,
     in the County of Orange, State of California.
25
26                                                 __________________________________
                                                    _______
                                                          _ ______________________
27                                                 Joseph
                                                    oseph Miner,
                                                          M ner, plaintiff pro se
                                                          Mi

28
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     DECLARATION                                   Page 1
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                                                       1
                                              Exhibit ___
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           GOVERNMENT CODE - GOV
              TITLE 5. LOCAL AGENCIES [50001 - 57607] ( Title 5 added by Stats. 1949, Ch. 81. )
                   DIVISION 2. CITIES, COUNTIES, AND OTHER AGENCIES [53000 - 55821] ( Division 2 added by Stats. 1949, Ch. 81. )
                      PART 1. POWERS AND DUTIES COMMON TO CITIES, COUNTIES, AND OTHER AGENCIES [53000 - 54999.7] (
           Part 1 added by Stats. 1949, Ch. 81. )

                          CHAPTER 1. General [53000 - 53170] ( Chapter 1 added by Stats. 1949, Ch. 81. )

           ARTICLE 4. Miscellaneous [53060 - 53087.8] ( Article 4 added by Stats. 1951, Ch. 522. )

           53069.4. (a) (1) The legislative body of a local agency, as the term “local agency” is defined in Section 54951, may
           by ordinance make any violation of any ordinance enacted by the local agency subject to an administrative fine or
           penalty. The local agency shall set forth by ordinance the administrative procedures that shall govern the
           imposition, enforcement, collection, and administrative review by the local agency of those administrative fines or
           penalties. Where the violation would otherwise be an infraction, the administrative fine or penalty shall not exceed
           the maximum fine or penalty amounts for infractions set forth in Section 25132 and subdivision (b) of Section
           36900.
           (2) (A) The administrative procedures set forth by ordinance adopted by the local agency pursuant to this
           subdivision shall provide for a reasonable period of time, as specified in the ordinance, for a person responsible for
           a continuing violation to correct or otherwise remedy the violation prior to the imposition of administrative fines or
           penalties, when the violation pertains to building, plumbing, electrical, or other similar structural or zoning issues,
           that do not create an immediate danger to health or safety.
           (B) Notwithstanding subparagraph (A), the ordinance adopted by the local agency pursuant to this subdivision may
           provide for the immediate imposition of administrative fines or penalties for the violation of building, plumbing,
           electrical, or other similar structural, health and safety, or zoning requirements if the violation exists as a result of,
           or to facilitate, the illegal cultivation of cannabis. This subparagraph shall not be construed to apply to cannabis
           cultivation that is lawfully undertaken pursuant to Section 11362.1 of the Health and Safety Code.

           (C) If a local agency adopts an ordinance that provides for the immediate imposition of administrative fines or
           penalties as allowed in subparagraph (B), that ordinance shall provide for a reasonable period of time for the
           correction or remedy of the violation prior to the imposition of administrative fines or penalties as required in
           subparagraph (A) if all of the following are true:
           (i) A tenant is in possession of the property that is the subject of the administrative action.
           (ii) The rental property owner or agent can provide evidence that the rental or lease agreement prohibits the
           cultivation of cannabis.

           (iii) The rental property owner or agent did not know the tenant was illegally cultivating cannabis and no complaint,
           property inspection, or other information caused the rental property owner or agent to have actual notice of the
           illegal cannabis cultivation.
           (b) (1) Notwithstanding Section 1094.5 or 1094.6 of the Code of Civil Procedure, within 20 days after service of the
           final administrative order or decision of the local agency is made pursuant to an ordinance enacted in accordance
           with this section regarding the imposition, enforcement, or collection of the administrative fines or penalties, a
           person contesting that final administrative order or decision may seek review by filing an appeal to be heard by the
           superior court, where the same shall be heard de novo, except that the contents of the local agency’s file in the
           case shall be received in evidence. A proceeding under this subdivision is a limited civil case. A copy of the
           document or instrument of the local agency providing notice of the violation and imposition of the administrative


https://leginfo.legislature.ca.gov/faces/codes_displaySection.xhtml?sectionNum=53069.4&lawCode=GOV                                                    1/2
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           fine or penalty shall be admitted into evidence as prima facie evidence of the facts stated therein. A copy of the
           notice of appeal shall be served in person or by first-class mail upon the local agency by the contestant.
           (2) The fee for filing the notice of appeal shall be as specified in Section 70615. The court shall request that the
           local agency’s file on the case be forwarded to the court, to be received within 15 days of the request. The court
           shall retain the fee specified in Section 70615 regardless of the outcome of the appeal. If the court finds in favor of
           the contestant, the amount of the fee shall be reimbursed to the contestant by the local agency. Any deposit of the
           fine or penalty shall be refunded by the local agency in accordance with the judgment of the court.

           (3) The conduct of the appeal under this section is a subordinate judicial duty that may be performed by traffic trial
           commissioners and other subordinate judicial officials at the direction of the presiding judge of the court.
           (c) If no notice of appeal of the local agency’s final administrative order or decision is filed within the period set
           forth in this section, the order or decision shall be deemed confirmed.
           (d) If the fine or penalty has not been deposited and the decision of the court is against the contestant, the local
           agency may proceed to collect the penalty pursuant to the procedures set forth in its ordinance.

           (Amended by Stats. 2018, Ch. 316, Sec. 1. (AB 2164) Effective January 1, 2019.)




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                             Superior Court of California, County of Riverside
                             Court Commissioner


    CLASS CODE                CTCOMMB                                      SALARY            $207,348.96 Annually

    ESTABLISHED DATE          May 11, 2011                                 REVISION DATE     August 26, 2019




    Definition and Class Characteristics
    This at-will position under the authority of the Judges of the Court, and at the direction of the Presiding Judge,
    Court Commissioners perform various judicial functions as prescribed by law or conferred by the court.

    The power and authority of Court Commissioners is specified in Article VI, Section 22, of the California Constitution,
    Code of Civil Procedure Section 259 and Government Code Section 71622. Court Commissioners have the same
    jurisdiction and exercise the same powers and duties as the judges of the courts with respect to infractions and
    small claims actions, and in other matters pursuant to stipulation of the parties. Court Commissioners perform
    judicial and quasi-judicial functions to assist the court in performing its constitutional and statutory duties for the
    administration of justice, with primary responsibility for presiding over a daily court calendar as assigned, including
    acting as a temporary judge in appropriate cases, and performing other related duties as assigned.

    Essential Duties
    Duties may include, but are not limited to, the following:

    Acts as Temporary Judge pursuant to stipulation of counsel or parties; conducts a daily court calendar; presides
    over hearings and trials; makes rulings, findings, judgments and orders.


    Arraigns defendants; hears reviews and rules on or determines a variety of petitions, motions and other actions;
    takes evidence from witnesses; makes or recommends appropriate court orders; accepts pleas and imposes
    sentences; sets cases for hearings and trials; and conducts court and jury trials.


    Performs the functions of a referee of the Juvenile Court as prescribed by Welfare and Institutions Code Section
    147.


    Conducts judicial hearings in family support cases involving Title IV of the Social Security Act, and cases filed by
    the District Attorney to establish paternity and other child support-related matters; may act as a judge pro-tem in
    such matters, or as a commissioner making findings and recommendations subject to review by a judge of the
    court.


    Performs one or more of the functions of a probate commissioner, including review of pleadings and accountings in
    probate, guardianship, conservatorship and related matters; approves creditors' claims, ex parte requests and other
    probate actions; and presides over probate proceedings as assigned.



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    Presides over proceedings involving such matters as criminal and traffic arraignments, hearings and trials of
    infractions, misdemeanors and felonies, including day and evening court sessions as assigned.

    Presides over proceedings in civil and small claims actions.


    Reviews court files, documents and related materials to assess cases prior to and following hearings; prepares
    court documents, records, reports correspondence and other written materials pertaining to case findings.


    Performs other related duties as assigned by the Presiding Judge.

    Minimum Qualifications
    License or Certifications:
    Must be an active member in good standing of the California Bar for a period of at least ten (10) years prior to
    appointment, unless inactive membership due to previously holding the position of judge, referee or commissioner.
    Applicants with less than ten (10) years membership in the California Bar may request an exemption pursuant to
    Section 10.701(b) of the California Rules of Court. Persons seeking appointment, as a Court Commissioner must
    demonstrate relevant legal experience as deemed sufficient by the Judges of the Court.

    Special Requirement: The employee must have the ability to transport himself/herself between or among different
    work locations when needed to carry out job-related essential functions. If traveling in own vehicle or court vehicle
    you must possess a valid California driver's license.

    Other Information
    Physical Characteristics: Strength, dexterity, coordination and vision to use a keyboard and video display terminal
    on a daily basis. Hearing to communicate with the public and court staff. Dexterity and coordination to handle files
    and single pieces of paper; occasional lifting of objects weighing up to 25 lbs. such as files, stacks of papers,
    reference and other materials. Moving from place to place within an office; some reaching for items above and
    below desk level.


    Working Environment: Work is performed in the courtroom and related court facilities and includes but is not limited
    to contact with judges, staff attorneys, and the public.

    Clarifying Statement: This job description will be reviewed periodically and responsibilities change with business
    necessity. Principal and marginal job functions are subject to modification. This job description is not intended and
    should not be construed as an exhaustive list of all responsibilities, skills, or working conditions associated with this
    job.

    Unit: Judicial
    FLSA Status: Exempt
    Reports to: Supervising Judge
    Amount of Travel Required: less than 15%
    Positions Supervised: None




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 1   JOSEPH MINER (pro per)
     PO Box 11650
 2   Costa Mesa, CA 92627
     (949) 903-5051 (cell)
 3   josephminer@gmail.com
 4
 5
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6                            RIVERSIDE COUNTY - PALM SPRINGS
 7
      CITY OF DESERT HOT SPRINGS,                  Case No.: CVPS2106001
 8    a municipal entity,
                                                   Related Cases No: CVPS2106016
 9                   Plaintiff and Respondent,     NOTICE OF MOTION AND MOTION TO
10                                                 VACATE VOID ORDER AND JUDGMENT;
                   vs.                             DECLARATIONS OF JOSEPH MINER,
11                                                 JOSEPH ROSENBLIT ESQ. IN SUPPORT
      JOSEPH MINER,
12                                                 LIMITED CIVIL JURISDICTION
      an individual,
13                                                 Filed:        Reserved
                     Defendant and Appellant.      Judge:        TBD
                                                   Hearing:      1/26/24
14                                                 Res:          348817813014
15
16
17   TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
18          PLEASE TAKE NOTICE that on 1/26/24 at 8:30 a.m., or soon thereafter as
19   the matter may be heard, in Department PS4 or a referred courtroom, of the above-entitled Court,
20   located at 3255 E. Tahquitz Canyon Way Palm Springs, California 92262, Defendant and
21   Appellant JOSEPH MINER (“Defendant” or “Miner”) will, and hereby does, move for an order
22   to vacate the void Order and Judgment based on law and fact subordinate judicial officer Arthur
23   Hester lacked fundamental jurisdiction, as a commissioner: (1) to adjudicate any issue that was
24   not a subordinate judicial duty, (2) to adjudicate the separate “special proceeding” ~ the

25   vexatious litigant motion, (3) to make the vexatious litigant decree, (4) to adjudge and sign the

26   pre-filing Order as a judge when he was not, (5) to mandate Defendant post security to defend

27   himself, (6) to impose a permanent injunction against Defendant in limited civil jurisdiction, (7)

28   to issue a judgment of dismissal based on errors of the court.

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 1          This Motion is being made pursuant to Code of Civil Procedure sections 473(d) AND

 2   common law on the ground that the proper procedure of a direct attack on the void order and

 3   judgment by motion under section 473, subdivision (d) which states: "The court may, ... on

 4   motion of either party after notice to the other party, set aside any void judgment or order."

 5          This motion is based on the notice of motion, the memorandum of points and authorities,

 6   Declaration of Joseph Miner, exhibits and proposed order concurrently filed herewith, all

 7   pleadings, papers and case law on file with the court herein, and such further material as may be
     submitted prior to or at the hearing on this motion.
 8
     PLEASE TAKE FURTHER NOTICE that pursuant to Riverside Superior Court, local
 9
     court rules, the Court will make a tentative ruling on the merits of this matter by 3:00 p.m. on the
10
     court day prior to the hearing. Tentative rulings will be available on the Internet or by calling
11
     1-760-904-5722.
12
            To view go to: http://www.riverside.courts.ca.gov and click on the tentative ruling link.
13
     The tentative ruling shall become the ruling of the Court unless, by 4:30 p.m. on the court day
14
     before the scheduled hearing, a party gives notice of intent to appear to all parties and the court.
15
     The notice of intent to appear must be given either in person or by telephone. Where notice of
16
     intent to appear has been properly given, or upon direction of the Court, oral argument will be
17
     permitted.
18
            This is a motion by Joseph Miner (“Defendant” or “Miner”) to vacate the void order[s]
19
     and related void judgment by the court following a vexatious litigant proceeding held September
20
     22, 2022 in front of Hon. Arthur Hester, a commissioner, a subordinate judicial officer.
21
22                                                  ______________________________
                                                    ______
                                                        _ _____________
                                                                     _ __
                                                                        __________
23                                                  /s/ Joseph Miner (pro per) 1/4/2024
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22   Grannis v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
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 6   In re Estate of Shaw, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
 7   B188153 (Cal. Ct. App. Dec. 3, 2007).

 8   In re Frye, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19, 22
     150 Cal.App.3d 407, 197 Cal. Rptr. 755 (Cal. Ct. App. 1983)
 9
     In re Horton, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
10   813 P.2d 1335, 54 Cal. 3d 82, 284 Cal. Rptr. 305 (1991)
11
     In re Jasmine G., . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
12   26 Cal. Rptr. 3d 394, 127 Cal. App. 4th 1109 (Ct. App. 2005)

13   In re Mark L., . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 20
     34 Cal.3d 171, 193 Cal. Rptr. 165, 666 P.2d 22 (Cal. 1983)
14
15   In re Marriage of Galis, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 15, 19, 23, 29
     149 Cal.App.3d 147, 196 Cal. Rptr. 659 (Cal. Ct. App. 1983)
16
     In re Marriage of Olson, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
17   14 Cal.App.4th 1, 9, 17 Cal. Rptr.2d 480 (1993)
18
     In re Steven A., . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 17, 22
19   15 Cal.App.4th 754, 19 Cal. Rptr. 2d 576 (Cal. Ct. App. 1993)

20   Jovine v. FHP, Inc., . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
     64 Cal.App.4th 1506, 76 Cal. Rptr. 2d 322 (Cal. Ct. App. 1998)
21
22   Kabran v. Sharp Mem'l Hosp., . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
     2 Cal.5th 330, 212 Cal. Rptr. 3d 361, 386 P.3d 1159 (Cal. 2017)
23
     Kim v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
24   64 Cal.App.4th 256, 75 Cal. Rptr. 2d 468 (Cal. Ct. App. 1998)
25
     Luckett v. Panos, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17, 29
26   161 Cal.App.4th 77, 73 Cal. Rptr. 3d 745 (Cal. Ct. App. 2008)

27   Michaels v. Turk, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
     239 Cal.App.4th 1411, 191 Cal. Rptr. 3d 669 (Cal. Ct. App. 2015)
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 1   Nierenberg v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14, 15, 23
     59 Cal.App.3d 611, 130 Cal. Rptr. 847 (Cal. Ct. App. 1976)
 2
     Olivera v. Grace, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9
 3
     19 Cal.2d 570, 122 P.2d 564 (Cal. 1942)
 4
     People v. Saunders, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
 5   5 Cal.4th 580, 20 Cal. Rptr. 2d 638, 853 P.2d 1093 (Cal. 1993)
 6   People v. Tijerina, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12, 15, 22, 23, 29
 7   1 Cal.3d 41, 81 Cal. Rptr. 264, 459 P.2d 680 (Cal. 1969)

 8   Pittman v. Beck Park Apartments Ltd., (ancillary issue) . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14, 23
     20 Cal.App.5th 1009, 230 Cal. Rptr. 3d 113 (Cal. Ct. App. 2018)
 9
     Poulson v. Bank of America, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
10   No. E056220 (Cal. Ct. App. Apr. 23, 2014).)
11
     Reisman v. Shahverdian, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14, 23
12   153 Cal.App.3d 1074, 201 Cal. Rptr. 194 (Cal. Ct. App. 1984)

13   Rescue Army v. Municipal Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 17
     28 Cal. 2d 460, 171 P.2d 8 (1946).
14
15   Rochin v. Pat Johnson Manufacturing, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14, 17
     67 Cal.App.4th 1228, 1239, 79 Cal.Rptr.2d 719 (1998)
16
     Ruisi v. Thieriot, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
17   53 Cal.App.4th at p. 1209, 62 Cal.Rptr.2d 766.)
18
     Settlemire v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
19   129 Cal. Rptr. 2d 560, 105 Cal. App. 4th 666 (Ct. App. 2003).)

20   Smith v. Dorn, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 19
     96 Cal. 73, 30 P. 1024 (Cal. 1892)
21
22   Taliaferro v. Hoogs, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14
     236 Cal. App. 2d 521, 46 Cal. Rptr. 147 (Ct. App. 1965).
23
     Ytuarte v. Superior Court, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18, 23
24   28 Cal. Rptr. 3d 474, 129 Cal. App. 4th 266 (Ct. App. 2005).
25
     FEDERAL
26   Arizona v. Fulminante, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 21
     499 U.S. 279, 111 S.Ct. 1246, 113 L.Ed.2d 302) (1991)
27
     Brewer v. Williams, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
28   430 U.S. 387, 97 S. Ct. 1232, 51 L. Ed. 2d 424 (1977)

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 1   Johnson v. Zerbst, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
     304 U.S. 458, 58 S. Ct. 1019, 82 L. Ed. 1461 (1938)
 2
     Louisville Nashville R.R. v. Mottley, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 22
 3
     211 U.S. 149, 29 S. Ct. 42 (1908)
 4
     Mullane v. Central Hanover Bank & Trust Co. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
 5   339 U.S. 306, 314, 70 S.Ct. 652, 94 L.Ed. 865.) (1950)
 6   United States v. Cotton, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23
 7   535 U.S. 625, 122 S. Ct. 1781, 152 L. Ed. 2d 860 (2002).

 8   United States v. Olano, . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 18
     507 U.S. 725, 733 (123 L.Ed.2d 508, 519, 113 S.Ct. 1770)] (1993)
 9
     CALIFORNIA CONSTITUTION
10   Article VI, Section §21, 22 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16, 20, 23, 26
11
     STATUTES
12   Code of Civil Procedure § 85-100 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
     Code of Civil Procedure § 92(a) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
13   Code of Civil Procedure § 92(c) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25
     Code of Civil Procedure § 259 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 27
14
     Code of Civil Procedure § 391-391.8 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 9, 30
15   Code of Civil Procedure § 473 (d) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8, 9
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16   Government Code § 53069.4 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . passim
17   RULES OF COURT
     2.816 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 12
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     8.1115 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 16
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2                                           I. INTRODUCTION
             This matter is brought pursuant to CCP. §473 D and any applicable law to challenge the
 3
     void order and void judgment described herein. The subordinate judicial officer lacked
 4   jurisdiction and authority to declare Defendant / Appellant a vexatious litigant, order security
 5   against defendant, and issue a Judgment of dismissal based on Defendant’s refusal to post
     security; an Order the commissioner has no authority to grant in limited civil, a jurisdiction that
 6
     does not permit this relief. A legal nullity. (Olivera v. Grace Cal: Supreme Court, 1942)
 7           For the first time in this 60 year law CCP. §391 et sec., a civil trial Defendant was
 8   declared a vexatious litigant, and mandated to post security to defend himself, by a subordinate
     judicial officer, in limited civil jurisdiction, in a de novo trial / appeal of an administrative
 9
     citation. The only time a “defendant” has been declared vexatious for “defending” a citation.
10           The Court of Appeal (4th Dist. Div 2) has captioned the case pursuant to its own analysis
11   and procedure. It clarified that Joseph Miner is the Defendant and Appellant. (ex 3)
12           Defendant Appellant directly challenges the order, security and judgment based on the
     court’s and commissioner’s lack of fundamental, and subject matter jurisdiction and judicial
13
     authority to decide the issues and grant relief he was not entitled to grant. The judgment is void.
14                     II. RELEVANT FACTS AND PROCEDURAL HISTORY
15   HISTORICAL CASE FACTS
             Because this motion will not be heard by the trial commissioner, additional history will be
16
     offered. This overview is scant. The commissioner ignored Defendant’s multiple legal defenses.
17   A. Defendant’s Ranch
18           In 2003 Joseph Miner purchased a fenced and walled 5 acre, four parcel ranch, on the
     fringe of open desert. The ranch was situated between Palm Springs to the south, and Desert Hot
19
     Springs to the north in Riverside county jurisdiction. In 2010 the City of Desert Hot Springs
20
     annexed 4,000 acres of desert. The ranch was annexed into the jurisdiction of the City.
21           The ranch is on the edge of the city. The adjacent neighbors are a pet cemetery, mini-
22   storage, auto wrecking yard, and a decrepit trailer park. City approved marijuana grow facilities
     are a mile to the west of the ranch where they grow 2,000,000 sf of marijuana. Although legal in
23
     California, Defendant Miner has no connection to the marijuana industry.
24   B. Defendant Miner
25           Defendant Miner is a 68 year old senior, a 30-plus year California Real Estate broker,
     owner of All Cities Realty, and a certified general real estate appraiser. His home base in Orange
26
     County California. He is significantly and professionally familiar with the instant issues such as
27   codes and zoning.
28           Prior to the instant case Miner has never had an issue with the City. No citizen

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 1   complaints, no code complaints, no litigation. Miner has owned the ranch location for 20 years.

 2   C. Ranch Rental
            As Miner has done since the purchase of the ranch and guest house twenty years ago, he
 3
     has occasionally rented parts of the property. In late 2019 at the beginning of COVID Miner
 4   rented part of the property to men who stated they planned to open a nursery. COVID became
 5   intense, Miner did not travel often. Travel restrictions were in place.
     D. Code Enforcement
 6
            Apparently, during COVID, the men grew some marijuana in a greenhouse. The County
 7   Sheriffs department stopped the operation. The Sheriff is a separate agency from the City.
 8          After a mysterious notification, by someone unknown, sent to code enforcement – in a
     separate and distinct act, City code enforcement decided to travel to, enter and search the ranch,
 9
     on 4/28/21, without warrant. Four land parcels and six buildings were searched. Two code cases
10   were secretly opened. Miner was not notified by the City.
11          Miner visited the area. He discovered the ranch wide open on 5/1/21 (as the city left it).
12   He took control of the property. He called a crew to perform property maintenance and began to
     investigate. He found out about the Sheriff operation from a neighbor.
13
            About forty days later, out of the blue, a code officer telephoned Miner, wanting to “re-
14   inspect” the ranch. Miner was confused. The officer “pre-texted” he just wanted to take some
15   photographs inside the gate. He would not produce the warrant. Eventually Miner declined.
            The very next day the code officer began sending Miner a flurry of documents stating
16
     there were code issues with the ranch. His documents were rooted in the warrantless unlawful
17   search. Miner believed he was being harassed by an angry code officer who was refused entry.
18          Because of Miner’s professional background, and since it is a 5 acre ranch in the desert,
     not a home in a subdivision, and it was conforming to surrounding neighborhood properties,
19
     Miner did not agree with the officer’s allegations. The citation was scant, in violation of the
20
     city’s code, and was confusing. The simple issues did not rise to “public nuisances” per law.
21   E. Fine and Administrative Hearing
22          Miner paid the fine in advance. He requested an administrative hearing. While waiting the
     appeal the officer repetitively cited Miner for the exact same issues expanding fines to $4,000.
23
            Miner filed a thorough brief with the City. The City failed to notify Miner of the hearing
24   date per the law. The hearing was held without Miner present in violation of due process. The
25   hearing officer opined on the facts, he ignored the law offered in Defendant’s brief. Miner’s only
     recourse was to again follow the law and reclassify pursuant to GC. §53069.4(b)(1).
26
     F. Transition from Administrative to Civil
27          Miner educated himself in the law. He discovered the case specifically becomes a
28   “limited civil case” He believed he could obtain discovery, interrogatories, admissions, witnesses

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 1   and a deposition for his defense pursuant to CCP. §85-100. As the proceeding progressed Miner

 2   educated himself more and more about all issues relevant to the citation and procedures.
            On 12/6/21 Miner filed a simple caption to reclassify the case to limited civil jurisdiction.
 3
     On 12/7/21 Miner received a case assignment from the court stating that Hon. Arthur Hester was
 4   assigned to the case. The document did not indicate what role Hon. Arthur Hester was in. (ex 4)
 5   The first hearing was scheduled for 1/6/22.
            1/6/22. Miner appeared in court. Michael Knighten was the judicial officer, not Arthur
 6
     Hester. After a short colloquy Miner was in shock as it appeared Michael Knighten, judge pro
 7   tem wanted to put on a trial that day. Miner was able to have the case continued. (ex 5)
 8          1/18/22. Miner filed a ex parte motion requesting more time. This time Hon. Arthur
     Hester commissioner was presiding. Miner was given a two week continuance - which shocked
 9
     Miner. It became clear Hon. Arthur Hester was a court commissioner; not a judge. (ex 6)
10          Miner continued his education. He discovered the “administrative citation” de novo
11   procedure is a “subordinate judicial duty.” A commissioner is by default a subordinate judicial
12   officer. The commissioner, as a subordinate judicial officer, could legally preside over a
     “properly created and issued” administrative citation “appeal” de novo without stipulation. This
13
     seems to create a legal paradox when statutory limitations on a commissioner are considered as
14   will be discussed below. Every adjudicator to date continues to ignore this legal paradox.
15          Miner learned that a subordinate judicial officer could preside over minor “subordinate
     judicial duty” issues and relate his findings or made recommendations to a judge for approval.
16
     Case law makes clear commissioners’ judicial limitations. (See Decl. Miner)
17   G. Commissioner verses Judge
18          Never, not one time, in any way, did the court notice the parties that the Commissioner
     would act as a temporary judge or judge pro tem. The level of the hearing called for a subordinate
19
     judicial officer. Arthur Hester was a commissioner (subordinate judicial officer).
20
            A court commissioner, acting as a subordinate judicial officer, is effectively a finder of
21   fact. It seems they are to confirm a hearing officer’s fact findings; not make conclusions of law or
22   decide serious legal issues. This is where the proceeding began to fall off of the rails.
     H. Jurisdiction Altering Non-Stipulations and Court Minutes
23
            After two short continuances, at the third appearance on 2/4/22, Miner decided to choose
24   a superior court judge pursuant to the court’s offer through the clerk. (See Decl Miner . ¶-¶)
25          Miner attended the hearing. Again, Hon. Arthur Hester was not present. James Hodgkins,
     judge pro tem was the judicial officer. The court clerk stated in open court to all parties “you
26
     have a choice of a commissioner or a judge to hear your case.”
27          Miner knew the issues were complex. He stated to the clerk he wanted a judge. He was
28   instructed to request a judge when his case was called. Miner accepted the court’s offer of

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 1   adjudication by a judge.

 2          The case was called. Miner stated from the counsel table he wanted his case heard by a
     judge. An immediate colloquy began between Mr. Vu, Mr. Hodgkins and Mr. Miner.
 3
            Mr. Hodgkins stated he would recuse himself. Miner’s request was tantamount to a
 4   rejection and continuing refusal to stipulate to a subordinate judicial officer, commissioner,
 5   temporary judge - at the same time agreeing to and confirming adjudication before a judge. The
     hearing ended. Miner expected notice of a judge being assigned. (See Decl. Miner).
 6
            Miner orally, expressly and precisely, chose a judge. There were then lulls between
 7   hearings. No rule or law states Miner must non-stipulate more than once, but he did. (In re
 8   Marriage of Galis, p. 150; In re Marriage of Olson, p. 8; Settlemire v. Superior Court, p. 563)
            • Miner requested a judge orally in open court 2/4/22. ROC 2.816(b)(3). (ex 7)
 9
            • Miner non stipulated in NOTICE OF NON STIPULATION filing 6/7/22. (ex 8)
10          • Miner non stipulated by filing a non-stipulation motion 6/8/22. (ex 9)
11          • Miner non stipulated orally in the am hearing to the commissioner. 6/23/22
12          • Miner non stipulated on record to commissioner and it was acknowledged on the record
            three times (RT (1) Ex 24A:14-17, (2) B:3-6, (3) 247:3-7) (ex 24)
13
            Defendant had non-stipulated to the commissioner so many times he finally gave up. The
14   law does not require futile acts. The commissioner was aware of the non-stips. (See Decl. Miner)
15          There is no NOTICE, no text, no statement, no discussion, or colloquy in this entire
     record that Miner stipulated to the commissioner to be anything more than a subordinate.
16
            Miner expressly orally non-stipulated, then filed documents IN ADVANCE stating he
17   was non stipulating to the commissioner to act as a judge or temporary. The commissioner
18   proceeded. (Harutyunyan v. Superior Court, (2008).
            Miner was never noticed by the court it intended to act more than a commissioner, which
19
     is a subordinate judicial officer, not a temporary judge. There was NO NOTICE, no due process,
20
     and no authority agreement to act as a “temporary judge.” (See Decl. Miner)
21   I. Stipulation is Mandate To Act As a Judge
22           Stipulation is mandate for a subordinate judicial officer to act as a judge. The stipulation
     is not merely a regulation of procedure, but is what allows the temporary judge authority over the
23
     parties. Without it, the court has no jurisdiction in the fundamental sense. (People v. Tijerina
24   (1969); In re Steven A. (1993))
25   J. General hearing proceedings
            In Miner’s opinion and observation the commissioner was treating this “de novo” trial,
26
     where discovery is permitted, as a small claims matter, not a limited civil case pursuant to CCP.
27   §85-100. There was no case management. No trial setting conference. No discovery. It was not
28   being adjudicated as a limited civil case. Defendant became very concerned. (See Decl. Miner)

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 1           Miner is generally familiar with litigation. He is familiar with waiver and forfeiture. To

 2   protect himself he subpoenaed witnesses, he crafted motions, and a demurrer. The commissioner
     violated rules of the court, failed to clarify case management, and was attempting to stifle Miner
 3
     case at every juncture. He gutted Miner’s case. He did not seem to grasp the case was “de novo.”
 4           When the hearing came the commissioner overruled every document Miner filed. Most
 5   without even a read (RT: ex 10). This is verifiable by his own statement s in the reporter’s
     transcript and Defendant’s personal observations in court. (See Decl. Miner) It was confusing the
 6
     commissioner was not involving a judge. It was also confusing the case was not being transferred
 7   to a judge. (See Decl. Miner)
 8           The commissioner appeared frustrated, perhaps angry. At a calculated moment the City
     filed a vexatious litigant motion, converted itself to Defendant, and Miner to Plaintiff.
 9
             Miner spoke to his attorney who, pro bono, agreed to “assist” and argue for Miner in a
10   hybrid defense. Miner also argued for himself. The multiple non-stipulations and §170 filings of
11   no confidence were clear. The commissioner ruled that a Defendant, defending himself, was a
12   vexatious litigant and dismissed the case when Miner refused to pay security for his own defense.
             The Order was appealed. Non stipulations by Miner were addressed in the AOB and
13
     ARB. The Appellant Department simply ignored the non stipulations and legal issues in much of
14   the brief.
15           The Appellate Department grossly mis-stated and mis-characterized the appeal. Miner
     requested transfer to the Court of Appeal, this was denied because of special rules. The Court of
16
     Appeal clarified the case caption indicating Miner was the Defendant and Appellant, not the
17   Plaintiff as the commissioner had ruled. (ex 3)
18           ONLY a defendant can make a motion to declare a Plaintiff a vexatious litigant. This fact
     makes the City’s motion and the commissioner’s Order and dismissal moot. But here we are.
19
     K. Relevant Proceedings And Events Before And After Judgment
20
      Date             Event                                                                     Exhibit
21
      12/07/21         Case assignment                                                           #4
22    01/06/22         First hearing (Knighten)                                                  #5
      02/04/22         Third hearing (Hodgkins) Miner requests judge                             #7
23    09/22/22         Pre-filing Order (Commissioner Signed as Judge)                           #2
      11/09/23         Order on appeal / Opinion                                                 #14
24    11/27/23         Miner files petition for rehearing                                        #15
      12/11/23         Petition to to Court of Appeal                                            #16
25    12/19/23         Denial to Transfer. Court of Appeal re-captions case                      #3
      12/29/23         Remittur (Appellate Division)                                             NA
26
27
28

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 1                                      III. LEGAL ARGUMENT
                        “Lack of jurisdiction in its most fundamental or strict sense
 2                    means an entire absence of power to hear or determine the case,
                       an absence of authority over the subject matter or the parties.”
 3
                                  ~ Supreme Court of California. In Bank.
 4
            When subordinate jurisdiction ends, judicial jurisdiction begins. Adjudication of a “de
 5
     novo” administrative citation appeal proceeding is, by statute, GC. §53069.4 (b)(3), a
 6   “subordinate judicial duty.” Therefore, A = B; the citation itself, its allegations, the underlying
 7   issues, and all relevant proceedings or special proceedings must also be cabined within
     “subordinate judicial duty” or the issues cannot be legally adjudicated by a commissioner.
 8
            A void judgment is subject to attack at any time. This court retains jurisdiction to
 9
     entertain a motion to vacate void judgment (Rochin v. Pat Johnson Mfg. Co., (1998) #III.).
10          Here, there were two separate proceedings, the commissioner acted without jurisdiction in
11   both. It is the ancillary (Pittman v. Beck Park Apartments Ltd.) separate special vexatious litigant
     proceeding (Taliaferro v. Hoogs [8]) that is the subject of this specific motion.
12
            It has not been controverted that Defendant requested a judge 2/4/22, non-stipulating, and
13   on 6/7/22 he noticed the court again, and stated he would not stipulate to “any further
14   proceedings” before the commissioner.

15
            “PLEASE TAKE NOTICE that Defendant JOSEPH MINER pursuant to local rules,
16          rule of court, and case law does not stipulate to further proceedings to be heard by a
17          Commissioner. Defendant files this notice of non-stipulation for all further proceedings

18          in cases CVPS2106001 and CVPS2106016. These cases are not to be heard by a
            Subordinate Judicial Officer, Commissioner, or Temporary Judge.” (ex 6)
19
20          Additionally, Miner non stipulated on the record 6/23/22. The trial court noted the non-
21   stipulation. No additional non-stipulation was required. (ex 24A/B ). Lastly, the Court included
     in its “vexatious findings” that Miner had non-stipulated. (ex 24C )
22
            The separate vexatious litigant special proceeding did not occur until 9/22/22. However,
23   if in fact the commissioner attempted to act as a temporary judge he was mandated to obtain a
24   new stipulation. The commissioner did not have the authority to act. The order then made is null
     and void. (Nierenberg v. Superior Court; Reisman v. Shahverdian). There is no evidence of
25
     notice or stipulation, and no evidence of a second or further notice or stipulation. Jurisdiction
26   cannot be conferred by acts or omissions of the parties. “When a court lacks fundamental
27   jurisdiction, its ruling is void.” (Kabran v. Sharp Memorial Hospital (2017) p. 339).
28          A subordinate judicial officer does not automatically become a superior court judge “as


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 1   needed” ~ the transformation requires NOTICE and STIPULATION. Stipulation cannot be

 2   waived unless there is NOTICE. Here, no notice was given, occurred, inferred, or discussed.
             This is a well documented proceeding including a complete reporter’s transcript. Relevant
 3
     history is included. This case began with, and continued with, complete confusion which has led
 4   to this motion to vacate the Order and Judgment pursuant to lack of fundamental jurisdiction.
 5           There has been significant confusion during this process and proceeding beginning with
     the citation, continuing through the entire limited civil jurisdiction court proceeding.
 6
             Statute GC. §53069.4(b)(1) establishes the “de novo” hearing is a “limited civil case” and
 7   (b)(3) as “subordinate judicial duty.” Pursuant to CCP. §85-100 and case law parties are entitled
 8   to demurrers, motions, case questionnaires, interrogatories, document requests, request for
     admissions and a deposition. Defendant’s confusion began when the case was set for trial 30 days
 9
     after filing ~ then three different judicial officers were on bench for the first three hearings.
10           This case then began with Defendant non-stipulating to the commissioner. Then at least
11   five express continuing non-stipulations occurred. The commissioner continued ~ swatting
12   Defendant down at every turn. If notice and stipulation was not a requirement we would not need
     judges. Commissioners could perform as a superior court judge, never requesting stipulation ~
13
     simply ambushing Defendants.
14           Here the commissioner lacked legal fundamental jurisdiction over the vexatious litigant
15   proceeding ~ he had no authority to act as a judge. He then granted legal relief he could not grant.
             The adjudication of the vexatious litigant proceeding, the sole question before this court,
16
     is one of jurisdiction of the trial court to render the order and judgment under review.
17   (Nierenberg v. Superior Court; citing In re Buckley)
18   A. Waiver Requires Notice
             “A waiver is ordinarily an intentional relinquishment or abandonment of a known right or
19
     privilege.” Palm Springs Superior Court gave no notice the commissioner may or would act as a
20
     judge. Nor did the commissioner give notice he would act as a judge. Nor did he request
21   stipulation to act as a judge at any hearing or any proceeding. (See Decl. Miner)
22   B. The Procedure is a Subordinate Judicial Duty
             Pursuant to the plain language of Government Code section 53069.4(b)(3) the procedure
23
     is a subordinate judicial duty. The commissioner was assigned and entitled to act as a
24   subordinate. He was “assigned” as a subordinate judicial officer per the plain text of the statute
25   53069.4(b)(3). There is no evidence in the 5,500 page record to the contrary.
     C. Commissioners Possess No Judicial Power
26
             A court commissioner is a subordinate judicial officer. Their power is limited by the
27   California constitution and section 259 of Civ. Code of Procedure. (Rooney, Horton, Edgar,
28   Foosadas, Tijerina, Settlemire, Aetna, Galis et al.) Under the California Constitution, court

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 1   commissioners may perform "subordinate judicial duties" including the trying of cases, subject to

 2   the stipulation of the parties. (Cal. Const., art. VI, §§ 21, 22; In re Horton (1991). On many
     levels; the court had no power to grant the relief. (Becker v. SPV Construction Co., (1980).)
 3
     D. Defendant Refused to Stipulate
 4          Given the “choice” of a commissioner or a judge by the court’s own clerk, Miner chose a
 5   judge 2/4/21. This was a rejection of a commissioner. Multiple adverse no-confidence filings
     were made. No non-stipulation was “untimely” as the first was made 2/4/21. Miner requested a
 6
     judge. This request for a judge bounced everyone else. The court cannot fill a defendant’s mouth
 7   with its own words. (See Decl. of Miner)
 8
            1. Commissioners Require Stipulation To Act As Judge
 9
            “In Riverside County, all commissioners are appointed as temporary judges. (Super. Ct.
10          Riverside County, Local Rules, rule 1060.) However, the appointment to act as
11          temporary judge is not sufficient to preside over a matter, a commissioner must also
12          obtain a stipulation from the parties to preside over a specific proceeding. (See
            Poulson v. Bank of America, No. E056220 (2014).) (ROC Rule 8.1115. (b)(1)
13
14          2. Law Does Not Authorize a Commissioner to Decide All Legal Issues
15          “Unless both parties consent, the court may not, under the guise of a reference, cause the
            lion's share of a case to be heard by a referee. (6 Witkin, Cal. Procedure (4th ed. 1997)
16
            Proceedings Without Trial, § 61, pp. 460-461.) Neither section 259 nor section 639
17          authorizes a commissioner to preside over a case in its entirety and decide all legal
18          and factual issues. (Ruisi v. Thieriot; Settlemire v. Superior Court).”

19
            3. Miner Was Entitled To A Judge Pursuant To The Court’s Rules
20
            “Laumboy is correct that she was entitled to notice—either by "[a] conspicuous sign
21          posted inside or just outside the courtroom, accompanied by oral notification or
22          notification by videotape or audiotape by a court officer on the day of the hearing" or by a
            written notice provided to her (Cal. Rules of Court, rule 2.816(c))—that the case was
23
            going to be heard by a judge pro tem, and that she had the right, absent a stipulation, to
24          have the case heard by a sitting judge* rather than a judge pro tem.” (Roldan v.
25          Laumboy, No. B286155 (Cal. Ct. App. June 26, 2019)). (ROC Rule 8.1115. (b)(1)
            * (No party has stated Miner did not request a judge. See Decl. Miner)
26
27   E. Notice was Required By The Court
28          Notice is an integral part of due process. By law the commissioner was entitled to sit on

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 1   the bench as a subordinate. He was not permitted to switch robes [to a judge] without notice,

 2   acknowledgment and stipulation. The Horton court gave multiple notices / solicited stipulations.

 3
            1. Horton Is Distinguishable ~ No Comparison
 4          “Respondent also submits the declaration of Commissioner Cowell that he habitually
 5          solicited stipulations to his presiding, that he reminded petitioner's counsel to get a
            stipulation, that both defense counsel had appeared before him on many occasions and
 6
            knew that he was a commissioner and that neither had ever declined to stipulate to his
 7          presiding in the past. He had no reason to doubt that counsel would obtain and file the
 8          necessary stipulation.” (In re Horton,(1991).)

 9
     F. Subject Matter Jurisdiction
10          Subject matter jurisdiction, as distinct from jurisdiction of the parties, cannot
11   be conferred by consent, waiver, or estoppel. (See Estate of Buckley (1982) The principle of
12   `subject matter jurisdiction' relates to the inherent authority of the court involved to deal with the
     case or matter before it." (Conservatorship of O'Connor (1996) Thus, in the absence of subject
13
     matter jurisdiction, a trial court has no power "to hear or determine [the] case." (Abelleira v.
14   District Court of Appeal (1941) And any judgment or order rendered by a court lacking subject
15   matter jurisdiction is "void on its face...." (Rochin v. Pat Johnson Manufacturing (1998)
     G. Fundamental Jurisdiction
16
            Courts generally refer to jurisdiction over the parties and subject matter in any action as
17   "fundamental jurisdiction," and where this is lacking there is an entire absence of power to hear
18   or determine the case. The vexatious litigant motion is a special proceeding. It was not a
     subordinate judicial duty by statute, constitution or CCP §259. A commissioner would need to
19
     notice the parties. Express stipulation would need to be granted. Even then the Order could not
20
     be issued in limited civil jurisdiction. Void Orders (4)(Davidson v. Superior Court, (1999).)
21   H. Vexatious Litigant Declaration and Orders Are Permanent Injunctions
22          A vexatious litigant decree is a permanent injunction. It never goes away without
     removal. (Luckett v. Panos, (Ct. App. 2008)). A permanent injunction cannot be granted by a
23
     subordinate commissioner who Defendant never stipulated to. (Settlemire v. Superior Court)
24   (Bernie v. Stevens (2009). Exceeded his subordinate authority. (In re Eduardo G, p.753)
25   I. Permanent Injunctions May Not Issue By Law In Limited Jurisdiction
            It is well established that the court has jurisdiction to determine its own jurisdiction.
26
     (Rescue Army v. Municipal Court of City of L.A. (1946)
27          It is also well settled that the jurisdiction of a court depends alone on the amount in
28   controversy. (Bradley v. Kent (1863) 22 17 Cal. 169, 170.) Accordingly, in a limited matter the

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 1   court has no authority to award a judgment exceeding $25,000.00 nor can a permanent injunction

 2   be granted in limited civil jurisdiction. (Dedication & Everlasting Love to Animals, Inc. v. City of
     El Monte, (2022). (Ytuarte v. Superior Court, (2005).
 3
     J. Improper Citations Do Not Confer Jurisdiction
 4           Improperly authored citations, and improper motions to enact special proceedings that
 5   cannot be adjudicated in limited civil, do not “expand” jurisdiction and cannot convey or assign
     fundamental jurisdiction required of a judge ~ to a subordinate judicial officer i.e. commissioner.
 6
     Due process. (Jovine v. FHP, Inc., (1998).) Injunction. (Settlemire v. Superior Court, (2003).
 7   Aetna Life Ins. Co. v. Superior Court (1986).
 8           Since Defendant began to argue these jurisdictional issues (1) the trial court has altered its
     case assignment NOTICE to include information and a new rules about non-stipulation to a
 9
     commissioner (2) this, tacitly admitting the trial court failed to issue NOTICE regarding
10   stipulation, is pursuant to notice and due process, (3) the NOTICE (sign) also has changed on the
11   front door of the courtroom PS4. (See Decl. Miner) “A waiver is ordinarily an intentional
12   relinquishment or abandonment of a known right or privilege.” (Johnson v. Zerbst (1938);
     Brewer v. Williams (1977).
13
             Defendant submits the phrase “all parties stipulate to commissioner” is fundamentally
14   different than “all parties stipulate to commissioner who will act as a temporary judge.” The
15   notice the court gave was “all parties stipulate to commissioner” which is inadequate because
     Defendant’s case calls for a commissioner (acting as subordinate officer) by statute.
16
     K. Due Process Requires Notice
17           Taking away a persons right to the court system is a very serious issue. Due process
18   requires "notice reasonably calculated, under all the circumstances, to apprise interested parties
     of the pendency of the action and afford them an opportunity to present their objections."
19
     (Mullane v. Central Hanover Bank & Trust Co. (1950)
20
     L. Waiver and Forfeiture
21           Before directly confronting the question, we must carefully consider what we mean by the
22   word "waiver." Over the years, cases have used the word loosely to describe two related, but
     distinct, concepts: (1) losing a right by failing to assert it, more precisely called forfeiture; and (2)
23
     intentionally relinquishing a known right. "[T]he terms `waiver' and `forfeiture' have long been
24   used interchangeably. (3) The United States Supreme Court recently observed, however: `Waiver
25   is different from forfeiture. Whereas forfeiture is the failure to make the timely assertion of a
     right, waiver is the "intentional relinquishment or abandonment of a known right." [Citations.]'
26
     (United States v. Olano (1993); (People v. Saunders (1993) (Cowan v. Superior Court (1996)
27   M. No local rule to stipulate. No plaque. No Notice. No due process
28           No local rule existed regarding stipulation. No local rule regarding administrative

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 1   citations. As the City states in its own brief, a commissioner was sufficient, no judge was

 2   required. Forcing stipulation on a party who wants to be tried by a judge is against public policy.

 3
             LOCAL RULE 1060 states nothing about stipulation
 4           LOCAL RULE 5145 A. 1. Applies to domestic violence restraining orders
 5
             No case law or local rule exists leading to a stipulation. Every document the court has
 6
     filed states parties stipulate to a commissioner. No words state as a temporary judge and a
 7   temporary judge was not required for the proceeding per statute.
 8           In In re Marriage of Galis (1983) 149 Cal.App.3d 147 [196 Cal.Rptr. 659] (Galis) and
     In re Frye (1983) 150 Cal.App.3d 407 [197 Cal.Rptr. 755] (Frye), both decided in the same
 9
     year, the Court of Appeal voided a commissioner's judgment in a contested marital dissolution
10   proceeding and a commissioner's order of contempt for failure to make child support payments,
11   respectively. (Galis, at pp. 150, 155; Frye, at p. 409.) In so ruling, the court in Galis explained
12   that while it was mindful that commissioners are an "important tool in the economical and
     expeditious administration of justice" and are so widely used that stipulation is usually a "mere
13
     formality," it would nevertheless be unlawful to "force an unwilling litigant to try his or her case
14   before someone other than a judge." (Galis, at p. 154.) (Michaels v. Turk (2015).) (Settlemire v.
15   Superior Court (2003)
     N. The Law Does Not Require Futile Acts
16
             The hotly contested vexatious litigant motion was made against Miner, in the last 5
17   minutes of trial, within the four corners of a single defense, of a single city citation, in limited
18   civil jurisdiction, and was heard by a commissioner who Miner had non stipulated to five
     separate times. Even if Miner had known the commissioner would acts as a judge, which he did
19
     not. The law does not require the doing of a futile act. (Smith v. Dorn, 96 Cal. 73 [30 P. 1024];
20
     O. Manifestly Unjust Decisions
21           "Since at least 1930, the `modern view' has been that the doctrine of the law of the case
22   should not be adhered to when its application results in a manifestly unjust decision.” (Davidson
     v. Superior Court, (1999)
23
     P. Relevant Cases - Foosadas and Horton
24           Here, the clerk’s oral information gave no notice. The documents sent by the court gave
25   no such notice. There was no notice. Nevertheless, in response to the court clerks memorized
     statement that Miner had a choice, Miner requested a superior court judge at the 2/4/22 hearing.
26
     In this case there was no similar sign1 (notice). (Foosadas v. Superior Court, (2005).
27   1
      It is my understanding that the sign on the door of the courtroom has changed because a letter was sent to the
28   presiding judge. Additionally the court has now changed it case assignment notice which gives notice of
     nonstipulaiton. Coincidental? Defendant Miner had no notice of these important judicial and due process issues.

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 1          This was the trigger that prompted James Hodgkins to recuse himself. (See Decl. Miner)

 2   Foosadas further states:

 3
            “. . . The Legislature has specified the powers of a commissioner and the
 4          circumstances in which a commissioner may act as a temporary judge, but none
 5          permit a commissioner to act as a temporary judge without the stipulation of the
            parties.”
 6
 7          “The State Constitution also provides for the appointment of a temporary judge. "On
 8          stipulation of the parties litigant the court may order a cause to be tried by a temporary
            judge who is a member of the State Bar, sworn and empowered to act until final
 9
            determination of the cause." (Cal. Const., art. VI, § 21.)”
10
11          “The real party concedes defendant has not participated in a hearing before Commissioner
12          Kronlund acting as a temporary judge. Since neither party to a proceeding involving a
            subordinate judicial duty need stipulate that a commissioner may preside over it, no
13
            stipulation can be implied from the party's participation in it... (In re Mark L. (1983)”
14
15          It is uncontroverted, and is indisputable, in the case at bar, there was never a notice the
     commissioner would act as a judge. The issue here is that the commissioner had every right to be
16
     at the hearing as a subordinate judicial officer per statute. It was not until he began acting as a
17   judge that Miner was again forced to file additional documents.
18          There are clear difference between Horton this case. There were many NOTICES and
     colloquies between counsel and the court regarding stipulation to a temporary judge. Consuming
19
     the Horton case line by line ~ there is nothing really similar with Horton and this case before the
20
     court. (In re Horton, (1991)).
21
22          “The issue in this case is whether a court commissioner may conduct a trial in a capital
            case when no oral or written stipulation of the parties authorized him to sit as a temporary
23
            judge, but when defense counsel proceeded to trial without objection, knowing that the
24          judge was a court commissioner.”
25
            “It is uncontroverted that Commissioner Cowell's standard practice was to inquire of
26
            all counsel whether a stipulation had been filed appointing him as a temporary
27          judge,...”
28

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 1             “The clerk's and reporter's transcripts prepared in the course of petitioner's trial establish

 2             these further facts. At the first hearing in the capital trial before Commissioner Cowell, on
               April 6, 1984, petitioner was not present. The clerk of the court reminded the court that a
 3
               stipulation to the commissioner serving as a temporary judge was needed from petitioner.
 4
 5             Reading the case comprehensively. The Horton court offered many notices. Stating what
     should be obvious is that there were many procedures and motions before the Horton trial. The
 6
     fact pattern here is quite different and distinguishable. Here, the clerk never stated a stipulation
 7   needed to be signed. There has been no mention by the court of “stipulating.”
 8             Defendant Miner began his non stipulation and request for a judge on 2/4/22. The
     commissioner was “entitled” to adjudicate the “citation” pursuant to 53069.4. It was not clear the
 9
     commissioner would exceed his judicial boundaries until 5/12/22. This is where the
10   commissioner’s acts become foggy. Again, Miner filed a written notice of non stipulation 6/7/22,
11   and then a separate motion for non stipulation on 6/23/22. All requests for a judge and non
12   stipulations to: a subordinate judicial officer, a commissioner, or a temporary judge were timely
     and months before trial or the separate proceeding 9/22/22 that required, by law, a separate act of
13
     notice and express stipulation before the vexatious litigant hearing. This was a structural error.
14             See (In re Jasmine G. (2005) regarding notice and stipulation “Under such
15   circumstances, SSA can hardly be heard to assert there was a knowing waiver of the notice
     issue.”
16
17             “Trial errors—those which occur during presentation of the case to the trier of fact—may
18             be evaluated to see if the error was harmless beyond a reasonable doubt. . . . Structural
               defects are those "affecting the framework within which the trial proceeds, rather than
19
               simply an error in the trial process itself. `... may be regarded as fundamentally fair.'
20
               [Citation.]" (Id. at p. 310, 111 S.Ct. 1246.)
21
22             Failure to comply with the statute in this case resulted in a mistake of constitutional
               dimension. (Arizona v. Fulminante (1991))
23
     Q. The Court Granted Relief It Had No Authority to Grant
24             The granting of relief, which a court under no circumstances has any authority to grant,
25   has been considered an aspect of fundamental jurisdiction for the purposes of declaring a
     judgment or order void. (Grannis v. Superior Court (1905); Hunter v. Superior Court, (1939)).
26
     //
27   //
28   //

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 1   R. The Right To A Judge Is a Constitutional Dimension

 2           The person by whom the judicial function is exercised, the judge, is of course an essential
     component of the exercise of judicial power. (Hamblin v. Superior Court (1925). The right to
 3
     have a judge preside is a right of constitutional dimension.
 4                                                IV. SUMMATION
 5           Defendant Miner, as a pro se, cannot articulate this issue better than the Court of Appeal.
     While not citing this case below per se, because it is unpublished, Miner pirates the text of the
 6
     Court of Appeal and cites the published cases itself cites. (Estate of Shaw, No. B188153 (Cal. Ct.
 7   App. Dec. 3, 2007)) California Court of Appeals, Second District, Eighth Division. The
 8   proceeding has many similarities to the instant case. The Haupman text is as follows:

 9
     “The Commissioner’s Order and Judgment Is Void”
10   “In the absence of an express or implied stipulation to a commissioner, the order or judgment
11   issued by that commissioner is void. (In re Horton (1991) 54 Cal.3d 82. 90: Kim v. Superior
12   Court (1988) 64 Cal.App.4th 256. 260.) "The jurisdiction of a court commissioner, or any other
     temporary judge to try a cause derives from the parties' stipulation." (Ibid.) A party may
13
     impliedly stipulate to a commissioner where the parties' conduct is tantamount to a stipulation
14   such as where a party proceeds through an entire trial with a commissioner with knowledge
15   that the person conducting the trial is a commissioner and the commissioner is treated as
     competent to rule on matters which rest solely in the discretion of a judge.2 (Id. at p. 98.)
16
     “First, appellant refused to stipulate to Commissioner Haupman at the April hearing and
17   that refusal meant that Commissioner Haupman did not have authority to decide any issue
18   in the case. Although the file apparently was missing, as appellant argued, it was not her
     responsibility to reiterate her previously made refusal to stipulate to Commissioner
19
     Haupman....”
20
21   “as discussed above, our high court has made clear that conduct by a commissioner absent
22   stipulation is void. The power of a commissioner to act as a temporary judge requires a
     stipulation. (In re Frye (1983) 150 Cal.App.3d 407, 410.) The stipulation is not merely a
23
     regulation of procedure, but is what allows the temporary judge authority over the parties.
24   Without it, the court has no jurisdiction in the fundamental sense. (Cf. People v. Tijerina
25   (1969); In re Steven A. (1993)”

26
     2
27    Defendant Miner not only non-stipulated five separate times, long before trial or the vexatious litigant motion.
     Miner filed two statements of disqualification stating he believed the commissioner showed an appearance of bias.
28   These were constitutionally permitted and not an endorsement of the commissioner being “competent to rule on the
     matters” at all.

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 1                                                    V. CONCLUSION

 2            This declaration and injunction at issue involved ONE single administrative citation
     defense involving a Defendant ~ defending himself, making a record, after a subordinate judicial
 3
     officer would not permit discovery, witnesses or statutory procedure of CCP. §85-100.
 4            No law, or established case supports a commissioner, a subordinate judicial officer, may
 5   grant this relief to the Plaintiff City against Defendant in limited civil jurisdiction.3
              Voluminous law supports that he cannot. Cal. Const., art. VI, § 21, 22, CCP §259.
 6
     (Settlemire, Rooney, Horton, Edgar, Foosadas, Tijerina,, Aetna, Galis, Pittman; Nierenberg;
 7   Reisman et al.) The court must check it’s jurisdiction. (Louisville Nashville R.R. v. Mottley).
 8            Just as a party cannot file an unlawful detainer in small claims because the court has no
     jurisdiction (unlawful detainer proceedings. See CCP §116.220), a party cannot obtain a
 9
     vexatious litigant order (declaratory or injunctive relief)4 from a subordinate judicial officer, in
10   limited civil jurisdiction, in the form of a permanent injunction against a Defendant or party.
11            The commissioner could not establish fundamental jurisdiction. The non-stipulations
12   stated and filed by Defendant were a continuing refusal for all future hearings and proceedings
     far in advance of the ancillary (separate) special proceeding.
13
              No intent to act as a judge was noticed by the court. No stipulation was requested or
14   discussed by the court, or granted by parties litigant. A commissioner does a wear the magic robe
15   of a judge without consent. The subordinate judicial officer granted relief he had no authority to
     grant. United States v. Cotton p. 630 ~ Jurisdiction is NEVER waived or forfeited.
16
              Even if Miner was the plaintiff (he was not), and even if the commissioner had
17   fundamental jurisdiction over the parties and the subject matter in the vexatious litigant special
18   proceeding (which he didn’t), a permanent injunction order cannot be issued in limited civil
     jurisdiction (which it can’t).
19
              The commissioner lacked fundamental and subject matter jurisdiction to adjudicate the
20
     vexatious litigant proceeding. The Court granted relief it had no authority and no jurisdiction to
21   grant under any scenario. Under the facts and law provided herein that the judgment is void ab
22   inito. Defendant respectfully requests this court vacate the void judgment; it is
     constitutionally invalid.
23
                                                             ______________________________
                                                             ___________________________
24                                                           /s/ Joseph
                                                                 Josseph Miner (pro per) 1/4/2024
                                                                                         1/4/20
25   3
        In short, the Appellate Division concluded that because the action had begun as a " 'limited civil' case," the trial
26   court did not have authority to issue a permanent injunction - the only injunctive relief available in " 'limited civil'
     cases" was of a temporary nature to preserve property or rights of a party.
27   Gort v. Kort, G047914 (Cal. App. Apr 25, 2014) (unpublished)
     4
       "Moreover, a plaintiff in a limited civil action may not obtain a permanent injunction and has fewer rights for
28   declaratory relief than a litigant in an unlimited case. (See § 86, subds. (a)(7) & (a)(8).)..." Ytuarte v. Superior Court,
     28 Cal.Rptr.3d 474, 129 Cal.App.4th 266 (Cal. App. 2005)

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 1                                DECLARATION OF JOSEPH MINER

 2                                     (motion to vacate void judgment)
     I, Joseph Miner, state and declare.
 3
     1. My name is Joseph Miner. I am the Defendant and Appellant in the above-captioned
 4      proceeding (ex 3). I am over the age of eighteen (18). This Declaration is submitted in
 5      support of Defendant’s Motion to vacate a void judgment.
     2. Except where stated, upon information and belief, the facts set forth in this Declaration are
 6
        known to me personally, and as to those facts, if called and placed under oath as a witness, I
 7      could and would competently testify thereto in a court of law. As to those facts stated upon
 8      information and belief, in good faith I believe them to be true.
     3. I personally write this statement and declaration. I have researched and believe I have
 9
        complied with rule of court and local rules. I would note that I have found the bench guide on
10      self represented litigants to be instructional regarding many of the instant issues before this
11      court. I read law with clarity. I am topically educated in law and civil procedure.
12   4. I offer this information as if I was asked the proper questions by my trial counsel while I was
        on a witness stand. I have not previously testified to most issues articulated below.
13
     5. This declaration is somewhat verbose. This testimony must be part of the record. I write this
14      declaration so that there are no assumptions made by the court.
15   6. When I walked into PS4 and the judicial officer (Knighten) seemed to anticipate a trial that
        very day. I had no administrative hearing, no ability to confront my accuser, no discovery, no
16
        city witnesses, no documents. The entire procedure, in my view was a kangaroo court worthy
17      of a Franz Kafka story. It only got worse.
18   7. Do I have an opinion. Yes. It appeared to me, because I was a witness in the courtroom for
        every proceeding, that Arthur Hester believed he was a judge. He signed the vexatious
19
        litigant Order as JUDGE. He is not a Judge of the Superior Court. (ex 2. ex pg 5). To act as a
20
        judge, notice was required and the stipulation of parties litigant was mandate.
21   8. There is not one stipulation to Arthur Hester on the record or any reporters transcript.
22   9. The clerk’s boilerplate minutes in this courtroom are routinely in error. They state “all parties
        stipulate to commissioner” (ex 11 pg 40) when in fact there had been five non stipulations
23
        and Miner non stipulated to the commissioner that same day twice and in the same
24      proceeding. (ex 24A:14-25)
25   The Ranch
     10. I have owned my ranch for about 20 years.
26
     11. The ranch land was annexed into the City jurisdiction in 2010.
27   12. Prior to this citation I had no issues with the City. Ever.
28   13. There was no litigation, no issues, no code complaints involving this City.

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 1   This Proceeding and Citation Defense

 2   14. This dispute began 4/28/21.
     15. A citation was issued 8/18/21. I disagreed with the citation.
 3
     16. I filed documents and paid $500 in advance to defend myself and have the case heard before
 4      an administrative hearing officer.
 5   17. I was then denied an administrative hearing in this case. It was held in secret without me.
     18. I was never in front of a hearing officer for this case.
 6
     19. My only option remaining to defend myself was to reclassify the case to superior court per
 7      statute (GC. §53069.4) for a trial de novo or appeal de novo.
 8   20. When I filed to reclassify the administrative case to a civil de novo case 12/6/21 I understood
        it was a limited civil proceeding pursuant to GC. §53069.4.(b)(1)
 9
     21. I was defending against a City issued document titled an “administrative citation.”
10   22. Shortly thereafter (12/7/21) I was mailed notice the case was assigned to Hon. Arthur Hester.
11      a. The notice does not state whether Hon. Arthur Hester is an attorney, a traffic referee, a
12          commissioner, a temporary judge, or an appointed judge. Nor does it state you must
            stipulate or non stipulate to a commissioner acting as a temporary judge. (ex 4)
13
     23. The first hearing was 1/6/22.
14      a. The date was just 30 days from filing.
15      b. It appeared the case was set for “trial.” It seemed that this conflicted with statute and civil
            procedure.
16
        c. At the hearing the court clerk stated all parties have the right to have their matter heard
17          before a commissioner or a judge.
18      d. Michael Knighten, judge pro tem was on the bench. My turn came. A colloquy ensued.
            (ex 5)
19
        e. During the discussion it became clear the judicial officer wanted to complete the case that
20
            day, during that hearing. Effectively put on the trial do novo that very day.
21      f. I sensed the proceeding was not going to be administrated pursuant to the civil code of
22          procedure with the legal tools of defense and due process ~ deposition, discovery,
            witnesses.
23
        g. There was no discussion about stipulating to a commissioner as a temporary judge.
24      h. The matter was continued to 1/20/22.
25   24. I completed significant research finding the following issues that affected this case. I believe
        the following statements are true facts:
26
        a. Statute §53069.4 (b)(1) states that the proceeding is a “limited civil case.”
27      b. The law does not state this proceeding is a single hearing.
28      c. The law does not prevent discovery: GC.§53069.4(b)(1).

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 1       d. The law permits discovery: CCP. §85-100.

 2       e. Judges have ruled the law permits discovery: (ex 17, 19)
         f. Case law states administrative appeals in superior court are a “trial de novo.” 5
 3
         g. CCP. §85-100 clarifies the procedure in a limited civil case.
 4       h. CCP. §92(a) states general demurrers are permitted.
 5       i. CCP. §92(c) states motions are permitted.
         j. CCP. §94(a-c) states interrogatories, document production, requests for admission, a
 6
              deposition and a subpoena duces tecum are permitted.
 7       k. Pursuant to GC. §53069.4 the procedure is labeled a de novo appeal.
 8       l. It is labeled an appeal for constitutional reasons. It is effectively a new trial, and there is
              no deference to the hearing officer’s findings (Collier & Wallis, Ltd., v. Astor,)
 9
         m. The administrative case becomes a limited civil case §53069.4, §85(c) #14.
10       n. Adjudication is a subordinate judicial duty (GC. §53069.4)6.
11       o. A commissioner is a subordinate judicial officer (Cal. Const., art. VI, § 21, 22, CCP 259)
12       p. Discovery is a matter of right in a limited civil case (Chavez v. City of Los Angeles.
              Dedication & Everlasting Love to Animals, Inc. v. City of El Monte).
13
     25. On 1/18/22 I requested an ex parte continuance. Hon. Arthur Hester was presiding.
14       a. The continuance was granted. The court indicated this was the last continuance.
15       b. Statute §53069.4(b)(3) makes clear the matter may adjudicated by subordinate judicial
              officers.
16
         c. The minute order states Hon. Arthur Hester is a commissioner. (ex 4)
17       d. The minute order states “All parties stipulate to Commissioner.”
18       e. A commissioner is a subordinate judicial officer. CCP §259.
         f. The minute order does not state “All parties stipulate to Commissioner to act as a
19
              temporary judge. The concepts are fundamentally and vastly different.
20
         g. No text appears that Arthur Hester is any level higher than a subordinate judicial officer.
21       h. The text “temporary judge” does not appear in one single minute order associated with
22            Arthur Hester. Nor does it appear in (ex 4)
         i. There was no discussion about stipulating to the commissioner as a temporary judge.
23
         j. Granting ex parte continuances is a subordinate judicial duty. CCP §259.
24   26. At this point I become concerned that the court is not going to permit my statutory limited
25       civil case, including all process, discovery and interrogatories I entitled to as a matter of law.
     5
26     (See Collier & Wallis, Ltd., v. Astor, 9 Cal. 2d 202, 70 P.2d 171 (1937). There is no deference to a hearing officer,
     “It is in no sense a review of the hearing previously held, but is a complete trial of the controversy, the same as if no
27   previous hearing had ever been held.”
     6
       It is only a subordinate judicial duty of the citation is properly prepared. Analog. The code officer cannot cite
28   individuals for issues NOT applicable to subordinate judicial duty ~ this would automatically interfere with the
     adjudication by a subordinate judicial officer per se.

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 1   27. From my past experiences in court I believed a duly appointed judge would follow the statute

 2      and procedure.
     28. On 2/4/22 the court clerk pursuant to ROC 2.816 stated to everyone in the courtroom you are
 3
        entitled to have your case be heard by a commissioner or a judge.
 4      a. ROC 2.816(b)(3) states “(3) The party has a right to have the matter heard before a judge,
 5          commissioner, or referee of the court.”
        b. At the hearing I told the clerk I wanted a judge to hear my case. She stated that when my
 6
            case is called to request a judge.
 7      c. When my case was called I approached the counsel table. I stated in open court I wanted a
 8          judge.
        d. It is my understanding proceedings in PS4 are livestreamed via webex, or zoom, and that
 9
            there are video and audio recordings achieved of all court sessions. Therefore my express
10          request for a judge is memorized for the court’s review.
11   29. On 2/4/22 James Hodgkins, a commissioner, was acting as a judge pro tem on the bench that
12      day.
        a. When I informed James Hodgkins, who was on the bench, I requested a judge ~ a
13
            discussion ensued. Important facts of the discussion are not accurately reflected in the
14          clerks’s minutes.
15      b. James Hodgkins accepted my request for a judge. He stated that he had a conflict of
            interest as he had been an attorney for the City of Desert Hot Springs. City attorney Tuan
16
            Vu had some interaction with him about Desert hot Springs. There was no discussion of a
17          commissioner or Arthur Hester at all.
18      c. I have referenced this colloquy in the body of this motion at pg. 9:2-8.
        d. The court’s own video will confirm my choice of a judge and my testimony here.
19
        e. The hearing and request for a judge covered both cases at issue CVPS2106001 and
20
            CVPS2106016.
21      f. The court’s record and minute order (ex 5, 7) I was advised offered the choice of a
22          commissioner or a judge.
        g. There is nothing in the record that contradict my testimony that I requested a judge.
23
        h. In almost two years the other party has not contradicted my statement or testimony.
24   30. My request for a judge was early, timely, in open court, on the record.
25   31. In my opinion this is where the issues began that have led to this motion.
        a. The court clerk did not accurately reflect what occurred in the minutes.
26
        b. I have no idea, because there were so many judicial officers, if the clerk properly notified
27          Arthur Hester, that I chose a judge on 2/4/22.
28      c. This case is complex. It began with a constitutional search and seizure, due process, land

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 1          annexation, and a host of failures by the City to follow its own law.

 2      d. I immersed myself in this intersection of municipal/administrative/civil law. I found it is
            obscure. I could not locate an attorney that knew much about it.
 3
        e. A subordinate judicial officer, such as a commissioner, has authority to administer
 4          hearings and subordinate judicial tasks.
 5      f. Pursuant to GC. §53069.4 a properly issued citation is a “subordinate judicial duty.”
        g. The significant but ancillary issues are not subordinate judicial duty.
 6
        h. This is why I agreed to the court’s offer to have the case heard by a judge.
 7   32. When Arthur Hester returned to the bench he was entitled to do so as a subordinate duty
 8      pursuant to GC. §53069.4 (b)(3) and CCP. 259.
        a. While it was confusing for him to do so, it was the law as a subordinate. This is how I
 9
            interpreted the law.
10      b. To be clear. There was NEVER a discussion of Arthur Hester acting as a judge.
11      c. There has been NO NOTICE that Arthur Hester wold act as a judge.
12      d. There had been no mention of Arthur Hester making a request for a “stipulation” to act as
            a judge.
13
        e. There has been no discussion, and no agreement in any hearing to permit Arthur Hester to
14          act as a judge.
15      f. The entire court record of 329 pages there is no mention of Arthur Hester acting as a
            judge or temporary judge.
16
        g. Arthur Hester’s plaque on the bench states “commissioner” not judge or temporary judge.
17      h. It is my understanding that it is unlawful to "force an unwilling litigant” to try his or her
18          case before someone other than a judge.
        i. The words “all parties stipulate to a commissioner” meant nothing to me because a
19
            commissioner was entitled to hear a properly issued citation.
20
        j. No minutes in the entire case make statement about Miner stipulating to the
21          commissioner to act as a temporary judge.
22      k. No statement in the entire reporter’s transcript make statement about Miner stipulating to
            the commissioner to act as a temporary judge.
23
        l. Defendant’s hybrid co-council Joseph Rosenblit did not stipulate to the commissioner to
24          act as a temporary judge. (See Decl. Joseph Rosenblit)
25      m. I never agreed or stipulated to Arthur Hester acting as a temporary judge in the citation
            proceeding, or the separate vexatious litigant special proceeding.
26
        n. There is no evidence in the 5,500 page record that confirms otherwise.
27   33. My request for a judge on 2/4/22 was a choice for a judge, and a rejection of a commissioner.
28      Effectively and tantamount to a continuing non-stipulation to ever act as a judge.

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 1   34. I did everything in my power to have my case adjudicated by a superior court judge with all

 2      the procedure I was entitled to as a limited civil case pursuant to CCP. 85-100.
     35. Beginning 3/17/22 I hired a court reporter. The evidence shows no stipulation exists on the
 3
        record to permit the court commissioner to act as a judge in any hearing. Full stop.
 4   36. On 5/12/22 I determined the commissioner grossly exceed his authority as a subordinate
 5      judicial officer.
     37. On 6/7/22, I filed an additional document. A notice of written non-stipulation. The notice
 6
        was in advance of trial, in advance of the vexatious litigant proceeding and states:
 7
 8          “Defendant files this notice of non-stipulation for all further proceedings in cases
            CVPS2106001 and CVPS2106016. These cases are not to be heard by a Subordinate
 9          Judicial Officer, Commissioner, or Temporary Judge
10
            “No trial, sentencing, or preliminary hearing has occurred. Defendant has appeared
11          before three different subordinate judicial officers. Defendant, to his recollection, has
12          never knowingly or expressly stipulated to the Commissioner. Defendant has not
            consented or stipulated and will not stipulate or consent for Trial of the instant matter
13          be heard by a Subordinate Judicial Officer, Commissioner, or Temporary Judge.”
14
     38. This NOTICE OF NON STIPULATION was well in advance of any future trial, or the
15
        separate vexatious litigant proceeding.
16   39. Because it was in advance of the trials and in advance of the separate special proceeding. I
17      contend it was legal, proper notice, and timely (in advance).
     40. There are many errors in the court minutes. As an example on 6/7/22 I filed a written notice
18
        of non stipulation.
19   41. A good example of this is that On 6/23/22 a motion was heard where I non stipulated. And on
20      6/23/22 I non-stipulated orally on the record.
     42. The clerk continued to place “All parties stipulate to the Commissioner” in the minutes
21
        AFTER I expressly non-stipulated on the record.
22
        a. Based on my personal inspection, the clerk’s minutes are minimal boilerplate and not
23          reflective of the true and correct facts.
24   The Law
     43. The hearing officer ignored the law. This was confusing.
25
     44. The commissioner then ignored the law. For example he would not address the unlawful
26      warrantless search by the city and cabined the citation to the date of the citation itself when
27      the code cases were opened on 4/28/21.
     45. After my research it appears that the hearing officer is a fact finder and had no legal authority
28

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 1      to adjudicate law.

 2   46. When the city violates the law, its own hearing officer has no authority to adjudicate the
        violations.
 3
     47. It appears a subordinate judicial officer (commissioner) is also fact finder and has no
 4      authority to render conclusions of law unless acting as a judge. (Rooney, Horton, Edgar,
 5      Foosadas, Tijerina, Settlemire, Aetna, Galis et al.)
     48. Lastly, it appears the appellate department, in review of administrative citation cases, simply
 6
        looks at the facts, and also skips the conclusions of law ruling on “substantial evidence” ~
 7      skipping over the legal arguments.
 8   49. In this case, according to my attorney, there are many violations of law ~ by the City.
     Vexatious Litigant Issues
 9
     50. My research supports the following:
10   51. Only a Defendant can bring a “first instance” vexatious litigant motion.
11   52. A pre-filing order is a permanent injunction (luckette
12   53. A subordinate judicial officer lacks authority and jurisdiction to issue an injunction
     54. A permanent injunction cannot be issued in limited civil jurisdiction
13
     Conformation Miner is Defendant
14   55. I have defended myself from the day I was issued the citation.
15   56. I believe the court of appeal has now clarified this issue even though they have denied
        transfer of the appellate case in the appellate division.
16
     57. The Court of Appeal re-captioned the two appellate division cases on its own volition to
17      the following: City of Desert Hot Springs, plaintiff and respondent vs Joseph Miner,
18      defendant and appellant (ex 3). This dispels the Appellate Division’s reasoning.
     58. Only the defendant can bring the vexatious litigant motion to declare a litigious plaintiff
19
        vexatious. Joseph Miner is and was the Defendant. It seems the commissioner was in error.
20
     59. It also seems the Court of Appeal’s party designation (ex 3) are now in conflict with the
21      Appellate Department’s conclusions. CCP. 391.1(a). (ex 14)
22   60. I was active. I did not sit around and do nothing about these issues. I never acquiesced. Five
        non stimulations were made. After denial of each it was futile to and angered the court to
23
        mention them. I was admonished for non stipulating at the vexatious litigant hearing.
24   61. The case was complex and became more complex as it progressed. I did everything in my
25      power to place this case under the proper jurisdiction so that these issues would not arise.
     62. I have personally spoken with and emailed Monty Agarwal. This is a case, Wang, the
26
        Appellate Division used determining I was Plaintiff. Mr. Agarwal knew his client was
27      Defendant. The law was so new that he filed as Plaintiff because it prevented dismissal and it
28      had no bearing on his client. Mr. Agarwal supplied me with several documents that are

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 1      relevant to this case. (ex 20)

 2   63. Defendant has NEVER stipulated to Arthur Hester acting as a judge. Not in the entire
        proceeding will this court find a single stipulation on the record.
 3
     64. Exhibit #21 uncontrovertedly supports the Superior Court has changed its NOTICE
 4      advising commissioners are acting as temporary judges. Prior to this case the
 5      assignment did not give this important NOTICE see ex #4. This document is evidence
        from this courthouse that supports this entire motion.
 6
     65. Before this citation case I had no previous issues with the City. No lawsuits, no harassment,
 7      not even a visit to City hall since my ranch was annexed by the City in 2010.
 8   66. Lastly, I do not believe I was given a proper chance to be heard. No notice, and no chance to
        be heard. When I attempted to explain why I filed the motions the court cut me off from
 9
        testimony. The commissioner continually was putting words into my mouth, cutting me off
10      mid sentence, and not permitting me to voice my own testimony.
11   67. These documents are provided for the court’s convenience. Many are duplicative. Each
12      exhibit is numbered and the entire file is numbered by pages to make documents easy to
        reference
13
     68. I do not believe I had a fair trial. I was denied discovery, witnesses, case management, and all
14      statutory procedure common in these cases as can be verified by decisions of Superior Court
15      Judges. (ex 17, 19, 20)

16
        All exhibits included herein are true and correct and if not file stamped are original copies of
17   the documents filed with the court and held within the record and or clerks appellate transcript.
18
        I declare under penalty of perjury under the laws of the State of California that the foregoing
19
     is true and correct. Executed on January 4, 2024, at Orange County, California.
20
21                                                 __________________________________
                                                     ______
                                                         _ ____________________
22                                                 /s/ Josephh Miner (pro per) 1/4/2024

23
24
25
26
27
28

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 1                                             EXHIBIT LIST

 2   JUDICIAL NOTICE
           Defendant Joseph Miner requests this court take judicial notice of all Riverside County
 3
     Superior Court files in the instant limited civil case CVPS2106001 and limited civil appeal
 4   APRI22098.
 5   EXHIBITS

 6    Ex #     Date           Court officer        Issue                     Transcript    Minutes
      1        01/20/22       Hester               Judgment of Dismissal     Reporter
 7
      2        01/22/22       Hester               VL Order                  Reporter
 8
      3        12/19/23       Raphael              Party Role. COA           Record
 9
      4        12/07/22       Hester               Assignment                Record
10    5        01/06/22       Knighten             Hearing 1                 Video         X
11    6        01/18/22       Hester               Hearing 2                 Video         X
12    7        02/04/22       Hodgkins             (hearing 3, non stip)     Video         X
      8        06/07/22       Hester               (notice non stip)         Filing
13
      9        06/08/22       Hester               (motion non stip)         Filing
14
      10       6/23/22        Hester               (non stip hearing)        Reporter      X
15
      11       6/23/22        Hester               (forced stipulation)      Reporter      X
16    12       5/18/23                             AOB                       Record
17    13       7/20/23                             ARB                       Record

18    14       11/09/23       Jackson              Opinion                   Record
      15       11/27/23                            Petition for Rehearing    Record
19
      16       12/11/23                            Petition for Transfer     Record        212
20
      17       08/29/19       Blizzard             (discovery)
21    18       08/30/21       Renner               Wang Decision
22    19       04/12/22       Cadei                Wang discovery
23    20       03/25/22       Agarwal              Agarwal Dec.

24    21       09/06/23       Hodgkins (NEW)       Notice - Assignment
      22       09/22/22       Hester               (no stipulation) 321      Reporter      Transcript
25
      23       10/20/22       Hester               (no stipulation)          Reporter      Transcript
26
      24       Misc                                Court statements          Reporter      Transcript
27    25       01/03/24       Rosenblit            Declaration of Attorney
28

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 3
     The Court did not find it necessary to consider the voluminous evidence filed with the Opposition papers.
 4   However, the Court takes sua sponte judicial notice of the 2019 ruling of the Honorable Thadd Blizzard
 5
     in a similar action (Exh. B to the Declaration of Monty Agarwal.) In taking judicial notice of that ruling,
     however, the Court takes notice of the document's existence, not the truth of its contents. (See
 6   Professional Engineers v. Dep't of Transp. (1997) 15 Cal.4th 543, 590 [judicial notice of findings of fact
     does not mean that those findings of fact are true]; Steed v. Department of Consumer Affairs (2012) 204
 7   Cal.App.4th 112, 120-121.)
 8
     Legal Standards
 9
     A motion for protective order asks the Court to modify, prohibit, or limit discovery procedures to protect a
10   party from an excessive or unnecessary burden, expense, or intrusion. (Code Civ. Proc. § 2025.420.)
11
     "The court, for good cause shown, may make any order that justice requires to protect any party or other
     natural person or organization from unwarranted annoyance, embarrassment, or oppression, or undue
12   burden and expense." (Code Civ. Proc. § 2030.090(b).)
13   Relevant in this particular case is Government Code section 53069.4, which as described above,
14   Appellants herein use as their procedural vehicle to contest the underlying administrative decision. That
     Section provides, in pertinent part:
15
     Notwithstanding Section 1094.5 or 1094.6 of the Code of Civil Procedure, within 20 days after service of
16
     the final administrative order or decision of the local agency is made pursuant to an ordinance enacted
17   in accordance with this section regarding the imposition, enforcement, or collection of the administrative
     fines or penalties, a person contesting that final administrative order or decision may seek review
18   by filing an appeal to be heard by the superior court, where the same shall be heard de novo,
     except that the contents of the local agency's file in the case shall be received in evidence.
19

20   (Gov't Code § 53069.4(b)(1) (emphasis added).)
21   It further provides:
22
     A copy of the document or instrument of the local agency providing notice of the violation and imposition
23   of the administrative fine or penalty shall be admitted into evidence as prima facie evidence of the
     facts stated therein.
24

25
     (Id. (emphasis added).)

26   Additionally, that subdivision states: "The conduct of the appeal under this section is a subordinate
     judicial duty that may be performed by traffic trial commissioners and other subordinate judicial officers
27   at the direction of the presiding judge of the court." (Gov't Code § 53069.4(b)(3).)
28
     Discussion
29
     As a threshold matter, the Court notes that it will not summarize the appellate history of this action and
30
     will not address the classification of this matter as limited or unlimited based on the amount in
31   controversy. The parties are familiar with these. The Court proceeds directly to the issue presented in
     the moving papers: whether discovery should be permitted to proceed in this action, which is an "appeal"
32   that will be heard "de novo."
33
     The City argues, "based upon the plain language of the statute, the current case is specified as an
34   appeal to review the administrative decision and, by implication, the record that is the basis for such
     decision." (P&As at 4-5.) The City argues that the statute provides for the "contents of the local
35

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37
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     agency's file" to be "received in evidence" along with "a copy of the document or instrument of the local
 4   agency providing notice of the violation and imposition of the administrative fine or penalty," which "shall
 5
     be admitted into evidence as prima facie evidence of the facts stated therein." (Id.) The City argues that
     the Statute provides for the "exact evidence and documents to be reviewed de novo" such that no
 6   additional evidence beyond these listed items should be permitted, because "[t]he terms of the more
     specific statute take precedence over those of the more general statute." (Id. (citing People v. Barrett
 7   (2003) 109 Cal.App.4th 437, 450).)
 8
     The Court is not persuaded.
 9
     First, here the Court is not reconciling the text of a specific statute with a more general statute.
10   Regardless, Section 53069.4(b)(1) nowhere suggests that only the document "providing notice of the
11
     violation and imposition of the administrative fine or penalty," and the "local agency's file," constitute the
     entirety of materials that can be received into evidence in these particular actions.
12
     For the first time on Reply, the City focuses on the Section's use of this phrase: the appeal "shall be
13   heard de novo, except that the contents of the local agency's file in the case shall be received in
14   evidence . . . ." (Reply at 2 (quoting Section 53069.4(b)(1) (emphasis in Reply).) The City argues that
     this "except that" phrasing limits the evidence to be used in the "de novo" appeal, i.e., such that only the
15   local agency's file and the citation document can be admitted into evidence in the appeal. The Court is
     not persuaded. For instance, Section 53069.4 does not expressly mention transcripts or "the record"
16
     from the underlying administrative hearing, and yet those would presumably also be evidence properly
17   considered in an "appeal." The Court is not persuaded that Section 53069.4 includes an exhaustive list
     of the evidence that may properly be considered in the de novo appeal.
18
     Second, the text of Section 53069.4(b)(1) envisions the introduction of new evidence that might rebut the
19
     "prima facie evidence of the facts stated" in "the document or instrument . . . providing notice of the
20   violation and imposition of the administrative fine or penalty." (emphasis added). As Appellants argue,
     the text of Section 53069.4 describes the City's notice of violation and imposition of penalty as merely
21   "prima facie" evidence that can potentially be rebutted -- i.e., presumably upon introduction of new,
22
     competing evidence. If "shall be heard de novo" meant a review of the administrative record only, there
     would be no need for this presumption, or the allowance that it can be rebutted.
23
     The City does not meaningfully address the term "prima facie" as used in Section 53069.4(b)(1).
24

25
     The City argues that the case of Martin v. Riverside Co. Dept. of Code Enforcement (2008) 166
     Cal.App.4th 1406, 1411-12 indicates that review under Section 53069.4 is a "limited de novo appeal."
26   Rather than supporting the City's position here, however, Martin actually suggests that a "de novo"
     appeal under Section 53069.4 can properly include new evidence that had not been admitted at the
27   administrative level. In Martin, the superior court judge had "consider[ed] all evidence submitted, even if
28
     it had not been presented at the administrative hearing." (Id. at 1410 (emphasis added).) The Court of
     Appeal described the Superior Court's process as "conduct[ing] the hearing both on the writ petition and
29   as a de novo appeal." (Id. (emphasis added).)
30
     This suggests that a "de novo appeal" under Section 53069.4 can properly include evidence that "had
31   not been admitted at the administrative level." At least, the Court of Appeal in Martin did not take issue
     with the trial court for having considered new evidence in the "appeal" in that case.
32
     Further, as Appellants argue (Opp'n at 9-11), when Section 53069.4 was enacted, the Legislature
33
     modeled its "de novo appeal" process after a similar one authorized under section 40230 of the Vehicle
34   Code for parking violations. The object of the legislation was to provide a 'faster, easier, fairer approach'
     for addressing municipal code violations by 'getting the issues out of the courts' while 'saving public and
35

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     private funds.' (County of Humboldt v. Appellate Division of Superior Court (2020) 46 Cal.App.5th 298,
 4   313.) Here, Appellants argue that the origin is readily seen by a side-by-side comparison in texts:
 5
     [A] person contesting ... may seek review by filing an appeal to be heard by the superior court, where the
 6   same shall be heard de novo, except that the contents of the local agency's file in the case shall be
     received in evidence . . .
 7

 8
     (Gov't Code § 53069.4.)

 9   [T]he contestant may seek review by filing an appeal to be heard by the superior court where the same
     shall be heard de novo, except that the contents of the processing agency's file in the case shall be
10   received in evidence ...
11
     (Vehicle Code § 40320(a).)
12
     Appellants argue that because § 53069.4 "borrows the de novo judicial appeal process from its parking
13   citation counterpart," County of Humboldt, 46 Cal.App.5th 298, 313, the terms "appeal" and "shall be
14   heard de novo" should be interpreted similarly. (Opp'n at 9; see Glaviano v. Sacramento City Unified
     School Dist. (2018) 22 Cal.App.5th 744, 753 (for "substantially similar language, the usual presumption
15   is that the Legislature intended the same construction, unless a contrary intent clearly appears.")
     (citations omitted).) Under Vehicle Code § 40230(a), the term "shall be heard de novo" means a trial de
16
     novo. In Lagos v. City of Oakland (1995) 41 Cal.App.4th Supp. 10, 11-12, the court, discussing Vehicle
17   Code § 40320(a), explained, "this de novo appeal is similar to a small claims appeal." Code of Civil
     Procedure § 116.770(a), which governs small claims appeals, provides that an "appeal to the superior
18   court shall consist of a new hearing." In ERA-Trotter Girouard Assoc. v. Superior Court (1996) 50
     Cal.App.4th 1851, 1855, the court explained that a small claims "appeal" "is one in name only." "A small
19
     claims appeal is, in fact, a trial de novo in superior court." (Id. (emphasis added); see also Martin v.
20   Riverside County Dept. of Code Enforcement (2008) 166 Cal.App.4th 1406, 1411 ("Although
     Government Code section 53069.4 uses the word "appeal" to describe the limited civil proceeding, what
21   seems to be meant is a de novo hearing by a single judge ..."); People v. Kennedy (2008) 168
22
     Cal.App.4th 1233, 1240 ("In certain respects, the requirement for a trial de novo under [Vehicle Code]
     section 40902 is similar to the statutory requirement of a trial de novo applicable in cases arising from
23   decisions by local agencies pursuant to an ordinance. (Gov. Code, § 53069.4, subd. (b)(1).)" (emphasis
     added).) The Court agrees with Appellants that the analogous nature of the Government Code and the
24   Vehicle Code in this regard supports allowing new evidence on appeal here.
25
     Finally, the Court agrees with Appellants that the plain text of Section 53069.4 does not state that the
26   administrating hearing transcript and record shall be admitted into evidence or that it shall be the sole
     evidentiary basis for the de novo appeal here. The Section provides for admission into evidence of the
27   "the contents of the local agency's file in the case," which refers to the City's investigation file: if the
28
     Legislature meant to say the "administrative hearing record," it would have done so. (Opp'n at 11-12.)
     Moreover, as Appellants argue, discovery is available because Section 53069.4(b)(1) does not expressly
29   bar discovery. (See e.g., City of Los Angeles v. Sup. Ct. (2017) 9 Cal.App.5th 272, 284-86 (court
     considered if discovery was allowed in an action arising under the California Public Records Act, and
30
     held that because "the Legislature has not included any exemption precluding discovery in such
31   proceedings, we conclude that the discovery act applies.").)
32   The City relies in part on County of Sonoma v. Gustely (2019) 36 Cal.App.5th 704, which notes that a
     reviewing court cannot simply "substitute its discretion" for the administrative agency's. (P&As at 5-6.)
33
     However, in that case Gustely was found to have committed various county code violations on his
34   property, and was fined civil penalties totaling $2,880. (Id. at 707.) He did not seek judicial review of the
     hearing officer's decision prior to appealing to the Court of Appeal, and the Court of Appeal noted: "He
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     had two potential means of doing so: A petition for writ of mandate pursuant to Code of Civil Procedure
 4   section 1094.5 or an appeal to the superior court pursuant to Government Code section 53069.4." (Id.
 5
     at 711 (emphasis added).) The issue of whether new evidence could be admitted in an appeal "de
     novo" under Section 53069.4 was therefore not presented in that case.
 6
     The City also relies on County of Humboldt (2020) 46 Cal.App.5th 298, 312-13, and argues that in that
 7   case the "court concluded the de novo appeal mirrors mandamus and is meant to review the
 8
     administrative record." (P&As at 6.) As Appellants argue, however, the court made no such
     determination in that case, because that question was not at issue. The question was whether a party
 9   could appeal further after a trial de novo under Section 53069.4(b)(1). After sorting out confusion about
     how cases are classified under Section 53069.4(b)(1), the court held that there is a right to a further
10   appeal. The court reasoned that since "judgment in an administrative mandamus action is generally
11
     appealable" it would be "anomalous" not to allow a further appeal of a judgment under Section
     53069.4(b)(1). (Id. at 312-13.)
12
     Ultimately, the City has not persuaded the Court that a protective order is warranted here, and has not
13   shown that proceedings pursuant to Section 53069.4 cannot properly include any new evidence.
14   Indeed, Appellants' Opposition papers challenge the nature and extent of the underlying administrative
     review process, wherein the examiner imposed a significant financial penalty on Appellants after a
15   hearing that was not subject to the rules of evidence and that may have involved consideration of
     hearsay evidence. In the interests of due process, the Court at this time declines to issue a protective
16
     order preventing any and all discovery, and declines to find that absolutely no new evidence may be
17   presented as part of a full new "de novo" evidentiary hearing pursuant to Section 53069.4.
18   The Court clarifies that this ruling is limited to the question of whether discovery should be permitted to
     occur, not whether the judge assigned to preside over the de novo appeal should or should not admit
19
     any new evidence. Questions of admissibility are preserved for the judicial officer handling the de novo
20   appeal. This Court herein holds only that discovery may proceed in this action.
21   The City's Motion for Protective Order is DENIED.
22
     The minute order is effective immediately. No formal order pursuant to CRC Rule 3.1312 or further
23   notice is required.
24

25
     COURT RULING

26   There being no request for oral argument, the Court affirmed the tentative ruling.
27

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                                     City Attorneys Department Spring Meeting
                                                     League of California Cities
                                                                 May 1-3, 1996




                     CIVILIZING
                 CODE ENFORCEMENT




                                                       JOAN R. GALLO
                                                       City Attorney

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                                OUTLINE
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 IV.   NUISANCE ABATEMENT ACTIONS

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ATTACHMENT A - ADMINISTRATIVE CITATIONS ORDINANCE

ATTACHMENT B - SB 814

ATTACHMENT C - ADMINISTRATIVE REMEDIES ORDINANCE




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                                          I
                                    INTRODUCTION

Over the last couple of years, San José has been moving away from the use of criminal
prosecution as the preferred approach to code enforcement and nuisance abatement.

The criminal process does not seem to work as an adequate deterrent in many
situations. It is a slow, labor intensive process for both the City Attorney’s Office and
the Code Enforcement staff. When, after months of stalling and delay, pretrial
compliance is actually achieved, most judges are not sympathetic to our insisting on a
trial in order to impose penalties. Most of the court imposed fines do not go to the city,
and there is an increasing pressure to make code enforcement more cost recovery.
Furthermore, with the advent of Three Strikes and its impact on the courts, there is a
real question as to whether most municipal code prosecutions should be on the court’s
overburdened calendar.

Instead, San José took a comprehensive look at the code enforcement process and
adopted a number of administrative procedures which have been coupled with more
frequent use of the civil courts.


                                        II
                             ADMINISTRATIVE CITATIONS
                                       and
                                      SB 814

1.     The Administrative Citations Ordinance

The Administrative Citation is intended to be used for violations of the municipal code
that are transient and not continuing in nature. Examples of regulations appropriate
for this approach are: early yard waste set out, false burglar alarms, noisy animals,
parking automobiles on front lawns, failure of vendors to carry a required permit, and
violations of local smoking prohibitions.

The structure of the Administrative Citation process is intended to mirror, as much as
possible, the new administrative approach to parking tickets. An enforcement officer
issues an Administrative Citation that lists the code violation and the administrative fine
amount and describes how to pay the fine or request a hearing to contest the citation.
The Administrative Citation is contested through an administrative hearing process.
The amount of the fine must be deposited in advance of the administrative hearing, but
there is a procedure for a waiver of that deposit, if making the deposit causes a
hardship.

The San José Administrative Citations Ordinance is provided in Attachment A.
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2.     SB 814

The major impediment to this approach was the fact that the administrative hearing
officer’s decision would be subject to review under administrative mandamus (CCP
§1094.5), and we did not want to burden code enforcement staff with having to prepare
detailed reports and appear at administrative hearings in order to create a sufficient
administrative record.

Parking citations constitute prima facie evidence of the facts of a violation listed on the
citation and are subject to de novo review by the Municipal Court (Cal. Veh. Code
§40230). We similarly stated in our ordinance that an Administrative Citation
constitutes prima facie evidence of the facts contained in the citation. Therefore, San
José sponsored this legislation in order to provide similar de novo review of
Administrative Citations by the Municipal Court.

There are few cases that even indirectly discuss the ability of cities to use
administrative fines and penalties. As a charter city, we felt comfortable imposing civil
fines pursuant to our police powers. Under City of Stockton v. Frisbie & Latta, (1928)
93 Cal. App. 277, cities and towns are not limited to the adoption of any particular mode
of enforcing their regulations and civil remedies may be appropriate. There is also
statutory authority in Government Code §36901 for the legislative body of a city to
impose fines, penalties, and forfeitures, up to $1,000. While the provision seems to be
somewhat penal in nature, it does not specify such a limitation. An 1892 case, Ex Parte
M. Green, 94 Cal. 387, concluded that where the power to impose fines has been
conferred and no mode has been specified for their collection, it is within the power of a
municipal corporation to adopt any reasonable mode for the collection of the fine.

Given the dearth of case law, one of the side benefits of Senate Bill 814 is that it
provides clear statutory authority, in Government Code §53069.4, for an administrative
enforcement approach by cities:

                 The legislative body of a local agency, as the term
                 "local agency" is defined in Section 54951, may by
                 ordinance make any violation of any ordinance
                 enacted by the local agency subject to an
                 administrative fine or penalty.

Of course, few bills emerge through the legislative process as originally proposed.
There are two important elements in this bill which were added along the way:

a.     The California Attorneys for Criminal Justice added the provision that
       administrative fines for infractions cannot be higher than applicable statutory
       maximums. Since cities determine which municipal code violations are
       infractions, this change should not pose a problem.

b.     The California Apartment Association wanted to ensure that landlords are given
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      an opportunity to correct certain violations, such as illegal fences, prior to the
      imposition of fines. Therefore, a provision was added to the bill requiring that the
      enabling ordinance include a provision setting forth a “reasonable period of time”
      to correct continuing violations prior to the imposition of a fine for building,
      plumbing, electrical code and other structural or zoning violations.

      Since, the Administrative Citations approach will work best for violations of the
      municipal code which are transient and not continuing in nature, rather than set
      forth a period time to correct these “continuing” types of violations, we explicitly
      stated in our ordinance that the Administrative Citation ordinance shall not apply
      to “continuing” violations of building, plumbing, electrical codes and other
      structural or zoning issues.

A copy of SB 814 is provided in Attachment B. The provisions relevant to
Administrative Citations are found in SECTION 2 of the bill.

3.    Administrative Citation Fines

The amount of the fine is set by resolution. In San José, the standard fine is $25 for a
typical municipal code violation. However, higher fines are established for more serious
violations, after consideration of factors such as: what constitutes a reasonable fine
amount for the violation, the staff time involved to identify and address the code
violation, and what fine amount would act as a reasonable deterrent to the behavior or
act at issue. We also have provided for penalties and interest on late payments of
administrative fines.

As an example: while responsible parties are provided with warnings for the first and
second false burglar alarms, our administrative fine is $100 for a third false burglar
alarm in sixty-days; $250 for the fourth in this period; and $500 for any subsequent
false alarms during this same sixty-day period. Between July 1, 1995 and March 15,
1996, the City of San José issued approximately 1,500 Administrative Citations for false
burglar alarms. Of those, approximately 60, or 4%, were appealed. Administrative
Citation fines (including penalties and interest for late payments of fines) for false
burglar alarms during this period totaled $174,000 and approximately $126,200 was
received without necessity for a collection action, for a collection rate of approximately
73%. Unpaid fines presently are being collected by our Finance Department, but
eventually may be turned over to a collection agency if the volume becomes too great.

4.    Administrative Issues

This administrative approach allows staff of various departments, in addition to police
officers and code enforcement officers, to enforce their own ordinances. The hearing
officer can be in the administrative department that issues the citation or can be
centrally designated to handle all challenges. It may be reasonable to use the existing
parking ticket hearing officer.
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In San José, this ordinance currently is being implemented on a pilot project basis to
work out the procedures and to allow training for staff in its use. It is just beginning to
have an effect. Staff has embraced this approach enthusiastically because it is so
streamlined, convenient and “user” friendly.


                                         III
                              ADMINISTRATIVE REMEDIES
                                        and
                                       SB 814

1.     The Administrative Remedies Ordinance

This approach has been used successfully in dealing with continuing and ongoing
violations of the zoning code and the building, plumbing, and electrical codes. It affords
Code Enforcement staff with greater control over their cases and an ability to respond
to code violations more quickly than is possible through the criminal process.

Under this approach, an enforcement officer issues a Compliance Order to a
responsible party that sets forth a description of the municipal code violation(s)
identified at the property, a description of what the responsible party is required to do to
bring the property into compliance, and the date by which compliance must be
achieved. The Compliance Order also provides notice that administrative penalties of
up to $2,500 per day begin to accrue if compliance with the Compliance Order is not
achieved by the compliance date listed on the Order and describes the appeals
process.

If Code Enforcement staff determines upon reinspection of the property that compliance
with the Compliance Order was not achieved by the compliance date, a public hearing
is scheduled before an administrative hearing body and notice of the hearing is
provided to the responsible party. Both Code Enforcement staff and the responsible
party attend the hearing and present their case, after which the administrative hearing
body issues its decision. In San José, the hearings are conducted by a commission of
citizens called the Appeals Hearing Board. The decision may contain an order to
correct any violations determined to exist, together with an order to pay administrative
penalties and costs to the city, in amounts determined by the administrative hearing
body.

This ordinance has proved very effective in gaining rapid compliance. A copy of the
San Jose Administrative Remedies Ordinance is provided in Attachment C.

2.     Penalties and Costs

Under the Administrative Remedies Ordinance, the administrative hearing body is
authorized to impose administrative penalties of up to $2,500 per day for each ongoing
code violation, up to a total penalty of $100,000. General law cities may want to
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 consider whether, under Government Code §36901, the fine should have a $1,000 per
 day limitation. The Ordinance lists factors that the administrative hearing body may
 consider in establishing the penalty amount, such as: the duration and seriousness of
 the violation, any good faith efforts of the responsible party to achieve timely
 compliance, the frequency of violations by the responsible party, the impacts of the
 violation on the community, and the economic impact of a penalty on the responsible
 party.

 The Ordinance also authorizes the administrative hearing body to order a responsible
 party to reimburse the city for its administrative costs incurred in pursuing the
 enforcement action, such as the costs to investigate the matter, perform inspections,
 and prepare the case for administrative hearing. The Ordinance allows the city to
 collect these costs and penalties owed as a personal obligation of the responsible party
 or by placing a lien on the responsible party’s real property when the violation pertains
 to that real property.

 Compliance is overwhelmingly achieved before the compliance date. Code
 Enforcement estimates that they actually issue a little over 1,000 Compliance Orders in
 a calendar quarter. Only about 7 cases a quarter reach the Appeals Hearing Board
 because compliance was not achieved by the compliance date. Additionally, from the
 time this approach was implemented near the beginning of 1994, Code Enforcement
 has requested the City Attorney’s Office to present their case on only 2 occasions when
 they knew in advance that the responsible party would be represented at the Board
 hearing by an attorney.

 Since this Ordinance was implemented at the end of 1993, the City has imposed
 approximately $340,000 in administrative penalties and costs. To date, the largest
 administrative penalty paid to the City in any one case is $38,900. The largest lien
 which has placed against a single property is $50,800.

 3.    SB 814

 This Administrative Remedies Ordinance is subject to administrative mandamus (CCP
 Section 1094.5). When we enacted this ordinance, we were concerned about the
 applicable statute of limitations. CCP §1094.6(e) sets a 90-day statute of limitations for
 employment actions, as well as decisions revoking or denying an application for a
 permit, license or other entitlement or decisions denying an application for any
 retirement benefit or allowance. Therefore, once we decided to sponsor SB 814 to
 address our Administrative Citation concern, we also sought to amend this section to
 include decisions “imposing a civil or administrative penalty, fine, charge, or cost.”
 (See SECTION 1 of the bill in Attachment B.) Thus, cities now, by resolution or
 ordinance, can make challenges to the administrative process subject to the 90-day
 statute of limitations.

 4.    Administrative Issues
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 The major difficulty in implementing this ordinance was training staff to fully complete a
 Compliance Order and prepare the necessary, detailed report for the administrative
 hearing body. Code Enforcement staff prepares a report for the administrative hearing
 body that summarizes the relevant observations, inspections and other pertinent facts
 of a case, as well as the administrative costs incurred by the city in pursuing the
 enforcement action. The report also contains a staff recommendation of an
 administrative penalty amount, together with the reasons supporting that amount.

 Additionally, this report sets forth a detailed recommendation to the administrative
 hearing body of the relevant findings and conclusions that flow from the facts presented
 and a recommended decision based upon those findings and conclusions designed to
 meet the standards for administrative findings set forth in Topanga Assn. for a Scenic
 Community v. County of Los Angeles, (1974) 11 Cal.3d 506.

 It is important to create a sufficient administrative record under this process because
 the decision may be challenged by a writ of administrative mandamus. We try to
 ensure that the administrative record clearly reflects that the administrative findings and
 decision are supported by substantial evidence.

 A Writ of Mandate has been filed in only two cases so far. The trial court upheld the
 decision of the Appeals Hearing Board in both. One decision was appealed and the
 decision of the Board was upheld in an unpublished decision.

 Once staff has learned how to complete the Compliance Orders and draft their reports
 to the Appeals Hearing Board, this enforcement technique certainly can be more
 efficient and requires less attorney involvement than traditional code enforcement.


                                       IV
                           NUISANCE ABATEMENT ACTIONS

 Civil suits are an effective alternative: where a business creates a nuisance, but it is not
 technically violating any municipal code provision, for example, a liquor store that has
 patrons hanging around outside and disturbing the peace; where the code violations are
 so extreme that immediate closure of the business is warranted; or where drug dealing
 or gang activity are involved. The new element for us is that in recent cases, as part of
 the community policing effort, active neighborhood support is elicited. The community
 support in documenting problems and the willingness to sign declarations has made the
 motions for preliminary injunction more compelling.

 We recently succeeded in closing down a liquor store that was creating a serious
 neighborhood problem. In addition to alleging a public nuisance pursuant to California
 Code of Civil Procedure §731 and the applicable municipal code sections, we alleged a
 cause of action for unfair competition pursuant to California Business and Professions
 Code §17200, et. seq. (this cause of action is not available to smaller cities).
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 After closure of the liquor store, the number of alcohol-related violations and narcotics-
 related violations in the vicinity of the liquor store have decreased dramatically. The
 total number of liquor-related offenses decreased by 77%. The total number of
 narcotics-related offenses decreased by 67%. The total number of incidents reported in
 the vicinity decreased by 54%.

 The Police Department credits the closing of this liquor store with far-reaching beneficial
 effects. Not only has it turned around the immediate problems, but since the case
 garnered so much publicity, the beat officers find that they get a lot of attention when
 they suggest to a business or property owner that they might be the next “Charlie’s.”


                                            V
                                   CIVIL COMPROMISES

 We continue to use criminal citations in most situations where the Police Department
 enforces the Code, especially where the Police Department wants to actually remove
 someone from the scene. We will also continue to use the criminal process for
 violations involving hazardous materials or sewer disposal regulations. The Municipal
 Court has been willing to impose jail sentences under these circumstances. However,
 where jail time is not our goal, we have found that a civil compromise can serve the
 same function in preventing recurrence as does probation and it is more readily agreed
 to than a guilty plea.

 In a recent case, the civil compromise resulted in civil penalties and restitution to the
 City for past violations in the total amount of $150,000. Additionally, the civil
 compromise included an injunction which specifies very stiff civil penalties for any future
 violations.

 This injunction will be overseen by the Superior Court, and requires obedience with all
 laws and mandates of the San Jose Fire Department during its three (3) year duration.
 If any violations occur during this time, the duration of the injunction will be extended for
 a one-year period of time per violation. The injunction required compliance with very
 specific conditions for the operation of the business, including making their business
 premises and their hazardous materials monitoring records available for inspection by
 the Fire Department upon request.


                                           VI
                                       CONCLUSION

 SB 814 was enacted in order to facilitate use of the Administrative Citations and
 Administrative Remedies processes. As part of a comprehensive civil approach, we are
 also utilizing Nuisance Abatement lawsuits and civil compromises of criminal actions.

 While we continue to use the traditional summary and proposed nuisance abatement
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 procedures in extreme cases, it is not favored because this type of abatement requires
 an expenditure of City funds to perform the abatement work. Cities performing
 abatement work on substandard housing also should be aware that the State
 Department of Housing and Community Development contends, we believe incorrectly,
 that the substandard housing abatement process set forth under State Housing Law is
 the exclusive method that may be used to abate substandard housing conditions. For
 further discussion of this issue, see, Libow and Phillips, “The Abatement of
 Substandard Housing Conditions, The State Housing Law and Regulations: A Trap for
 the Unwary,” League of California Cities Annual Conference (October 1994).

 Other ordinances that are a part of this administrative approach include:

 x      Neglected Vacant House Ordinance: This ordinance defines neglected, vacant
        houses as public nuisances. It sets standards for maintenance of residential
        buildings remaining vacant for more than 30 days, and includes structural and
        building standards, fire safety standards, security standards, debris removal and
        appearance standards. Owners of houses determined to be neglected vacant
        houses must register their residences in a monitoring program; inspect or cause
        their residences to be inspected once every 2 weeks; and pay the applicable fee
        for registration in the monitoring program. Appeals regarding placement in the
        monitoring program or payment of fees are heard by our Appeals Hearing Board.

 x      Owner Relocation Obligations Ordinance: This ordinance mandates that owners
        of rental units provide tenants with relocation assistance in the event it becomes
        necessary for the City to take enforcement action to bring the unit into
        compliance with housing or fire codes. Emergency, temporary, and long term
        relocation assistance are all required. Relocation assistance includes alternative
        safe and legal housing at no additional rental cost to the tenant, transportation
        costs arising from the displacement, provision of furnishings, and reasonable
        security for tenants' property remaining in the unit. The ordinance also gives
        tenants the right to reoccupy the unit when the violations have been corrected,
        the right to no increases in rent for 12 months after reoccupying the unit, and a
        private right of action against the owner for any damages.

 We also want to call your attention to AB 1837 (Figueroa), which became effective
 January 1, 1996 and amended Penal Code Section 594.5 to provide that nothing in the
 Penal Code shall invalidate a city ordinance setting forth “administrative regulations,
 procedures, or penalties governing the placement of graffiti or other inscribed material
 on public or private, real or personal property.” Thus, under this new law, cities can
 address graffiti administratively. We currently are assessing the possibility of an
 ordinance pursuant to this bill.

 It is too early to fully assess the success of these administrative approaches, but, at this
 point, all indications are that it takes less time to achieve compliance and stop the
 nuisance.
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                                     ATTACHMENT A
                           ADMINISTRATIVE CITATION ORDINANCE

                                             Chapter 1.15
                                      ADMINISTRATIVE CITATIONS

 1.15.010 Applicability

 A.    This Chapter provides for administrative citations which are in addition to all other legal remedies,
       criminal or civil, which may be pursued by the City to address any violation of this Code.

 B.    The administrative citations process set forth in this Chapter does not apply to continuing violations
       of this Code that pertain to building, plumbing, electrical, or other similar structural or zoning
       issues.

 C.     Use of this Chapter shall be at the sole discretion of the City, subject to Section 1.15.010.B.

 1.15.020 Enforcement Officer -- Defined
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 For purposes of this Chapter, "enforcement officer'' shall mean any City employee or agent of the City with
 the authority to enforce any provision of this code.

 1.15.030 Administrative Citation

 A.      Whenever an enforcement officer charged with the enforcement of any provision of this Code
         determines that a violation of that provision has occurred, the enforcement officer shall have the
         authority to issue an administrative citation to any person responsible for the violation.

 B.      Each administrative citation shall contain the following information:

         1.      The date of the violation;

         2.      The address or a definite description of the location where the violation occurred;

         3.      The section of this Code violated and a description of the violation;

         4.      The amount of the fine for the code violation;

         5.      A description of the fine payment process, including a description of the time within which
                 and the place to which the fine shall be paid;

         6.      An order prohibiting the continuation or repeated occurrence of the code violation
                 described in the administrative citation;

         7.      A description of the administrative citation review process, including the time within which
                 the administrative citation may be contested and the place from which a request for
                 hearing form to contest the administrative citation may be obtained; and

         8.      The name and signature of the citing enforcement officer.

 1.15.040 Amount of Fines

 A.      The amounts of the fines for code violations imposed pursuant to this Chapter shall be set forth in
         the schedule of fines established by resolution of the City Council.

 B.      The schedule of fines shall specify any increased fines for repeat violations of the same code
         provision by the same person within thirty-six months from the date of an administrative citation.

 C.      The schedule of fines shall specify the amount of any late payment charges imposed for the
         payment of a fine after its due date.

 1.15.050 Payment of the Fine

 A.      The fine shall be paid to the City within thirty days from the date of the administrative citation.

 B.      Any administrative citation fine paid pursuant to subsection A. shall be refunded in accordance
         with Section 1.15.100 if it is determined, after a hearing, that the person charged in the
         administrative citation was not responsible for the violation or that there was no violation as
         charged in the administrative citation.

 C.      Payment of a fine under this Chapter shall not excuse or discharge any continuation or repeated
         occurrence of the code violation that is the subject of the administrative citation.

 1.15.060 Hearing Request
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 A.      Any recipient of an administrative citation may contest that there was a violation of the Code or
         that he or she is the responsible party by completing a request for hearing form and returning it to
         the City within thirty days from the date of the administrative citation, together with an advance
         deposit of the fine or notice that a request for an advance deposit hardship waiver has been filed
         pursuant to Section 1.15.070.

 B.      A request for hearing form may be obtained from the department specified on the administrative
         citation.

 C.      The person requesting the hearing shall be notified of the time and place set for the hearing at
         least ten days prior to the date of the hearing.

 D.      If the enforcement officer submits an additional written report concerning the administrative
         citation to the hearing officer for consideration at the hearing, then a copy of this report also shall
         be served on the person requesting the hearing at least five days prior to the date of the hearing.

 1.15.070 Advance Deposit Hardship Waiver

 A.      Any person who intends to request a hearing to contest that there was a violation of the Code or
         that he or she is the responsible party and who is financially unable to make the advance deposit
         of the fine as required in Section 1.15.060.A. may file a request for an advance deposit hardship
         waiver.

 B.      The request shall be filed with the Department of Finance on an advance deposit hardship waiver
         application form, available from the Department of Finance, within ten days of the date of the
         administrative citation.

 C.      The requirement of depositing the full amount of the fine as described in Section 1.15.06.A. shall
         be stayed unless or until the Director of Finance makes a determination not to issue the advance
         deposit hardship waiver.

 D.      The Director may waive the requirement of an advance deposit set forth in Section 1.15.060.A.
         and issue the advance deposit hardship waiver only if the cited party submits to the Director a
         sworn affidavit, together with any supporting documents or materials, demonstrating to the
         satisfaction of the Director the person's actual financial inability to deposit with the City the full
         amount of the fine in advance of the hearing.

 E.      If the Director determines not to issue an advance deposit hardship waiver, the person shall remit
         the deposit to the City within ten days of the date of that decision or thirty days from the date of the
         administrative citation, whichever is later.

 F.      The Director shall issue a written determination listing the reasons for his or her determination to
         issue or not issue the advance deposit hardship waiver. The written determination of the Director
         shall be final.

 G.      The written determination of the Director shall be served upon the person who applied for the
         advance deposit hardship waiver.

 1.15.080 Hearing Officer

 The City Manager shall designate the hearing officer for the administrative citation hearing.

 1.15.090 Hearing Procedure

 A.      No hearing to contest an administrative citation before a hearing officer shall be held unless the
         fine has been deposited in advance in accordance with Section 1.15.060 or an advance deposit
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         hardship waiver has been issued in accordance with Section 1.15.070.

 B.      A hearing before the hearing officer shall be set for a date that is not less than fifteen days and not
         more than sixty days from the date that the request for hearing is filed in accordance with the
         provisions of this Chapter.

 C.      At the hearing, the party contesting the administrative citation shall be given the opportunity to
         testify and to present evidence concerning the administrative citation.

 D.      The failure of any recipient of an administrative citation to appear at the administrative citation
         hearing shall constitute a forfeiture of the fine and a failure to exhaust their administrative
         remedies.

 E.      The administrative citation and any additional report submitted by the enforcement officer shall
         constitute prima facie evidence of the respective facts contained in those documents.

 F.      The hearing officer may continue the hearing and request additional information from the
         enforcement officer or the recipient of the administrative citation prior to issuing a written decision.


 1.15.100 Hearing Officer's Decision

 A.      After considering all of the testimony and evidence submitted at the hearing, the hearing officer
         shall issue a written decision to uphold or cancel the administrative citation and shall list in the
         decision the reasons for that decision. The decision of the hearing officer shall be final.

 B.      If the hearing officer determines that the administrative citation should be upheld, then the fine
         amount on deposit with the City shall be retained by the City.

 C.      If the hearing officer determines that the administrative citation should be upheld and the fine has
         not been deposited pursuant to an advance deposit hardship waiver, the hearing officer shall set
         forth in the decision a payment schedule for the fine.

 D.      If the hearing officer determines that the administrative citation should be canceled and the fine
         was deposited with the City, then the City shall promptly refund the amount of the deposited fine,
         together with interest at the average rate earned on the City's portfolio for the period of time that
         the fine amount was held by the City.

 E.      The recipient of the administrative citation shall be served with a copy of the hearing officer's
         written decision.

 F.      The employment, performance evaluation, compensation and benefits of the hearing officer shall
         not be directly or indirectly conditioned upon the amount of administrative citation fines upheld by
         the hearing officer.

 1.15.110 Late Payment Charges

 Any person who fails to pay to the City any fine imposed pursuant to the provisions of this Chapter on or
 before the date that fine is due also shall be liable for the payment of any applicable late payment charges
 set forth in the schedule of fines.

 1.15.120 Recovery of Administrative Citation Fines and Costs

 The City may collect any past due administrative citation fine or late payment charge by use of all available
 legal means. The City also may recover its collection costs pursuant to Section 1.17.060.
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 1.15.125 Right to Judicial Review

 Any person aggrieved by an administrative decision of a Hearing Officer on an administrative citation may
 obtain review of the administrative decision by filing a petition for review with the Municipal Court in Santa
 Clara County in accordance with the timelines and provisions set forth in California Government Code
 Section 53069.4.

 1.15.130 Notices

 A.      The administrative citation and all notices required to be given by this Chapter shall be served on
         the responsible party in accordance with the provisions of Section 1.04.140 of this Title.

 B.      Failure to receive any notice specified in this Chapter does not affect the validity of proceedings
         conducted hereunder.




                                             ATTACHMENT B

                                                   SB 814

 Introduced by Senators Alquist and Kopp
 Chaptered 10-16-95 95-0898 February 23, 1995

 The People of the State of California do enact as follows:

 SECTION 1. Section 1094.6 of the Code of Civil Procedure is amended to read:

 1094.6. (a) Judicial review of any decision of a local agency, other than school district,
 as the term local agency is defined in Section 54951 of the Government Code, or of any
 commission, board, officer or agent thereof, may be had pursuant to Section 1094.5 of
 this code only if the petition for writ of mandate pursuant to such section is filed within
 the time limits specified in this section.

 (b) Any such petition shall be filed not later than the 90th day following the date on
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 which the decision becomes final. If there is no provision for reconsideration of the
 decision, or for a written decision or written findings supporting the decision, in any
 applicable provision of any statute, charter, or rule, for the purposes of this section, the
 decision is final on the date it is announced. If the decision is not announced at the
 close of the hearing, the date, time, and place of the announcement of the decision
 shall be announced at the hearing. If there is a provision for reconsideration, the
 decision is final for purposes of this section upon the expiration of the period during
 which such reconsideration can be sought; provided, that if reconsideration is sought
 pursuant to any such provision the decision is final for the purposes of this section on
 the date that reconsideration is rejected. If there is a provision for a written decision or
 written findings, the decision is final for purposes of this section upon the date it is
 mailed by first-class mail, postage prepaid, including a copy of the affidavit or certificate
 of mailing, to the party seeking the writ. Subdivision (a) of Section 1013 does not apply
 to extend the time, following deposit in the mail of the decision or findings, within which
 a petition shall be filed.

 (c) The complete record of the proceedings shall be prepared by the local agency or its
 commission, board, officer, or agent which made the decision and shall be delivered to
 the petitioner within 190 days after he has filed a written request therefor. The local
 agency may recover from the petitioner its actual costs for transcribing or otherwise
 preparing the record. Such record shall include the transcript of the proceedings, all
 pleadings, all notices and orders, any proposed decision by a hearing officer, the final
 decision, all admitted exhibits, all rejected exhibits in the possession of the local agency
 or its commission, board, officer, or agent, all written evidence, and any other papers in
 the case.


 (d) If the petitioner files a request for the record as specified in subdivision (c) within 10
 days after the date the decision becomes final as provided in subdivision (b), the time
 within which a petition pursuant to Section 1094.5 may be filed shall be extended to not
 later than the 30th day following the date on which the record is either personally
 delivered or mailed to the petitioner or his attorney of record, if he has one.

 (e) As used in this section, decision means a decision subject to review pursuant to
 Section 1094.5, suspending, demoting, or dismissing an officer or employee, revoking,
 denying an application for a permit, license, or other entitlement, imposing a civil or
 administrative penalty, fine, charge, or cost, or denying an application for any
 retirement benefit or allowance.

 (f) In making a final decision as defined in subdivision (e), the local agency shall provide
 notice to the party that the time within which judicial review must be sought is governed
 by this section. As used in this subdivision, "party" means an officer or employee who
 has been suspended, demoted or dismissed; a person whose permit, license, or other
 entitlement has been revoked or suspended, or whose application for a permit, license,
 or other entitlement has been denied; or a person whose application for a retirement
 benefit or allowance has been denied.
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 (g) This section shall prevail over any conflicting provision in any otherwise applicable
 law relating to the subject matter, unless the conflicting provision is a state or federal
 law which provides a shorter statute of limitations, in which case the shorter statute of
 limitations shall apply.

 SECTION. 2. Section 53069.4 is added to the Government Code, to read:

 53069.4. (a) (1) The legislative body of a local agency, as the term "local agency" is
 defined in Section 54951, may by ordinance make any violation of any ordinance
 enacted by the local agency subject to an administrative fine or penalty. The local
 agency shall set forth by ordinance the administrative procedures that shall govern the
 imposition, enforcement, collection, and administrative review by the local agency of
 those administrative fines or penalties. where the violation would otherwise be an
 infraction, the administrative fine or penalty shall not exceed the maximum fine or
 penalty amounts for infractions set forth in subdivision (b) of Section 25132 and
 subdivision (b) of Section 36900.

 (2) The administrative procedures set forth by ordinance adopted by the local agency
 pursuant to paragraph (1), shall provide for a reasonable period of time, as specified in
 the ordinance, for a person responsible for a continuing violation to correct or otherwise
 remedy the violation prior to the imposition of administrative fines or penalties, when the
 violation pertains to building, plumbing, electrical, or other similar structural or zoning
 issues, that do not create an immediate danger to health or safety.


 (b) (1) Notwithstanding the provisions of Section 1094.5 or 1094.6 of the Code of Civil
 Procedure, within 20 days after service of the final administrative order or decision of
 the local agency is made pursuant to an ordinance enacted in accordance with this
 section regarding the imposition, enforcement or collection of the administrative fines or
 penalties, a person contesting that final administrative order or decision may seek
 review by filing an appeal to be heard by the Municipal Court, where the same shall be
 heard de novo, except that the contents of the local agency's file in the case shall be
 received in evidence. A copy of the document or instrument of the local agency
 providing notice of the violation and imposition of the administrative fine or penalty shall
 be admitted into evidence as prima facie evidence of the facts stated therein. A copy of
 the notice of appeal shall be served in person or by first-class mail upon the local
 agency by the contestant.

 (2) The fee for filing the notice of appeal shall be twenty-five dollars ($25). The court
 shall request that the local agency's file on the case be forwarded to the court, to be
 received within 15 days of the request. The court shall retain the twenty-five dollar
 ($25) fee regardless of the outcome of the appeal. If the court finds in favor of the
 contestant, the amount of the fee shall be reimbursed to the contestant by the local
 agency. Any deposit of the fine or penalty shall be refunded by the local agency in
 accordance with the judgment of the court.
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 (3) The conduct of the appeal under this section is a subordinate judicial duty that may
 be performed by traffic trial commissioners and other subordinate judicial officials at the
 direction of the presiding judge of the court.

 (c) If no notice of appeal of the local agency's final administrative order or decision is
 filed within the period set forth in this section, the order or decision shall be deemed
 confirmed.

 (d) If the fine or penalty has not been deposited and the decision of the court is against
 the contestant, the local agency may proceed to collect the penalty pursuant to the
 procedures set forth in its ordinance.




                                     ATTACHMENT C
                           ADMINISTRATIVE REMEDIES ORDINANCE

                                              Chapter 1.14
                                       ADMINISTRATIVE REMEDIES

 1.14.010 Applicability

 A.      This Chapter provides for administrative remedies, which are in addition to all other legal
         remedies, criminal or civil, which may be pursued by the City to address any violation of this Code.

 B.      Use of this Chapter shall be at the sole discretion of the City.

 1.14.020 Director -- Defined

 For purposes of this Chapter, "Director'' means the head of any City department which is charged with
 responsibility for enforcement of any provision of this Code.

 1.14.030 Compliance Order

 A.      Whenever the Director determines that a violation of any provision of this Code within the
         Director's responsibility is occurring or exists, the Director may issue a written compliance order to
         any person responsible for the violation.

 B.      A compliance order issued pursuant to this Chapter shall contain the following information:
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        1.      The date and location of the violation;

        2.      The section of this Code violated and a description of the violation;

        3.      The actions required to correct the violation;

        4.      The time period after which administrative penalties will begin to accrue if compliance with
                the order has not been achieved;

        5.      Either a copy of this Chapter or an explanation of the consequences of noncompliance
                with this Chapter and a description of the hearing procedure and appeal process.

 1.14.040 Method of Service

 A.     All notices required by this Chapter shall be served as provided in Section 1.04.140 of this Title.
 B.     Where real property is involved, written notice shall be mailed to the property owner at the
        address as shown on the last equalized County assessment roll.

 C.     Where personal service or service by mail upon the property owner is unsuccessful, a copy of the
        order shall be conspicuously posted at the property which is the subject of the order.

 D.     The failure of any person to receive any notice required under this Chapter shall not affect the
        validity of any proceedings taken under this Chapter.

 1.14.050 Hearing

 A.     If the Director determines that all violations have been corrected within the time specified in the
        compliance order, no further action shall be taken.

 B.     If full compliance is not achieved within the time specified in the compliance order, the Director
        shall advise the secretary to the Appeals Board to set a hearing before the Board.

 C.     The secretary to the Appeals Hearing Board shall cause a written notice of hearing to be served
        on the violator and, where real property is involved, a notice of hearing shall be served on the
        property owner at the address as it appears on the last equalized County assessment roll
        available on the date the notice is prepared.

 1.14.060 Notice of Hearing

 A.     Every notice of hearing on a compliance order shall contain the date, time and place at which the
        hearing shall be conducted by the Appeals Hearing Board.

 B.     Each hearing shall be set for a date not less than fifteen days nor more than sixty days from the
        date of the notice of hearing unless the Director determines that the matter is urgent or that good
        cause exists for an extension of time.

 C.     This hearing serves to provide the full opportunity of a person subject to a compliance order to
        object to the determination that a violation has occurred and/or that the violation has continued to
        exist. The failure of any person subject to a compliance order, pursuant to this Chapter, to appear
        at the hearing shall constitute a failure to exhaust administrative remedies.

 1.14.070 Hearing -- Findings and order.

 A.     At the place and time set forth in the notice of hearing, the Appeals Hearing Board shall conduct a
        hearing on the compliance order issued pursuant to Section 1.14.030.
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 B.      The Board shall consider any written or oral evidence consistent with its rules and procedures
         regarding the violation and compliance by the violator or by the real property owner.

 C.      Within a reasonable time following the conclusion of the hearing, the Board shall make findings
         and issue its determination regarding:

         1.     The existence of the violation;

         2.     The failure of the violator or owner to take required corrective action within the required
                 time period.

 D.      The Board shall issue written findings on each violation. The findings shall be supported by
         evidence received at the hearing.

 E.      If the Board finds by a preponderance of the evidence that a violation has occurred and that the
         violation was not corrected within the time period specified in the compliance order, the Board
         shall issue an administrative order.

 F.      If the Board finds that no violation has occurred or that the violation was corrected within the time
         period specified in the compliance order, the Board shall issue a finding of those facts.

 1.14.080 Administrative Order

 If the Appeals Hearing Board determines that a violation occurred which was not corrected within the time
 period specified in the compliance order, the Board shall issue an administrative order described in
 Section 1.14.070 which imposes any or all of the following:


 A.      An order to correct, including a schedule for correction where appropriate;

 B.      Administrative penalties as provided in Section 1.14.090;

 C.      Administrative costs as provided in Section 1.14.100.

 1.14.090 Administrative penalties

 A.      The Appeals Hearing Board may impose administrative penalties for the violation of any provision
         of this Code in an amount not to exceed a maximum of Two Thousand Five Hundred Dollars per
         day for each ongoing violation, except that the total administrative penalty shall not exceed One
         Hundred Thousand Dollars exclusive of administrative costs, interest and restitution for
         compliance reinspections, for any related series of violations.

 B.      In determining the amount of the administrative penalty, the Board may take any or all of the
         following factors into consideration:

         1.      The duration of the violation;

         2.      The frequency, recurrence and number of violations, related or unrelated, by the same
                 violator;

         3.      The seriousness of the violation;

         4.      The good faith efforts of the violator to come into compliance;

         5.      The economic impact of the penalty on the violator;
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         6.      The impact of the violation on the community;

         7.      Such other factors as justice may require.

 C.      Administrative penalties imposed by the Board shall accrue from the date specified in the
         compliance order and shall cease to accrue on the date the violation is corrected as determined
         by the Director or the Board.

 D.      The Board, in its discretion, may suspend the imposition of applicable penalties for any period of
         time during which:

         1.      The violator has filed for necessary permits; and

         2.      Such permits are required to achieve compliance; and

         3.      Such permit applications are actively pending before the City, State or other appropriate
                 governmental agency.

 E.      Administrative penalties assessed by the Board shall be due by the date specified in the
         administrative order.

 F.      Administrative penalties assessed by the Board are a debt owed to the City and, in addition to all
         other means of enforcement, if the violation is located on real property, may be enforced by
         means of a lien against the real property on which the violation occurred.

 G.      If the violation is not corrected as specified in the Board's order to correct, administrative penalties
         shall continue to accrue on a daily basis until the violation is corrected, subject to the maximum
         amount set forth in Section 1.14.090.A. above.

 H.      If the violator gives written notice to the Director that the violation has been corrected and if the
         Director finds that compliance has been achieved, the Director shall deem the date the written
         notice was postmarked or personally delivered to the Director or the date of the final inspection,
         whichever first occurred, to be the date the violation was corrected. If no written notice is provided
         to the Director, the violation will be deemed corrected on the date of the final inspection.

 1.14.100 Administrative Costs

 A.      The Appeals Hearing Board shall assess administrative costs against the violator when it finds
         that a violation has occurred and that compliance has not been achieved within the time specified
         in the compliance order.

 B.      The administrative costs may include any and all costs incurred by the City in connection with the
         matter before the Appeals Hearing Board including, but not limited to, costs of investigation,
         staffing costs incurred in preparation for the hearing and for the hearing itself, and costs for all
         reinspections necessary to enforce the compliance order.

 1.14.110 Failure To Comply With Administrative Compliance Order

 Failure to pay the assessed administrative penalties and administrative costs specified in the
 administrative order of the Appeals Hearing Board may be enforced as:

         1.      A personal obligation of the violator; and/or

         2.      If the violation is in connection with real property, a lien upon the real property. The lien
                 shall remain in effect until all of the administrative penalties, interest and administrative
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                  costs are paid in full.

 1.14.120 Right of Judicial Review

 Any person aggrieved by an administrative order of the Appeals Hearing Board may obtain review of the
 administrative order in the Superior Court by filing with the court a petition for writ of mandate pursuant to
 Section 1.16.010 of this Code.

 1.14.130 Recovery of Administrative Civil Penalties

 The City may collect the assessed administrative penalties and administrative costs by use of all available
 legal means, including recordation of a lien pursuant to Section 1.14.160.


 1.14.140 Report of Compliance after Administrative Order

 If the Director determines that compliance has been achieved after a compliance order has been
 sustained by the Appeals Hearing Board, the Director shall file a report indicating that compliance has
 been achieved.

 1.14.150 Compliance Dispute

 A.      If the Director does not file a report pursuant to Section 1.14.140 above, a violator who believes
         that compliance has been achieved may request a compliance hearing before the Appeals
         Hearing Board by filing a request for a hearing with the secretary to the Board.

 B.      The hearing shall be noticed and conducted in the same manner as a hearing on a compliance
         order provided in Sections 1.14.060 through 1.14.070 of this Chapter.

 C.      The Board shall determine if compliance has been achieved and, if so, when it was achieved.

 1.14.160 Lien Procedure

 A.      Whenever the amount of any administrative penalty and/or administrative cost imposed by the
         Appeals Hearing Board pursuant to this Chapter in connection with real property has not been
         satisfied in full within ninety days and/or has not been successfully challenged by a timely writ of
         mandate, this obligation may constitute a lien against the real property on which the violation
         occurred.

 B.      The lien provided herein shall have no force and effect until recorded with the County Recorder.
         Once recorded, the administrative order shall have the force and effect and priority of a judgment
         lien governed by the provisions of Sections 697.340 of the Code of Civil Procedure and may be
         extended as provided in Sections 683.110 to 683.220, inclusive, of the Code of Civil Procedure.

 C.      Interest shall accrue on the principal amount of the judgment remaining unsatisfied pursuant to
         law.

 D.      Prior to recording any such lien, the Director of Finance shall prepare and file with the City Clerk a
         report stating the amounts due and owing.

 E.      The City Clerk shall fix a time, date and place for hearing such report and any protests or
         objections thereto by City Council.



 F.      The Director of Finance shall cause written notice to be served on the property owner not less
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         than ten days prior to the time set for the hearing. Such notice shall be served as provided in
         Section 1.04.140 of this Title.

 1.14.170 Public Hearing and Protests

 A.      Any person whose real property is subject to a lien pursuant to Section 1.14.160 may file a written
         protest with the City Clerk and/or may protest orally at the City Council meeting.

 B.      Each written protest or objection must contain a description of the property in which the protesting
         party is interested and the grounds of such protest or objection.

 C.      The City Council, after the hearing, shall adopt a resolution confirming, discharging or modifying
         the amount of the lien.

 1.14.180 Recording of Lien

 Thirty days following the adoption of a resolution by the City Council imposing a lien the City Clerk shall file
 the same as a judgment lien in the Office of the County Recorder of Santa Clara County, California. The
 lien may carry such additional administrative charges as set forth by resolution of the City Council.

 1.14.190 Satisfaction of Lien

 Once payment in full is received by the City for outstanding penalties and costs, the Director of Finance
 shall either record a notice of satisfaction or provide the property owner or financial institution with a notice
 of satisfaction so they may record this notice with the Office of the County Recorder. Such notice of
 satisfaction shall cancel the City's lien.
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                                    #:117




                                                       8
                                               Exhibit ___
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                                    #:119




                                                       9
                                               Exhibit ___
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                                    #:120
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                                    #:121
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                                    #:122




                                                       10
                                               Exhibit ___
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                                    #:123                            005REC PG 005
Case 8:24-cv-02793-MCS-E   Document 1 Filed 12/23/24   Page 124 of 247 Page ID
                                    #:124




                                                       11
                                               Exhibit ___
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                                                   #:125




CVPS2106001                       MINER vs CITY OF DESERT HOT SPRINGS,
Filed Date: 12/06/2021 Limited Civil Appeal of Administrative Fine or Penalty                              $225.00
Case Status: Closed               Palm Springs - Department PS4
                                                  Print Case Report

 Case Summary
   
       COMPLAINTS/PETITIONS


                                                                      Represented
         Filings                                                      By             Status       Dispositions

            MINER vs CITY OF DESERT HOT SPRINGS,                                     Closed       Other Court
         Limited Civil Appeal of Administrative Fine or Penalty                                   Ordered
                                                                                                  Dismissal

                Notice of Appeal of Administrative Fine or                           Filed:       Other Court
         Penalty of JOSEPH MINER                                                     12/06/2021   Ordered
                                                                                                  Dismissal
                                                                                                  10/20/2022

                      Defendant/Appellant: JOSEPH MINER               In Pro Per     Demurred     Dispo:
                                                                                     as of        Dismissal -
                                                                                     01/03/2022   Other Court
                                                                                                  Ordered
                                                                                                  Dismissal on
                                                                                                  10/20/2022

                      Plaintiff/Respondent: CITY OF DESERT HOT        TUAN-ANH       Waiting
         SPRINGS,                                                     VU             Service as
                                                                      JOSEPH C       of
                                                                      ROSENBLIT      12/06/2021


   
       HEARINGS


                                                                  Judicial
        Date Time    Type                                         Officer    Location/Courtroom    Disposition

        01/06/2022   Hearing on Appeal of Administrative          Arthur     Department PS4        Continued -
        08:30 AM     Fine or Penalty                              Hester                           Other pre-
                                                                                                   disposition
                                                                                                   hearing

        01/14/2022   Ex Parte Hearing re: To Continue Trial       Arthur     Department PS4        Taken off
        08:30 AM                                                  Hester                           calendar
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                                                       12
                                               Exhibit ___
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                                                                  #:127

                                    Superior Court of California County of San Luis Obispo

                                NOTICE TO PARTIES CONSIDERING AN APPEAL FROM
                                   DECISIONS OF ADMINISTRATIVE CITATIONS

Parties may file an Appeal on the administrative order pursuant to Government Code § 50369.4 by filing a notice of appeal with the
clerk of the civil division of the Superior Court along with the required filing fee and a copy of the administrative order. The appealing
party shall also serve a copy of the notice of appeal on the agency who issued the decision by delivering the same in person or mailing
the same by first class mail, postage pre-paid.
Appeal from a local agency ordinance must be filed within twenty (20) calendar days after service of the administrative order.
Appeal from a Vehicle Code or Public Utilities Code violation must be filed within thirty (30) calendar days after service of the
administrative order.
 Parties may also file a petition for a writ of mandate pursuant to Code of Civil Procedure, § 1094.5, within ninety (90) calendar days
after service of the administrative order.

                                                           NATURE OF AN APPEAL

An appeal is not a re-trial. New evidence such as testimony and exhibits are not given to the Superior Court. There are two main
grounds of appeal: (1) the evidence in the administrative hearing was insufficient to justify the verdict or judgment, and (2) errors of
law were committed during or before the hearing which harmed the appealing party. As to the first ground, insufficiency of the
evidence, the Superior Court does not decide where the greater weight of evidence was or who was telling the truth; it only decides if
there was any substantial evidence which supports the judgment. Many times, parties ask the Superior Court to change the judgment
because they should have been believed and their opponent disbelieved. This request seldom, if ever, works as it is beyond the power
of the Superior Court to re-try, or re-decide the case by re-weighing the evidence. As to the second ground, errors of law, the Superior
Court will listen and decide whether there has been any irregularity and whether any errors prejudiced or substantially harmed the
appealing party. Most appeals are won or lost on these issues of error of law and procedure.

                                                         APPEAL PROCEDURE

NOTICE OF APPEAL: The most important act in an appeal is the timely filing of the written notice of appeal. Generally, the notice
     must be filed within 20 days of entry of the decision. The Superior Court will not consider the appeal unless it grants a
     motion of the appellant (the party who is appealing) to set aside the untimeliness of the filing of the notice of appeal.
     Permission to file late is rarely given. You must attach a copy of your citation and the decision of the hearing officer. You
     must serve the Notice of Appeal on the opposing party prior to the hearing.

STATEMENT ON APPEAL: Your written Proposed Statement on Appeal must be filed and served on opposing party prior to the .
     hearing.

PROOF of SERVICE: You must file with the clerk’s office a Proof of Service of the Notice of Appeal and Statement on Appeal
     prior to the hearing.

TESTIMONY: You will have an opportunity to present oral testimony at the hearing.

HEARING: The case will be set for hearing and the clerk will notify you of the date, time, and place. At the hearing, you should
     stress the most important parts of your case while realizing that the judge has reviewed the file and read your Statement on
     Appeal. After the hearing, the judge’s decision will be mailed to you.

FORMS/FEES: Filing fee for the appeal of a parking citation or administrative fine/penalty is $25.00 (2020 fee schedule)
            Filing fee for the appeal of a dangerous or vicious dog is $45.00 (2020 fee schedule)

                     When you have completed the forms make two photocopies. The original will be kept by the court; you will need a
                     copy to be served and a copy for your records.

HEARING DATE: The court will mail you a notice of your hearing date and time. If you do not want to appear at the hearing in
      person you may file a document that states, you want to submit your appeal on the paperwork only.


https://slocourts-my.sharepoint.com/personal/jaudean_reavey_slo_courts_ca_gov/Documents/Desktop/Civil Appeal of Administrative Citations.doc
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                                           #:128


                                                                    ELECTRONICALLY FILED
 1   JASON M. HEATH, State Bar No. 180501                           Superior Court of California
     County Counsel                                                 County of Santa Cruz
 2   JOHN B. NGUYEN, State Bar No. 247457                           8/15/2022 9:32 AM
     Assistant County Counsel                                       Alex Calvo, Clerk
 3   Office of the Santa Cruz County Counsel                        By: Karen Broughton, Deputy
     701 Ocean Street, Room 505
 4   Santa Cruz, California 95060
     Telephone: (831) 454-2040
 5   Fax: (831) 454-2115
 6   Attorneys for Respondent
     Santa Cruz County Cannabis Licensing Unit
 7
 8                                 SUPERIOR COURT OF CALIFORNIA
 9                                      COUNTY OF SANTA CRUZ
10                                         LIMITED CIVIL CASE
11
12    AMIT VACHHER-GNANATHURAI,                            CASE NO. 21CV03065
13              Appellant,                                 NOTICE OF ENTRY OF ORDER ON
                                                           CLARIFYING CONDUCT AND SCOPE
14    vs.                                                  OF APPEAL HEARING PURSUANT TO
                                                           GOVERNMENT CODE SECTION
15    SANTA CRUZ COUNTY CANNABIS                           53069.4(b)(1)
      LICENSING UNIT,
16
17              Respondent.

18
19   TO AMIT VACHHER-GNANATHURAI AND HIS ATTORNEY OF RECORD:

20            NOTICE IS HEREBY GIVEN that on August 11, 2022, the above-entitled Court entered an

21   ORDER on Clarifying Conduct and Scope of Appeal Hearing pursuant to Government Code section

22   53069.4(b)(1), a true and correct copy of which is attached hereto as Exhibit A.

23   Dated: August 15, 2022                       JASON M. HEATH, COUNTY COUNSEL

24
25                                                By ________________________________
                                                        JOHN B. NGUYEN
26                                                      Assistant County Counsel
                                                        Attorneys for Respondent
27
28



     Notice of Entry of Order                    1                                 Case No. 21CV03065
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                                             #:129



 1                                           PROOF OF SERVICE
 2            I, the undersigned, state that I am a citizen of the United States and employed in the County
 3   of Santa Cruz, State of California. I am over the age of 18 years and not a party to the within action.
 4   My business address is 701 Ocean Street, Room 505, Santa Cruz, California 95060. On the date set
 5   out below, I served a true copy of the following on the person(s)/entity(ies) listed below:
 6    NOTICE OF ENTRY OF ORDER ON CLARIFYING CONDUCT AND SCOPE OF
     APPEAL HEARING PURSUANT TO GOVERNMENT CODE SECTION 53069.4(b)(1)
 7
       by service by mail by placing said copy enclosed in a sealed envelope and depositing the sealed
 8   envelope with the United States Postal Service with the postage fully prepaid.
 9   X by service by mail by placing said copy enclosed in a sealed envelope and placing the envelope
     ‫ۍ‬
     for collection and mailing on the date and at the place shown below following our ordinary business
10   practices. I am readily familiar with this business's practice for collecting and processing
     correspondence for mailing. On the same day that correspondence is placed for collection and
11   mailing, it is deposited in the ordinary course of business with the United States Postal Service with
     postage fully prepaid.
12
        by e-mail - I caused the document to be sent to the person(s) at the e-mail address(es) listed
13   below, each of whom previously authorized electronic service of documents in this action. I did not
     receive, within a reasonable time after the transmission, any electronic message or other indication
14
     that the transmission was unsuccessful.
15
       by express or overnight mail by arranging for pick-up by an employee of an express/overnight
16   mail company on:

17       by facsimile service at the number listed below and have confirmation that it was received by:

18    David Knutsen
      Knutsen Law Offices
19    6362 Clark Ave.
20    Dublin, CA 94568-3036
      (Attorney for Petitioner Amit Vachher-Gnanathurai)
21
22
              I declare under penalty of perjury under the laws of the State of California that the foregoing
23
     is true and correct. Executed on August 15, 2022, at Santa Cruz, California.
24
25
                                                            Maria G. Vargas
26
                                                            MARIA G. VARGAS
27
28



     Notice of Entry of Order                       2                                 Case No. 21CV03065
    Case 8:24-cv-02793-MCS-E Document 1 Filed 12/23/24                   Page 130 of 247 Page ID
ELECTRONICALLY RECEIVED DS            #:130                                     Exhibit A - Page 1
8/4/2022 10:49 AM


     1   JASON M. HEATH, State Bar No. 180501
         County Counsel
     2   JOHN B. NGUYEN, State Bar No. 247457
         Assistant County Counsel
     3   Office of the Santa Cruz County Counsel
         701 Ocean Street, Room 505
     4   Santa Cruz, California 95060
         Telephone: (831) 454-2040                                        Exempt from filing fees
     5   Fax: (831) 454-2115                                              pursuant to Govt. Code §6103
     6   Email: john.nguyen@santacruzcounty.us

     7
         Attorneys for Respondent
     8   Santa Cruz County Cannabis Licensing Unit

     9                                      SUPERIOR COURT OF CALIFORNIA

    10                                         COUNTY OF SANTA CRUZ

    11
    12    AMIT VACHHER-GNANATHURAI,                         CASE NO. 21CV03065
                    Appellant/Petitioner,                    [PROPOSED] ORDER CLARIFYING
    13                                                       CONDUCT AND SCOPE OF APPEAL
          vs.                                                HEARING PURSUANT TO
    14                                                       GOVERNMENT CODE SECTION
          SANTA CRUZ COUNTY CANNABIS                         53069.4(b)(1)
    15    LICENSING UNIT,
    16
                                                             Date:      July 26, 2022
                    Respondent.                              Time:      8:30 a.m.
    17
                                                             Dept.:     5
    18
                                                             Appeal Hearing Date: March 16, 2023
    19                                                       Time:     8:30 a.m.
                                                             Dept.:    5
    20
    21          Respondent SANTA CRUZ COUNTY CANNABIS LICENSING UNIT’s (hereinafter
    22   “COUNTY”) Motion Seeking Clarification on Conduct and Scope of De Novo Hearing pursuant to
    23   Government Code section 53069.4(b)(1) (hereinafter “Section 53069.4) came before the Court on
    24   July 26, 2022 at 8:30 a.m. in Department 5 of the Santa Cruz County Superior Court. Assistant
    25   County Counsel Jordan Sheinbaum appeared on behalf of the COUNTY and Mr. David Knutsen
    26   appeared on behalf of Appellant/Petitioner AMIT VACHHER-GNANATHURAI (hereinafter
    27   “Appellant”).
    28



         [PROPOSED] ORDER                             1                             Case No. 21CV03065
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                                            #:131                              Exhibit A - Page 2



 1          After full consideration of the evidence, pleadings filed in this matter, the arguments of
 2   counsel and good cause otherwise appearing:
 3          IT IS HEREBY ORDERED:
 4          1. Government Code section 53069.4(b)(1) entitles Appellant to a de novo review and a
 5             hearing but does not allow the presentation of new evidence or allow for witness
 6             testimony. The appeal should proceed by way of a de novo hearing by a single judge.
 7          2. Section 53069.4(b)(1) mandates that the COUNTY’s local agency file shall be admitted
 8             into evidence and that the copy of the COUNTY’s administrative citation providing
 9             notice of the violation and imposition of the administrative fine or penalty shall be
10             admitted into evidence as prima facie evidence of the facts stated therein. The Court is
11             to consider and review only the COUNTY’s local agency file on a de novo standard of
12             review.
13          3. Since Section 53069.4(b)(1) appeals are limited to evidence already in the record, the
14             parties are not entitled to introduce new evidence or conduct any formal discovery
15             including without limitation interrogatories, depositions, requests for production of
16             documents and/or things, record subpoenas, requests for admissions, and any other
17             formal discovery tools. In addition, the parties are not entitled to issue witness
18             subpoenas to appear at the hearing or present or cross-examine live or remote witness
19             testimony at the hearing.
20          4. The Court now sets the following briefing schedule as it relates to this appeal de novo:
21                 a. Appellant shall file and serve his Opening Brief on or before January 20, 2023.
22                 b. COUNTY shall file and serve its Response Brief on or before February 10, 2023.
23                 c. Appellant shall file and serve its Reply Brief on or before February 24, 2023.
24                 d. Opening and Response Briefs shall not exceed 25 pages. The Reply Brief shall
25                       not exceed 15 pages.
26          5. The September 8, 2022 hearing date is hereby VACATED.
27          6. The de novo appeal hearing is set for Thursday March 16, 2022 at 8:30 a.m. in
28             Department 5. The parties may agree to waive their right to a de novo appeal hearing



     [PROPOSED] ORDER                             2                                 Case No. 21CV03065
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 1             and presentation of oral arguments. If agreed by the parties, the parties will file a
 2             stipulation informing the Court that the Court will decide this matter on the briefs filed

 3             by the parties.

 4
 5   Approved as to form:

 6   Dated: August 4, 2022                        JASON M. HEATH, COUNTY COUNSEL

 7
 8                                                _________________________________________
                                                  John B. Nguyen
 9                                                Assistant County Counsel
                                                  Attorneys for Respondent
10
11   Approved as to form:
     Dated: July __, 2022
12
                                                  _________________________________________
13
                                                  David R. Knutsen
14                                                Attorney for Appellant/Petitioner

15
            IT IS SO ORDERED.
16
17
     Dated: _________________, 2022
18
                                                  _________________________________________
                                                     ___________________________________
                                                                                      _ __
19                                                Hon.
                                                    n. Timothy Volkmann
20                                                JUDGE OF THE SUPERIOR COURT

21
22
23
24
25
26
27
28



     [PROPOSED] ORDER                            3                                  Case No. 21CV03065
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                                    #:133




           EXHIBIT 1
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                                                 #:134


 TENTATIVE RULINGS FOR March 2, 2023
 Department S24 - Judge Gilbert G. Ochoa

 This court follows California Rules of Court, rule 3.1308(a) (1) for tentative rulings. (See San Bernardino
 Superior Court Local Emergency Rule 8.) Tentative rulings for each law & motion will be posted on the
 internet (https://www.sb-court.org) by 3:00 p.m. on the court day immediately before the hearing.

 If you do not have internet access or if you experience difficulty with the posted tentative ruling, you may
 obtain the tentative ruling by calling the Administrative Assistant. You may appear in person at the
 hearing but personal appearance is not required and remote appearance by Court Call is preferred during
 the Pandemic. (See www.sbcourt.org/general-information/remote-access)

 If you wish to submit on the ruling, call the Court and your appearance is not necessary. If both
 sides do not appear, the tentative will simply become the ruling. If any party submits on the
 tentative, the Court will not alter the tentative and it will become the ruling. If one party wants to
 argue, Court will hear argument but will not change the tentative. If the Court does decide to
 modify tentative after argument, then a further hearing for oral argument will be reset for both
 parties to be heard at the same time by the Court.

 UNLESS OTHERWISE NOTED, THE PREVAILING PARTY IS TO GIVE NOTICE OF
 THE RULING.
             CIVSB2213147
          MODERN VACAY, et al.

                              v.

              CITY OF BIG BEAR LAKE

 Motion:           Compel Further re (1) Special Interrogatories and (2) Request for Admissions

 Movant:           Appellants Modern Vacay, Eric Reynolds, and Philip McGill

 Respondent:       Respondent City of Big Bear Lake

 Discussion –

 Government Code section 53069.4, subdivision (b)(1), provides a party may 20 days after the service of a

 final administrative order imposing an administrative fine or penalty contest the order by filing an appeal.

 The appeal is deemed a limited civil case. (Gov. Code, §53069.4.) In limited cases, discovery is

 permissible but limited on the total number of interrogatories, document demands, and admission requests

 that can be propounded. (Code Civ. Proc., §94.)

           As a limited civil case authorizes discovery, and the appeal is treated like a limited civil case, it

 cannot be said that Appellants are denied the right of limited discovery.
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         Arguably vague, Interrogatory #21, the essence of the information sought can be ascertained, i.e.,

 how much did the City pay to the citation processing vendor. (Deyo v. Kilbourne (1978) 84 Cal.App.3d

 771, 783 [“Indeed, where the question is somewhat ambiguous, but the nature of the information sought is

 apparent, the proper solution is to provide an appropriate response.”].) Therefore, the Court compels a

 further response to Special Interrogatory #21. Motion granted.

         Sanctions. Under both Motions, Appellants sought sanctions. Considering, in response to the

 Compel Motions, Respondent provided not once but twice further responses, it supports Appellants are

 the prevailing parties who are entitled to sanctions. However, this Court has a standing DCO on every

 case. Failure to follow this lawful Court Order results in contempt sanctions. In the instant case, a

 transfer order occurred on Feb. 2. As a result, the Court will forgo a contempt hearing but will not award

 sanctions. Future Discovery motions must comply with the DCO or sanctions/contempt will be levied on

 the offending party. The DCO reads as follows:


         Prior to any party filing any discovery motion in this action, the moving party must schedule a

 telephonic or preferably a video discovery conference (herein after IDC) with all parties and the Court.

 The purpose of the IDC is to try and resolve the discovery issues without the necessity of a motion and or

 sanctions. At the IDC, the issues of the discovery dispute will be discussed as well as possible referral of

 the case out to Judicial Reference (hereinafter JR), pursuant to CCP 639. Timely objections to JR,

 including but not limited to, economic hardship, will be heard at this time only. (Be prepared with

 appropriate financial documentation/declarations at this time of the IDC or request an extension at the

 time of the IDC). Referral to JR is relatively rare but nonetheless, is a possibility after this conference

 depending on circumstances.

         The time for bringing any discovery motion if necessary, will be tolled by any delay caused by the

 discovery conference. Notice must be given to all parties. Propounding and responding parties to the

 discovery dispute must be at the conference electronically (preferably Zoom) and there is no cost to the

 parties. All other parties not involved in the dispute can attend or not attend the conference. No
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 substantive documents on the discovery issues (propounding and/or responsive documents, briefs, etc.)

 need to be filed for the conference by either side but you should have them available for reference at the

 conference electronically. Failure to obey this Order will result in Sanctions for the offending party

 pursuant to CCP 177.5.

 Ruling

          (1)   Hold as MOOT Appellants Modern Vacay, Reynolds, and McGill’s Motion to Compel

 Further re Special Interrogatories #2, 5, 7-8, 11-13, and 17-20 but ORDER Respondent City (if not done

 so already) to serve the Verification to the Further Responses to Special Interrogatories served on

 February 17, 2023, within 10 days of this ruling;

          (2)   Hold as MOOT Appellants Modern Vacay, Reynolds, and McGill’s Motion to Compel

 Further re RFAs #2, 5, and 7-9, but ORDER Respondent City (if not done so already) to serve the

 Verification to the Further Responses to RFAs served on February 17, 2023, within 10 days of this ruling;


  GRANT Appellants Modern Vacay, Reynolds, and McGill’s Motion to Compel Further re Special

 Interrogatory #21 and ORDER Respondent City to serve its further response within 10 days of this ruling.

 No sanctions awarded.


 Movants to give Notice and prepare Order.

 Dated-




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 Judge
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           EXHIBIT 3
           Case 8:24-cv-02793-MCS-E Document 1 Filed 12/23/24 Page 148 of 247 Page ID
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     ?%A TIVWSR GSRXIWXMRK  QE] WIIO VIZMI[ F] JMPMRK ER ETTIEP XS FI LIEVH F] XLI WYTIVMSV GSYVX [LIVI XLI
    WEQI WLEPP FI LIEVH HI RSZS I\GITX XLEX XLI GSRXIRXW SJ XLI PSGEP EKIRG] W JMPI MR XLI GEWI WLEPP FI
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   GMXEXMSR GSYRXIVTEVX 'SYRX] SJ ,YQFSPHX  'EP%TTXL   XLI XIVQW ETTIEP ERH WLEPP FI
   LIEVH HI RSZS WLSYPH FI MRXIVTVIXIH WMQMPEVP] 3TT R EX  WII +PEZMERS Z 7EGVEQIRXS 'MX] 9RMJMIH
     7GLSSP (MWX   'EP%TTXL   JSV WYFWXERXMEPP] WMQMPEV PERKYEKI XLI YWYEP TVIWYQTXMSR
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     RSZS -R 0EKSW Z 'MX] SJ 3EOPERH   'EP%TTXL 7YTT   XLI GSYVX HMWGYWWMRK :ILMGPI
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     4VSGIHYVI   E  [LMGL KSZIVRW WQEPP GPEMQW ETTIEPW TVSZMHIW XLEX ER ETTIEP XS XLI WYTIVMSV
   GSYVX WLEPP GSRWMWX SJ E RI[ LIEVMRK -R )6%8VSXXIV +MVSYEVH %WWSG Z 7YTIVMSV 'SYVX  
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   HIGMWMSRW F] PSGEP EKIRGMIW TYVWYERX XS ER SVHMRERGI +SZ 'SHI   WYFH F    IQTLEWMW
     EHHIH  8LI 'SYVX EKVIIW [MXL %TTIPPERXW XLEX XLI EREPSKSYW REXYVI SJ XLI +SZIVRQIRX 'SHI ERH XLI
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     *MREPP] XLI 'SYVX EKVIIW [MXL %TTIPPERXW XLEX XLI TPEMR XI\X SJ 7IGXMSR  HSIW RSX WXEXI XLEX XLI
   EHQMRMWXVEXMRK LIEVMRK XVERWGVMTX ERH VIGSVH WLEPP FI EHQMXXIH MRXS IZMHIRGI SV XLEX MX WLEPP FI XLI WSPI
     IZMHIRXMEV] FEWMW JSV XLI HI RSZS ETTIEP LIVI 8LI 7IGXMSR TVSZMHIW JSV EHQMWWMSR MRXS IZMHIRGI SJ XLI
   XLI GSRXIRXW SJ XLI PSGEP EKIRG] W JMPI MR XLI GEWI [LMGL VIJIVW XS XLI 'MX] W MRZIWXMKEXMSR JMPI MJ XLI
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     GSRWMHIVIH MJ HMWGSZIV] [EW EPPS[IH MR ER EGXMSR EVMWMRK YRHIV XLI 'EPMJSVRME 4YFPMG 6IGSVHW %GX ERH
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     LIPH XLEX FIGEYWI XLI 0IKMWPEXYVI LEW RSX MRGPYHIH ER] I\IQTXMSR TVIGPYHMRK HMWGSZIV] MR WYGL
   TVSGIIHMRKW[IGSRGPYHIXLEXXLIHMWGSZIV]EGXETTPMIW 
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     VIZMI[MRK GSYVX GERRSX WMQTP] WYFWXMXYXI MXW HMWGVIXMSR JSV XLI EHQMRMWXVEXMZI EKIRG] W 4 %W EX 
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     ,S[IZIV MR XLEX GEWI +YWXIP] [EW JSYRH XS LEZI GSQQMXXIH ZEVMSYW GSYRX] GSHI ZMSPEXMSRW SR LMW
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      '%7)8-80);ERKZW'MX]SJ7EGVEQIRXS4SPMGI  #:152  '%7) 23 '9.6+(7
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   ETTIEP 8LI GSYVX VIEWSRIH XLEX WMRGI NYHKQIRX MR ER EHQMRMWXVEXMZI QERHEQYW EGXMSR MW KIRIVEPP]
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     ETTIEPEFPI MX [SYPH FI ERSQEPSYW RSX XS EPPS[ E JYVXLIV ETTIEP SJ E NYHKQIRX YRHIV 7IGXMSR
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   WLS[R XLEX TVSGIIHMRKW TYVWYERX XS 7IGXMSR  GERRSX TVSTIVP] MRGPYHI ER] RI[ IZMHIRGI
   -RHIIH %TTIPPERXW 3TTSWMXMSR TETIVW GLEPPIRKI XLI REXYVI ERH I\XIRX SJ XLI YRHIVP]MRK EHQMRMWXVEXMZI
     VIZMI[ TVSGIWW [LIVIMR XLI I\EQMRIV MQTSWIH E WMKRMJMGERX JMRERGMEP TIREPX] SR %TTIPPERXW EJXIV E
   LIEVMRK XLEX [EW RSX WYFNIGX XS XLI VYPIW SJ IZMHIRGI ERH XLEX QE] LEZI MRZSPZIH GSRWMHIVEXMSR SJ
     LIEVWE] IZMHIRGI -R XLI MRXIVIWXW SJ HYI TVSGIWW XLI 'SYVX EX XLMW XMQI HIGPMRIW XS MWWYI E TVSXIGXMZI
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     SVHIV TVIZIRXMRK ER] ERH EPP HMWGSZIV] ERH HIGPMRIW XS JMRH XLEX EFWSPYXIP] RS RI[ IZMHIRGI QE] FI
   TVIWIRXIHEWTEVXSJEJYPPRI[HIRSZSIZMHIRXMEV]LIEVMRKTYVWYERXXS7IGXMSR
   8LI 'SYVX GPEVMJMIW XLEX XLMW VYPMRK MW PMQMXIH XS XLI UYIWXMSR SJ [LIXLIV HMWGSZIV] WLSYPH FI TIVQMXXIH XS
     SGGYV RSX [LIXLIV XLI NYHKI EWWMKRIH XS TVIWMHI SZIV XLI HI RSZS ETTIEP WLSYPH SV WLSYPH RSX EHQMX
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     ER] RI[ IZMHIRGI 5YIWXMSRW SJ EHQMWWMFMPMX] EVI TVIWIVZIH JSV XLI NYHMGMEP SJJMGIV LERHPMRK XLI HI RSZS
   ETTIEP8LMW'SYVXLIVIMRLSPHWSRP]XLEXHMWGSZIV]QE]TVSGIIHMRXLMWEGXMSR
   8LI'MX] W1SXMSRJSV4VSXIGXMZI3VHIVMW()2-)(
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      APRI2200098; APRI2200109

                        STATE OF CALIFORNIA
                 SUPERIOR COURT ~ APPELLATE DIVISION
                        COUNTY OF RIVERSIDE


                 JOSEPH MINER                   ) Docket No. APRI2200098
             Defendant and Appellant,           )             APRI2200109
                                                )
                         vs.                    ) Superior Ct.CVPS2106001
                                                )
         CITY OF DESERT HOT SPRINGS             ) CONSOLIDATED
             Plaintiff and Respondent.          ) OPENING BRIEF
                                                )


                On Appeal from the Riverside County Superior Court
             The Honorable Arthur C. Hester III, Commissioner Presiding
             Riverside County Superior Court - Palm Springs - Dept. PS4

                 FOLLOWING AN ORDER GRANTING A MOTION FOR
               VEXATIOUS LITIGANT AND SECURITY ~ CCP §391(b)(3)
                    DISMISSAL OF CASE WITHOUT PREJUDICE


                        APPELLANT’S OPENING BRIEF



                RELATED PROCEEDINGS IN SUPERIOR COURT
                      Riverside Case No.: CVPS21060016

                RELATED PROCEEDINGS IN FEDERAL COURT
                 Central District No.: 8:22-cv-01043-CAS-MAA

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      All hearings were assembled as one document. Pages labeled and numbered as
      CSR001-CSR332.




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                         STATE OF CALIFORNIA
                  SUPERIOR COURT ~ APPELLATE DIVISION
                         COUNTY OF RIVERSIDE


                  JOSEPH MINER                      ) Docket No. APRI2200098
              Defendant and Appellant,              )             APRI2200109
                                                    )
                           vs.                      ) Superior Ct.CVPS2106001
                                                    )
         CITY OF DESERT HOT SPRINGS                 ) CONSOLIDATED
             Plaintiff and Respondent.              ) OPENING BRIEF
                                                    )


                On Appeal from the Riverside County Superior Court
             The Honorable Arthur C. Hester III, Commissioner Presiding
             Riverside County Superior Court - Palm Springs - Dept. PS4


                          APPELLANT’S OPENING BRIEF


                                    INTRODUCTION

                 “Self-defense is not only our right; it is our duty.”
                                      ~ Ronald Reagan

             Defendant Joseph Miner - aka citee, contestant, and appellant;

      appeals from a trial court Order rendered by Hon. Commissioner Arthur C.

      Hester III on 9/22/22 following a motion by plaintiff City of Desert Hot

      Springs to declare Joseph Miner a vexatious litigant under CCP. §391(b)(3).

             The City’s motion was filed in the last minutes of a CCP. §85(c), de

      novo, ‘reclassified’1 limited civil Superior Court case, statutorily labeled an

      “appeal.” Appellant Miner respectfully requests a review of facts and law.

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             Miner challenges three prejudicial trial court decisions; (1) the

      vexatious litigant declaration and pre-filing Order, (2) the Order to post

      security, (3) dismissal of the limited civil case - leaving the administrative

      findings intact. A meaningful review and limited civil case were absent.

             Root of these issues is extraordinary delegation of State legislative

      power. Local agencies (540) create unconforming, wild-west municipal law

      and fines. Each authors different documents, code, and procedure with no

      oversight. The courts have developed different interpretations of procedure

      and law. Few defendants have wherewithal to bring these issues for review.

             This Appeal is not about a vexatious litigant. There is no history of

      disputes or litigations or any previous interaction with the City. The City’s

      vexatious litigant motion has to do with the single defense of one ticket.

             The cruxes: (1) Miner is the defendant, not plaintiff; (2) the court did

      not bring the motion; the City as the plaintiff, had no standing to bring the

      vexatious litigant motion; (3) Appellant’s filings were legal, justified and

      meritorious; (4) there is no evidence Appellant’s intent was to delay the

      proceedings, file frivolous papers, motions, or commit any bad act; (5) no

      security posting was warranted by the court’s own statements; (6) the court

      failed to interpret and abide by the law; it’s acts were arbitrary and

      capricious - not reasoned decisions; (7) Appellant was not provided a

      statutory limited civil case with discovery, depositions, as a matter of right,

      to develop his full and complete defense; (8) there was no fair civil trial.

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                            STATEMENT OF THE CASE

             When it became clear to Miner the trial court was not going to

      follow the statutory mandates of a limited civil case Miner hired a court

      reporter. He attempted to avoid waiver and forfeiture of all material issues.

             Miner was cited after denying a code officer entry to his ranch. He

      was denied the administrative hearing he paid for in advance. He was

      denied a judge in trial court. He was denied all discovery: interrogatories,

      admissions, documents, a deposition. He was denied subpoenaed witnesses

      and documents. He was denied a statutory limited civil case. After being

      crippled by the court and vigorously defending himself he was declared a

      vexatious litigant. This highly unusual situation required unusual actions.

      Relevant History and Material Factual Context

             Factually; this case began on 4/28/21 when code officers entered

      Miner’s fenced gated ranch without a warrant (CT 147¶65, 484, 490, 1143).

             Officers opened two poisoned, incomplete internal code cases - then

      radio silence. A different officer was then handed the secret open code case.

             The instant chain of events began with the City violating Miner’s

      Constitutional rights (CT 484), not Miner violating the City’s law. Events

      catalogued below are the causation of defendant’s acts and filings in court.

             The code case did not begin on the date of the ‘instant’ citation

      8/18/21 as the trial court repeatedly insisted. The court changed the facts,

      prevented evidence, prevented witnesses - and prevented a fair trial.

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             On 6/10/21 (CT 424, 488-495) code officer (Messer) newly assigned

      to the open case called Miner’s business cell phone about ‘re-inspection’ of

      Miner’s ranch. Miner was alarmed, mostly clueless. The officer stated he

      would drop an “open” code case if he could just enter the ranch and take a

      photo for his boss (CT 492, 497). The call was automatically preserved.

             After the officer danced around questions regarding the warrant and

      unlawful search - Miner, on 6/30/21 decided to deny this ‘re-inspection’

      request by this ‘new’ officer (CT 566-570). He had no warrant to inspect.

             Uncertain unintelligible vague codes of gobbledegook were served

      (CT 201), the officer instituted prejudicial, clear and gross violations of the

      City’s law and procedure (CT 1596-1611) (CT 389:2-23;517, 518, 520).

             Unsavory, dubious actions of clear retaliation began by an angry

      young officer (CT 517) who falsely advised his “team” of an inspection.

             All facts and interactions with officer Messer were material and

      relevant. The root historical facts and issues were not permitted in trial.

             Mysteriously, on 7/26/21 11:28 am officer Messer copied case 21-

      566 to new case number 21-985 (CT 3587-3608; 3605). This eliminated all

      root history - the violations of the constitution. The new case 21-985 (RT

      3587-3608) used the same codes as the poisoned evidence as input on

      poisoned cases 21-566 (RT 497-510) and 21-578 (RT 2538-2546). Minutes

      later on 7/26/21 11:29 am officer Messer closed cases 21-566 and 578 (CT

      510). This is grossly troubling - secret, and a clear deceitful shell game.

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             On 8/18/21 this officer, using identical text, alleging “public

      nuisance” violations, cited Miner without issuing notice, time to cure, and

      without a coherent textual factual description of the precise issues. No fair

      notice with “reasonable specificity” (In re Sheena K., p. 729 34).

             The officer never defined, described, or offered any specificity of the

      alleged “public nuisance” issues. Alleged “trash” / “junk” wasn’t described

      in his declaration, photographed, annotated, or marked-up on his exhibits.

             When Miner, during examination, requested the officer mark the

      location in the photographs the Court intervened saving the officer and told

      the officer to just testify to it - because it did not exist in the photographs.

             To comply or defend - specificity and a location must be identified

      on ranch land 330' x 660' - the size of FOUR NFL FOOTBALL FIELDS.

             Miner testified that no trash or junk exists (CT 574 (CDHS0257)),

      (RT 205-206). Usable ranch items or possessions are not trash or junk.

      The Ranch - Subject of the Citation

             The 66 year old ranch is a complex property. The original 5 acre

      property was subdivided by deed, then reassembled. Comprehensively

      zoned in the County as W2 (CT 451, 454-460) it was constructed under

      code and law while under county control. It is fenced and gated. It consists

      of four legally unique, physically un-defined with no interior physical

      boundaries2 land parcels (CT 514, 515). The parcel line boundaries are not

      distinguishable in officer’s photographs - what parcel was he citing?

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             Beginning in 1957 three parcels were separately constructed while

      under county control. The ranch was annexed by the City through LAFCO

      assistance (CT 1157-1158) in 2010, it was then re-zoned in 2020 to MU-C

      §17.14.030 (CT 154, 328). Even this was beyond the officer’s knowledge.

             The ranch is used as a single property (RT 305). Grandfathered use,

      Zoning, and LAFCO define property uses. No notice was ever issued by the

      City as to changes in law that affect any uses of the ranch. The City stated

      in its own writings the annexed land uses would not change (CT 1157).

             Miner’s ranch neighbors are also 200,000 sf properties including: a

      mini storage, pet cemetery, auto wrecking yard, outdoor cactus nursery (CT

      144 ¶49). There are no close / abutting homes (CT 446, 447, 512, 520, 523).

      Appellant’s Knowledge of Real Property, Code and Law

             Appellant Miner is a 40 year real estate professional with 1000's of

      hours in specific education and the two highest real estate licenses available

      in California: broker, and certified appraiser (CT 438, 440, 3419:22-28). He

      has significant education and experience in these exact issues (CT 189¶32).

             Miner also holds fire prevention certificate and is ALSO a member

      of CACEO, a California “non profit” - code officer group (CT 3537¶3-8).

      CACEO offers only generalized education - “basic” 120 hour “certificates.”

      Pre Court Materially Related Administrative Issues

             Miner was denied the administrative hearing he had paid in advance

      and mandated by law (CT 877-879). With Miner absent, the City lied to the

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      hearing officer (CT 901). Miner was denied the right to be heard, the right

      to confront his accuser, and cross examine witnesses, the right to present

      evidence, and establish evidence eventually lodged in trial court (CT 1114).

             Miner’s only defense and remedy at this juncture was to ‘re-classify’

      the case to a de novo civil case as provided by statute GC. §53069.4(b)(1).

      On 12/6/21 he filed a ‘caption’ for re-classification - as trial de novo.

      Legal Mandate of City Code Enforcement

             The purpose of all Desert Hot Springs code enforcement policy is

      based on Health and Safety - DHSMC §4.04.010. This ordinance is clear

      and unambiguous. It is crystal clear to a person of ordinary intelligence (CT

      330, 375, 376, 377, 3625) (Diaz v. Grill Concepts 17; Boelts v. City of Lake

      Forest 05). The City has failed to follow its own laws. (Vollstedt v. City of

      Stockton 67; City of Bakersfield v. Miller 10)

             “The purpose of this title is to provide a just, equitable and
             practicable method for preventing, discouraging and/or abating
             certain conditions which endanger the life, limb, health, property,
             safety or welfare of the general public and to provide City staff with
             precise enforcement regulations that can be effectively applied and
             administered in a fair, expedient, and cost efficient manner. (Prior
             code § 80.01)”

             Allegations against Miner endanger nothing and no one. There has

      been nothing fair or precise about the City’s attempted shenanigans and

      unlawful acts should be challenged (Weiss v. City of Los Angeles 70).

      City and Officer Material Errors

             Legislature passed the “Administrative Citation” bill - SB814 in

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      1995. The intent of the legislature was to give local agencies the authority

      to issue fines for simple transitory ordinance violations - “parking-ticket-

      style” and “parking-ticket-level” of offenses occur; Garbage cans, dogs, etc.

             The legislature knew the objective was to permit cities to author and

      prosecute citations for transitory violations. The bill was not passed to

      permit a City to fine ‘severe’ “public nuisances” eliminating due process.

             Nuisances, or public nuisances are not mentioned in the chaptered

      bill. “Instant citation law” is not applicable to “public nuisance law.” State

      law preempting and controlling the procedure and government code have

      not changed in CC. Sections §3479, §3480, §3491.

             A code officer may not point his Hogwart’s wand and legally declare

      a “public nuisance” or make up code text from whole cloth. Nothing exists

      on the ranch that affects the public - CCP. §3480, per (Gallo v. Acuna 51).

             The term ‘administrative citation’ is now purely a generic term like

      ‘pleading’ that offers no factual level for comparison. The law is muddy;

      there is no certain uniformity to compare appellate case facts.

             The review court’s elephant problem. Five hundred forty agencies

      each now issue vastly different documents with different styles, designs,

      elements, and levels of information, all designed for different purposes.

             No case law makes clear the facts and elements mandated by law on

      the ‘administrative citation’ form at the center of each case.

             The City is the master of its choice of it’s documents and procedure.

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      Here, the City issued a document “instant ticket” as an “administrative

      citation” for what should have been a notice and abatement for a “public

      nuisance” as mandated by State law. Different procedures may both be mis-

      named an “administrative citation.” Case law is beyond murky.

             The City’s grossly undertrained officer made up code text, inserted

      false words, failed to detail or describe anything and improperly used

      “fines” (CT 1534-1538) - Administrative Citations (DHSMC §4.24) (CT

      317-323; 1563-1585) for alleged “public nuisance” abatement actions

      (DHSMC§4.16). The City fine and citation is clearly not an abatement

      action pursuant to City’s own documents (CT 319 ¶5).

             The officer then, without any notice at all, recorded an unlawful “lis

      pendens” on Miner’s ranch (CT 3431:7-27, 3349) as if he had opened an

      abatement action. This has damaged Miner for more than two years (Finch

      Aerospace Corp. v. City of San Diego 20). This shows his confusion.

             The officer ticketed Miner with an ‘instant citation’ for issues that

      are not transient violations (CT 1565). He used the wrong legal procedure.

      He exceeded authority statutorily delegated by plain text of City ordinance,

      which identified the specific purpose of code enforcement under DHSMC

      §4.04.010. He clearly stated he cited Miner under DHSMC §4.16 (RT

      289:22-28, 290:1-24). Nothing was rationally related to, or amounted to any

      level of health or safety, either or both. Naming your cat, “dog” does not

      make it a “dog.” The same is applicable to all ‘subjective’ labels.

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      City of Desert Hot Springs Public Nuisance Ordinance 4.16.010

             The City has been subverting state law. It collects 100% of the fines

      for what should be “public nuisance” abatement cases. Abatement is

      mandated by State law and Government code. (See Gallo CT 3724-3731).

             DHSMC municipal code mandates abatement of “public nuisances”

      §4.16.020 Notice of public nuisance and order to abate. DHSMC §4.16.030

      states administrative fines are due, not an “administrative citation.”

             The only proper City procedure is Notice and Order to Abate

      included in DHSMC §4.16.050 Contents of Notice and Order. Not a single

      mention of phrase “public nuisance” appears in the entire “administrative

      citation” ordinance §4.24.10-4.24.430. Fines are monetary, not abatement.

             Innocuous common issues are not nuisances. A true “public

      nuisance” requires abatement. If a nuisance is abatable at a reasonable cost,

      it is a continuing nuisance not a fine (Mangini v. Aerojet-General Corp 44).

             State remedies for a public nuisance (established since 1880) in Civil

      Code section §3491 provides three remedies for a public nuisance (all end

      with abatement): (1) a criminal proceeding; (2) a civil action; or (3)

      abatement (Flahive v. City of Dana Point 23). State law remedy preempts

      and conflicts with this City’s income generating sidestep of law - labeling

      everything under the sun a “public nuisance,” repetitive fines, not abating.

             A local agency cannot label or point at objects that are not rational or

      material nuisances at all, fine its citizens, and laugh at 900 years of public

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      nuisance law.3 4 Historical Supreme Court nuisance law makes clear a

      nuisance is a VERY SERIOUS issue - not a flyspeck or a whimsical

      allegation on private property. The nuisance treatise by H. G. Wood is the

      baseline of all recent nuisance history.

             “The Restatement Second formulates the requirement of
             substantiality as proof of "significant harm," defined as a "real and
             appreciable invasion of the plaintiff's interests," one that is
             "definitely offensive, seriously annoying or intolerable."
             (Rest.2d Torts, § 821F, coms. c & d, pp. 105-106.)

             The measure is an objective one: "If normal persons in that locality
             would not be substantially annoyed or disturbed by the situation,
             then the invasion is not a significant one...." (Gallo v. Acuna 51 p.
             1105)

      Administrative Hearing Facts Become Trial Court Evidence

             Administrative procedure requires an administrative hearing. Miner

      was denied the administrative hearing he had paid for in advance. He could

      have developed evidence, examined the code officer and established on the

      record why all additional city employees were required court witnesses and

      why documents were required for production.

             At the hands of the City attorney (CT 901) Miner was wilfully

      denied this vital hearing prior to trial court. Miner notified the city he would

      not attend without service (CT 885-887) and the City attorney was aware of

      and receive received Miner’s letter then wilfully misled the hearing officer

      at the start of the hearing. Miner was wilfully denied crucial documents,

      confronting witness, being heard; even limited due process.


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      Trial Court

             The trial court was a mess. Trial was set for 30 days from Miner’s

      first filing eliminating all discovery. Under §53069.4 discovery is not

      prohibited. The legislature made the de novo a limited civil case for a

      reason CCP. §§90-100. One hearing, no discovery would be small claims.

             The trial court set a de novo ‘trial’ just 30 days after filing - nowhere

      in the statute does it state this is correct or mandated procedure.

             This scheduling and the Court’s inferences eliminated adequate (all)

      discovery CCP. §§2016.010 - 2036.050, CCP. §§90-100).

             There was no judicial trial assessment, case management, or trial

      setting conference pursuant to Rules of Court 3.714, 3.715, 3.720-3.735,

      3.714(b)(2),(b)(3), 3.715, 3.722(a), 3.727, 3.729.

             In the first three hearings Miner had three different judicial officers.

      Miner declined to stipulate and requested a judge, this request was ignored.

             It was clear Miner desired discovery. It as mentioned several times in

      open court. The subordinate judicial officer ignored or failed to comprehend

      or absorb the complexity of the case then failed to properly manage it as a

      limited civil case. The Commissioner did not appear to have read the 600

      pages of previously lodged evidence or he would have known exactly what

      the case was about.

             The complete (not a cherry picked version by the City attorney [CT

      1484]) of the “administrative record,” the local agency’s file is, by law, to

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      be lodged and entered into evidence. GC. §53069.4(b)(1), (County of

      Humboldt v. Appellate Division of Superior Court 13 p.304-305), Case file

      means ‘entire’ case file and is the “administrative record.” It is by statute,

      logically, rationally everyone’s evidence. The court disagreed (RT 60:1-3).

             This limited civil case involved a several month long code case, not

      a transitory “instant ticket.” The court was stubbornly in error as to the date

      of the start of the code case, and the fact that a limited civil case is not a

      lawsuit. (RT 25:4-23; 42:18-28; 108:11-18; 112:18-28; 113:1-10).

             The fact that the trial court mandated the case be cabined to the date

      the 8/18/21 citation was issued - prejudiced Miner’s entire legal defense

      including examining knowledgeable witnesses and historical documents.

             When Miner testified the Commissioner would stop him and

      interject his own version of the facts - not allowing Miner to finish. The air

      was thick, Miner was standing a foot high in potato chips and egg shells.

             There are 37 “stop” commands by the trial court in the reporter’s

      transcript directed at Miner. Appellant was not treated fairly or as

      recommended or as law states in the 2019 Self Represented Benchguide for

      Judicial Officers. The Judge acted as an aggressive prosecutor.

             The court cabined the case testimony as if the officer was just

      driving by and was alerted to the property. That order was prejudicial.

             The evidence lodged months earlier told a full factual story with

      documented evidence of when and how the case began (CT 368-638).

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             It was clear the Commissioner did not want and was not permitting

      the case or trial to be any more than an instant ticket (RT CSR109:16-27)

      even with an unlawful entry, search and conflicting procedural issues!

             The court failed to permit defendant to have witnesses, failed to

      permit defendant documents only the City had in its possession. He then

      ruled against every single document the defendant presented.

             The court’s continuous acts of bias were grossly prejudicial. The

      self-represented bench guide is clear on these issues. Miner’s evidence was

      either lodged by the City or was self-admitting during testimony (BG 4-4).

             “This principle requires the judge not to allow procedural
             irregularities to serve as the basis for precluding a self- represented
             litigant from presenting appropriate evidence or presenting a
             potentially valid defense.” Simon v. City & County of San Francisco
             (1947) 79 Cal.App.2d 590, 600, cited by [Adams 02] Adams v.
             Murakami (1991) 54 Cal.3d 105, p. 120 (2019 Judicial Officer
             Bench Guide Involving Self-Represented Litigants. (BG 3-7)

             Citizens in California (Cal. Const., art. I, §1, §3, §13, §19) and the

      United States are permitted to defend themselves against legal and property

      attacks just as any defense attorney would do. The trial court ignored the

      Constitution. The trial court consistently prevented Miner to use evidence

      and officer testimony in his defense (RT 110, 111, 112).

             It was clear to Appellant the trial court did not grasp these materially

      related issues. The court improperly prevented Appellant from examining

      the officer as to his education and knowledge, City training on its specific

      codes, who mentored him, his knowledge of real estate, land entitlement,

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      land annexation - or his superiors who might have had the answers. Of

      course these issues are materially relevant. Cities and their officers do

      things wrong every day. Courts and especially juries rule against them.

             Pursuant to statute Miner was planning for all procedure and

      defensive measures including discovery he was entitled to by statute

      GC.§53069.4 and as a limited civil case per Code Civ. Proc., §§ 86, 91-94.

      (Dedication & Everlasting Love to Animals, Inc. v. City of El Monte, 15)

             This is a civil case in civil court under limited civil rules. Discovery

      is a matter of right in a limited civil case and in a trial de novo (Chavez v.

      City of Los Angeles 08; Fairmont Ins. Co. v. Superior Court 19; Guzman V.

      Superior Court of Los Angeles Cty. 28; Beverly Hospital V. Superior Court

      of Los Angeles Cty. 04; Stratton v. Beck 64; Ytuarte v. Superior Court, 72)

              No discovery led to many prejudicial surprises by the City’s witness

      at trial during colloquies as to what the officer was pointing his camera at in

      his photographs (RT 125-129 [31 entries]). Under examination he made

      surprising statements about items and issues that were never described in

      text: - abandonment, patio furniture, outside storage, fence slats etc., items

      that were not in any brief or previously ever mentioned. (RT 130:15-26)

             Beginning with the date the case began, it was eternally futile

      attempting to reason with the trial court on every issue; - then all issues

      beyond that. The court’s treatment of Miner’s knowledge was offensive.



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      Consequences Of A Court Err Insufficient Defense

             Miner may be subject to res judicata effect or collateral estoppel

      without being fully able to develop his defense with no adequate discovery,

      depositions and procedure (Schifando v. City of Los Angeles, 59 p.464). As

      already pondered by the federal court judge in Appellant’s related federal

      case and reason for stay. (City of Santa Paula V. Narula 11 )

             The “code” officer was un-equipped and educationally un-trained to

      deal with this unique property, code, zoning, annexation, and land use

      issues. These directly affected his ability to cite the ranch. Discovery and

      depositions would have unearthed these material facts before trial.

      Vexatious Litigant Issues

             Defendant Appellant never filed a complaint (action), was not the

      plaintiff, had no prior disputes with the City, did not begin this issue; he did

      not want it, and he attempted to stop the dispute several times.

             Then in court, he attempted to end it – initially using a demurrer. The

      trial court did not rationalize the larger issues, nor did it follow the law.

             If any of Appellant’s motions were not supported by existing law,

      they are non-vexatious because they were reasonable extensions of existing

      law and or the time line. What is permissible for a licensed attorney should

      be equally permissible for a party in pro per. State Bar rule 3.1(a)(2).

      (Amtower v. Photon Dynamics, Inc. p. 368 03); Smiley v. Citibank, 62)

      Attorneys routinely use this practice to dispose of cases. Zero case

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      management; when issues were heard were issues that caused case conflict.

      Totality Of The Issues Support Appellant’s Acts At Trial

             The facts above support why Miner was forced to act and file the

      documents he did. He made a complete record for review.

             ALL OF THE ABOVE affects the City / officer’s ability to cite the

      ranch under the law. The officer cited “parking-style-violations.” The law

      does not require futile acts by Miner (Ohio v. Roberts 73).

                        STATEMENT OF APPEALABILITY

             APRI2200098. A pre-filing Order against a vexatious litigant under

      Code of Civil Procedure section §391.7 is directly appealable under Code of

      Civil Procedure section §904.1(a)(6). In limited jurisdiction the

      corresponding statute is §904.2, subdivision (g), as an order granting an

      injunction (Luckett v. Panos 42).

             APRI2200109. The Judgment of dismissal is appealable both on a

      statutory review basis of §§85-100, §53069.4, §391(b)(3), §391.1(a)(b),

      §391.3(b) and abuse of discretion.

                              STANDARD OF REVIEW

             De Novo Review

             Questions of statutory interpretation are subject to de novo review

      (Holcomb v. U.S. Bank Nat. Assn. 30; Woodman Partners v. Sofa U Love

      71)

             Section §§85-100 needs to be reviewed; how section §85, §§90-100

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      and section §53069.4 interact. How “reclassification” works. All limited

      procedure available to a defendant (contestant) who reclassifies to limited

      civil. Section §53069.4 - what the role of the parties are following

      reclassification? Section §§391-391.8 - how Miner fits into the statutory

      scheme. Whether vexations litigant law applies to §53069.4 reclassification.

      Statutes are read as a whole (Weatherford v. City of San Rafael 69).

             The Judgment of Dismissal should be reviewed de novo ~ it was

      based on improper statutory interpretation. It is moot if the vexatious

      litigant order is vacated. The trial is not complete.

         This may be a case of first impression as to the interplay between

      sections CCP. §85(c), §§86-100, GC. §53069.4, and CCP. §§391(b)(3).

             Abuse of Discretion

             A trial court abuses its discretion when the factual findings critical to

      its decision find no support in the evidence.” (People v. Cluff 50). “The

      discretion of a trial judge is not a whimsical, uncontrolled power, but a legal

      discretion ... ” (People v. Jacobs 54)

             Determination a person is a vexatious litigant is reviewed for abuse

      of discretion (Holcomb, 30).;Fink v. Shemtov, 21).

             An appellate court may overturn a judge’s ruling on a recusal motion

      for abuse of discretion. (People v Alvarez, 49; Hemingway v. Superior

      Court, 29) Miner’s clear non-stipulation was timely on 2/4/22 (CT 1159).



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                              QUESTIONS PRESENTED

      Vexatious Litigant

             1. In trial court appeal, is Miner’s label: Citee, Defendant, Appellant,

      Contestant, or Plaintiff? Or a combination?

             2. In trial court appeal is Miner’s role: Defendant, Appellant,

      Contestant, or Plaintiff? Or a combination?

             3. What is the City’s role and label?

             4. If City is technically the “plaintiff” did the City have standing to

      bring the motion accusing defendant Miner of vexatious litigation under

      textual mandates of CCP. §391.1(1)(a)?:

             5. Has Miner filed “new litigation,” “maintained litigation,”

      “commenced litigation?” Or has Miner simply “reclassified an

      administrative case” to “civil litigation” pursuant to law?

             6. Has Miner met the statutory requirements pursuant to the plain

      text of §391(b)(3) to be declared a vexatious litigant?

             7. Pursuant to a review of Miner’s label, role, acts and filings, would

      they permit the trial court re-label him the plaintiff and pursuant to

      §§391(b)(3) to deem Miner a vexatious litigant, in a first instance, pursuant

      to a clearly defense role no matter what label he was given?

             8. Based on the Court’s open court statements during the hearing of a

      50/50 chance - was security warranted? (RT 260:21-28)

             9. Should the case/citation be dismissed in the Interests of Justice?

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      Fair Trial

             1. Did the Legislature intend for the trial court to eliminate all

      defensive procedure and discovery that would have been available under

      criminal or civil actions that were eliminated under GC. §53069.4?

             2. Miner’s ranch was searched unlawfully. Miner was not permitted

      to address or raise this in his defense. The case should have been dismissed.

             Article 1, Section 13 of the California Constitution provide people
             the right to be secure in their persons, houses, papers, and effects
             and not to be subject to unreasonable searches and seizures.

             Federal Constitutional issues were preserved by filed England

      Reservations. This court of review should address the trial court’s failure to

      permit Defendant to put on a full, fair and complete defense pursuant to

      §§85-100 and raise all legal defensive issues including city witnesses.

      Judicial Bias

             1. Based on his rulings, has there been an appearance of bias by the

      Commissioner? Are his rulings prejudicial per se? Should the case be

      remand to a different judicial officer as a complete new action with full

      discovery, deposition, witnesses and all procedure in CCP. §90-100? Or;

             A. Should the judgment vacated, and the case remand for a new trial

             in front of a new judge;

             B. Or, judgment of dismissal found in Miner’s favor pursuant to

      motions and or violation of the California Constitution? All issues should

      be decided based on the court’s own discretion.

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                                     ARGUMENT

             Appellant Miner contends he is Defendant/Appellant as in the cited

      procedurally identical case Mountains. A Man (a lawyer who knew how to

      properly caption his own case) was cited per GC. §53069.4 with an

      administrative citation. He attended the administrative hearing. He then

      appealed to a trial de novo. He subsequently appealed to appellate division

      of Superior Court. His role was citee / defendant, he is labeled Defendant /

      Appellant. (Mountains Recreation Conservation Auth. v. Kaufman 46)

             I. THE TRIAL COURT ERRED WHEN IT DECLARED
             DEFENDANT MINER A VEXATIOUS LITIGANT UNDER
             THE FACTS AND ELEMENTS OF THE DE NOVO CASE

             A. Miner Hasn’t Re-litigated or Filed Unmeritorious Lawsuits

             Defendant and Appellant Joseph Miner has no vexatious litigant

      history. He has never previously been declared a vexatious litigant. He has

      never previously had a vexatious litigant motion filed against him. This is a

      first instance allegation with Miner as the defendant in ‘now’ a civil dispute

      brought by the City. Miner has not filed repetitive, unmeritorious lawsuits.

             “The primary goal of the vexatious litigant statutes is to curb misuse
             of the court system by individuals acting in propria persona who
             repeatedly re-litigate the same issues or file numerous unmeritorious
             lawsuits.” (In re Bittaker 32; Bravo v. Ismaj 06)

             B. Miner’s First Label Is Citee; His Role Is Defendant

             Miner was cited (ticketed) by the city making him the citee. Miner

      “appealed” to a hearing officer. Miner then “reclassified” as a limited civil


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      case pursuant to GC. §53069.4(b)(1) and CCP §85(c) #14.

             “one or more statutes that classify an action or special proceeding as
             a limited civil case" (id., subd. (c)). Code of Civil Procedure section
             85 provides a nonexhaustive list of statutes that classify an action
             or special proceeding as a limited civil case, a list which includes
             section 53069.4.” (Code Civ. Proc., § 85, subd. (c)(14).)

             Section 53069.4 expressly states that where a party contests a final
             administrative decision or order in a code enforcement action
             through a de novo appeal in the superior court, such "proceeding ...
             is a limited civil case." (§ 53069.4, subd. (b) County of Humboldt v.
             Appellate Division of Superior Court 13)

             Relevant role, label, and party elements make clear Miner is the

      defendant / appellant as well as in the additional materially relevant cases

      where the defendant is also the appellant: Kizer v. Waterman 39; People v.

      Kruschen 55; Wasatch Property Management v. Degrate 68). Miner was

      merely continuing his defense (John v. Superior Court (2014) p. 361 37).

             In Mahdavi and John, leading cases on these issues the Court

      explained the following:

             “As the Court of Appeal explained in Mahdavi, the term "plaintiff" is
             not commonly understood to include a defendant who has filed an
             appeal from an adverse decision by the trial court; and the definition
             of plaintiff in section §391, subdivision (d), as someone who
             "commences, institutes or maintains a litigation" does not compel
             any such strained construction here. (See Mahdavi 43; John v.
             Superior Court (2016) 38)

             1. The City Took First Chair At Trial To Reprove Its Citation

             When the trial de novo began the City took first chair and began to

      put on its case against Miner - that is not the role of a “defendant.”

             The court knew Miner was clearly a defendant - defending himself

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      (RT 44:7-13; 20-23; 59:5-9) - at least 75 references in the reporter’s

      transcript. There are 3300 plus references with Miner as defendant in the

      clerk’s transcript. “Re-prove” is word used by trial court (RT 59:5-9)

             See also CCP. §308 - In a civil action the party complaining is

      known as the plaintiff, and the adverse party as the defendant.

             Whether Miner is labeled Appellant, Contestant, Defendant or Citee,

      in the instant trial - his base role was always defendant.

             Miner was defending himself in the citation and then in the

      courtroom. It is not the label, it’s the party’s role (substance) similar to

      (Kreutzer v. County of San Diego 40; Simpson v. Ernst & Young 63).

             C. The City Issued the Citation; it Brought the Claims

             Even though Miner was denied an administrative hearing, the

      hearing officer ruled in the City’s favor. The hearing was unfairly held. His

      only remedy pursuant to statute was to “re-classify” the administrative case

      to a civil case pursuant to statute CCP. 85(c):

             “The relief sought, whether in the complaint, a cross-complaint, or
             otherwise, is exclusively of a type described in one or more
             statutes that classify an action or special proceeding as a limited
             civil case or that provide that an action or special proceeding is
             within the original jurisdiction of the municipal court, including, but
             not limited to, the following provisions: #(14) Section §53069.4 of
             the Government Code.

             Miner paid a de minimus $25 fee (GC. §70615) to contest the

      decision in a de novo case. He “reclassified” administrative litigation (GC.

      §54956.9(c)), to civil litigation, with full due process (CT 30). A writ is

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      new litigation (Tracy Press, Inc. v. Superior Court 66; Ogunsalu V.

      Superior Court 48). A trial de novo (a re-do) is not new litigation.

             Pursuant to §54956.9(c), it is the City, through government code,

      who considers a hearing officer’s involvement “litigation.” Miner

      reclassified administrative litigation to civil litigation where he was wearing

      the same shoes in defense.

             The words chosen for the text in GC. 53069.4 are specific “a person

      contesting that final administrative order or decision may seek review by

      filing an appeal to be heard by the superior court, where the same shall be

      heard de novo” and for a reason - it conforms to the holding in Collier v.

      Wallis 12. It is reclassification and a new trial for a reason - it would

      otherwise be unconstitutional.

             E. City Had No Standing to Bring Motion Against Defendant

             Pursuant to his role and case law Miner is clearly the defendant.

      “Section §391.1 provides that in any litigation pending in a California court,

      the defendant may move for an order requiring the plaintiff to furnish

      security on the ground the plaintiff is a vexatious litigant and has no

      reasonable probability of prevailing against the moving defendant” (Shalant

      v. Girardi, 60). City did not have standing or role to bring the motion.

             The plain text of the relevant vexatious litigant statutes:

             CCP. §§391.1(a) “In any litigation pending in any court of this state,
             at any time until final judgment is entered, a defendant may move
             the court, upon notice and hearing, for an order requiring the

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             plaintiff to furnish security or for an order dismissing the
             litigation pursuant to subdivision (b) of Section 391.3. The motion
             for an order requiring the plaintiff to furnish security shall be based
             upon the ground, and supported by a showing, that the plaintiff is a
             vexatious litigant and that there is not a reasonable probability that
             they will prevail in the litigation against the moving defendant.”

             CCP. §§391.3 “... determines that the plaintiff is a vexatious
             litigant and that there is no reasonable probability that the
             plaintiff will prevail in the litigation against the moving
             defendant, the court shall order the plaintiff to furnish, for the
             benefit of the moving defendant, security in such amount and
             within such time as the court shall fix.”

             Miner is the Defendant in the instant action. Or perhaps he is the

      Citee, Contestant, or Appellant. One thing he is not, is the Plaintiff.5 A court

      of appeal may move the court in the first instance as well. Neither apply

      here. (§ 391.1; Shalant, supra, p. 1170 60)

             Court must follow the plain words of the statute (Delaney v. Superior

      Court, 789 P.2d 934, 50 Cal. 3d 785, 268 Cal. Rptr. 753 (1990) #B).

             The City cited Miner. The City cannot rationally be the defendant.

      Collier clarifies why a “hearing de novo” is constitutionally mandated by

      law. (Collier & Wallis, Ltd. (Plaintiff / Respondent), v. Astor (Appellant /

      Defendant), 12. Astor stood in the defendant shoes also as defendant in her

      appeal. Astor was not transformed into a plaintiff (Supreme Court In Bank).

             F. Miner Never Filed any Civil Action or Litigation

             Miner never filed “any litigation,” never “maintained litigation,”

      never “commenced litigation.”Nothing had been “re-litigated and nothing

      was “determined.” This was the first and only “re-classification” which

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      resulted in a limited civil case (CVPS2106001) for citation 21-985. Miner,

      as defendant had no choice but to defend himself.

             “As Mahdavi observed, "[i]n appealing from a ruling in a case
             that he did not initiate, [the defendant] cannot be said to be
             ‘maintaining’ the litigation any more than any defendant can be
             considered to be ‘maintaining’ litigation by seeking to defend
             himself through the filing of pleadings and motions in the trial
             court." ( Mahdavi, supra, 166 Cal.App.4th at p. 41, 82 Cal.Rptr.3d
             121.)” John v. Superior Court of L. A. Cnty., 63 Cal.4th 91, 369 P.3d
             238, 201 Cal.Rptr.3d 459 (Cal. 2016)

             G. Court’s Order Fails Miner Is a Vexatious Litigant by Statute

             1. The Trial Court Order is Void

             “Before there can be a prefiling order, however, there must be a "
             vexatious litigant" within the contemplation of the code... “... no
             "defendant" made an appropriate motion...” Accordingly, the order
             was procedurally defective. People v. Harrison, 112 Cal.Rptr.2d 91,
             92 Cal.App.4th 780 (Cal. App. 2001)

             Limited civil division is not a court of appeal. Commissioner Hester

      is not a judge. Appellant reclassified to a limited civil case per statute.

             "As already explained, the language of the vexatious litigant statute
             indicates that the pre-filing permission requirement applies to
             appeals by plaintiffs, not to parties who did not initiate the action in
             the trial court..."

             "Section 391 does not prohibit a Court of Appeal from declaring a
             defendant appellant or writ petitioner to be a vexatious litigant in the
             first instance during the course of an appeal from litigation the
             defendant or writ petitioner did not file. ( § 391, subd. (b)(3).)..."
             John v. Superior Court of L. A. Cnty., 63 Cal.4th 91, 369 P.3d 238,
             201 Cal.Rptr.3d 459 (Cal. 2016)

             The trial court order granting the City’s vexatious litigant motion is

      void abinitio. The order (CT 5022-5023; 5028-5029) fails to establish all



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      elements including that defendant Miner is the plaintiff, and that the City, as

      defendant, could bring the motion, as mandated by the statute under

      §391.3(a). Only a defendant may make the motion 391.3(a)(c). Under the

      “reclassification” the City remains in the “complaining role” of “plaintiff.”

             The Order establishes Miner’s role per the order is Appellant. The

      City’s role is respondent. The Order declares Appellant a vexatious litigant

      and fails to state a single finding as a requirement or element under the

      statute §§391-391.8 read as a whole, that would establish Miner

      Defendant/Appellant as a vexatious litigant under CCP. §391(b)(3). Miner

      never filed an action against the City as stated on page two of Order.

             The Commissioner establishes Miner is defendant/appellant

      previously on his own court orders (CT 4554:17-18) and (CT 4612:20-21).

             Miner is listed as Defendant/Appellant on Court’s own public

      portal https://epublic-access.riverside.courts.ca.gov/public-portal/? under

      case CVPS2106001, the trial court case number.

             Only a moving defendant, or a Court of Appeal on its own motion,

      can declare a vexatious litigant in the first instance on appeal. (John v.

      Superior Court (2016) 63 Cal.4th 91, 99-100.) The Order is Void.

             H. The Courts Findings During Oral Argument Failed to
             Determine Miner Is a Vexatious Litigant

             The complete hearing was argued on the record (RT 229-261). What

      the court found on the record, in all ways, was either incorrect, or did not



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      amount to what is mandated by Statute §391(b)(3), and did not comport

      with the Court’s Order (CT 5028-5029).

             §391 (b)(3) In any litigation while acting in propria persona,
             repeatedly files unmeritorious motions, pleadings, or other papers,
             conducts unnecessary discovery, or engages in other tactics that are
             frivolous or solely intended to cause unnecessary delay.

             The court never found, that Miner filed (1) unmeritorious motions,

      that Miner conducted (2) unnecessary discovery, (3) engaged in frivolous

      tactics, or that Miner (4) solely intended to cause unnecessary delay.

       Commissioner’s own statements on the record (RT 229-261)

      •      The motion was filed by the City (RT 229:7-9)
      •      “several of the motions were duplicative, repetitive or were
             misapplied or mis-categorized” (RT 240:1-3) [statement in error -
             see pages 37-40]
      •      “and I can tell from the quality of your motions that there is a lot
             of thought and effort put into them” (RT 240:13-15)
      •      as well as in their initial motion is that these -- several of the motions
             were duplicative, repetitive or were misapplied or miscategorized.
             (RT 240:1-3)
      •      “THE COURT: And so I hear what you are saying, that you did
             not essentially have a choice because you were cited by the state,
             and you appealed as you were permitted to under the Government
             Code. That said, under 391, defendant is the one that has
             brought or maintained, "maintained" being the key word that
             I'm focusing on. (RT 245:12-17)
      •      I'm making the decision of being a vexatious litigant under CCP
             391.1 and it states, "In the time until final judgment is entered,
             the very first instance in any litigation pending in any court of
             the state at any time until final judgment is entered, a defendant
             in this case," I would deem DHS, the City of Desert Hot Springs
             being the defendant, "may move the courts upon notice and hearing
             for order requiring the plaintiff to furnish security or for order
             dismissing the litigation," and that's not what the City is requesting
             in this instance. (RT 247:26-28; 248:1-7))



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             Neither the signed Order or the argument in open court comport to a

      rational finding Miner is a Vexatious Litigant. Miner was not found by the

      Court to: act in bad faith, have filed frivolous documents, have filed

      unmeritorious documents, or have intentionally delayed the proceedings.

             During the entire open court hearing, NEVER did the Commissioner

      himself state that any act by Miner was done in bad faith, that any motion

      was frivolous, that any document was unmeritorious. He effectively stated

      as a consequence of Miner’s filings the case was delayed, but not that Miner

      filed the documents with the intent to delay the case. No bad faith at all.

      The court complemented him on the thought and effort in his motions!

             I. Acts by Miner Proper and Done With Purpose

             Discovery was cut off the day Miner filed reclassification 12/6/21.

      Discovery Closes (with the exclusion of expert lists, and expert depositions)

      – 30 days before trial, or after non-binding arbitration. [CCP 2024.020;

      CCP § 1141.24]. Miner’s documents had merit; Miner was entitled to

      zealously argue the points (Guillemin v. Stein p.73 27).

             1. Miner’s Subpoenas Were Meritorious

             Miner made crystal clear why he needed witnesses, and documents

      in this limited civil case - (CT 3065-3230; 3072).

             2. Documents Subpoenaed

             The limited civil action was blurry at best. There was no case

      management, the commissioner was not going to permit a lawsuit[?],

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      thought it was like a traffic ticket. Appellant had attempted to procure

      critical documents from the City using CPRA public records requests.

      There was no response to provide the documents before trial. The

      documents were controlled by the City attorney Mr. Vu. The documents

      subpoenaed were relevant and critical evidence (Brady v. Maryland 74).

             3. Witnesses Subpoenaed

             There had been hundreds of emails. Conversations with employees.

      Only employees could testify to emails, telephone conversations, to issues

      far above the code officer’s education and pay grade such as zoning, land

      annexation etc. Appellant made crystal clear why witnesses were relevant

      and critical. All were denied by the trial court.

             4. Miner Contends the Recusals Were Legal and Proper

             In twenty years of litigation Miner had never even thought about

      recusing a judicial officer. It was clear to Miner the Commissioner was

      looking at the City for each one of his decisions. And, in every decision it

      was for the City and against Miner. By the Court’s own statements and lack

      of knowledge of the facts - it seemed clear the Court had not read Miner’s

      documents, but seemed to have read the City’s documents and was looking

      at the city for advice. The appearance of bias was clear and overwhelming.

      He did not appear to be impartial. (Housing Auth. of County of Monterey v.

      Jones 31)

             Had the Court come to reasoned conclusions of fact and law, rather

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      than making statements such as made in (RT 43:10-18) and the successive

      statements (RT 44:20-23) relating to (RT 43:24-28) and overruling every

      single defensive move defendant made Miner may have concluded the court

      made reasoned decisions. The “appearance” of gross bias was clear. The

      Commissioner should have recused himself. He was not legally able to act.

      (See cases Catchpole v. Brannon, 07; DCH Health Services Corp. v. Waite

      14; Gai v. City of Selma 24; Garcia v. Superior Court 25, Hemingway v.

      Superior Court 29; In re Wagner 36; Structural reverseable error (People

      v. Watson 56) Roitz v. Coldwell Banker Residential Brokerage Co., 58)

      cited from Disqualification of Judge California Benchguide #2, 2010.

             J. Miner’s Filings Were Meritorious

             Superior Court is a court of record. When it was clear to Miner he

      would get the short shrift in PS4 his goal was to make a record and avoid

      waiver at all costs. He filed a healthy defense and hired a court reporter.

             No document is frivolous. Every motion is researched, has merit, is

      different; not duplicative. Neither the Court under CCP §128.5, nor the City

      under CCP §128.7, initiated a proceeding or complained giving the movant

      the safe harbor period in which to withdraw alleged frivolous proceedings

      (if any) to circumvent the imposition of sanctions. There were no warnings.

             K. The Demurrer Was Meritorious

             The trial court stated the citation was not a pleading and Appellant

      could not demurrer to a citation. The Court must look at demurrer pursuant

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      to CCP. §92.(a). It is some kind of accusatory pleading or complaint. Prior

      to §53069.4 these same issues were in civil or criminal court. A demurrer is

      proper.(People v. Hibernia Savings & Loan Society 53; Pokegama

      Sugar-Pine Lumber Co 53; People v. Gompper 32; Sheldon v. Sheldon 75,

      Strickland v. State 76). There is no law stating a demurrer is not proper.

             The issue was now in civil court. The demurrer was clear as to the

      gross deficiencies of the City’s charging document. The situation was not

      ‘black and white.’ A ‘citation’ is supposed to be a document with facts and

      elements one can defend, not a vague “blank” uncertain document absent a

      true “description” or with specifics. These are not to be “threadbare

      notices.” Administratively, the city has eliminated all codified defenses!

             CCP. §92. (a) The pleadings allowed are complaints, answers, cross-
             complaints, answers to cross-complaints and general demurrers. (b)
             The answer need not be verified, even if the complaint or cross-
             complaint is verified. (c) Special demurrers are not allowed...”

             The demurrer (CT 156) filed 1/3/2022 was to be heard 1/27/22.

      Continuance by the Court delayed the hearing. Case should have been over.

             L. The Motions Were Meritorious Not Duplicative

             A clear and plain reading of each motion filed show that the motions

      were not duplicative. Each motion addressed a different legal issue.

             The motions were served on Plaintiff City in court 3/17/22 when trial

      was supposed to begin. They were then filed with the clerk 4/11/22

      pursuant to the court’s request. Some were effectively discovery motions.

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             The City opposed each motion by brief. Effectively they became

      properly noticed motions CCP. §1005. They were not heard 6/23/22. Trial

      began 6/23/22. The trial court had months to review the motions.

             Motions in Limine were mandated because of the court’s lack of

      case management and fact that the court scheduled a trial 30 days from the

      filing of the reclassification.

             The trial court had inherent power to control litigation and conserve

      judicial resources." (Amtower, at p. 1593; Lucas v. County of Los Angeles

      (1996) 47 Cal.App.4th 277, 284.). (Edwards v. Centex Real Estate Corp.

      (1997) 53 Cal.App.4th 15, 27.)

             “Frivolous” is defined as either “totally and completely without

      merit” or “for the sole purpose of harassing an opposing party.” (Code Civ.

      Proc., § 128.5, subd. (b)(2).) (Childs 09)

             Appellant’s motions are clear. They were filed to end the case before

      trial. Defendant’s only sin was being on the unsuccessful side of 120

      second rulings. Unsuccessful, or “without reasonable inquiry” does

      not mean “unmeritorious” or “frivolous.”

             Under section §391, subdivision (b)(3), a person is a vexatious

      litigant if he or she, while acting in propria persona, "repeatedly files

      unmeritorious motions, pleadings, or other papers, conducts unnecessary

      discovery, or engages in other tactics that are frivolous or solely intended to

      cause unnecessary delay.

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             “Not all failed motions can support a vexatious litigant designation.
             The repeated motions must be so devoid of merit and be so frivolous
             that they can be described as a `"flagrant abuse of the system, "have
             `no reasonable probability of success,' lack `reasonable or probable
             cause or excuse' and are clearly meant to `"abuse the processes of the
             courts and to harass the adverse party” (See Morton v. Wagner 47
             (2007) 156 Cal.App.4th 963, 972; also see Golin v. Allenby 26
             (2010) 190 Cal.App.4th 616, 639, fn. 29

             “[t]he vexatious litigant statutes do not define `frivolous' but we note

      that under section §128.5, subdivision (b)(2), this term is defined as `(A)

      totally and completely without merit or (B) for the sole purpose of harassing

      an opposing party'"].)” Not a single one of Miner’s documents or motions

      or filings fit within that box.

             01. Motion in Limine #1 Was Meritorious

             Miner had no administrative hearing. An administrative hearing is

      required by law. Miner addressed the lack of administrative hearing in the

      motion. Cases are sent back when no “fair” hearing is held (CT 1309).

             02. Motion in Limine #2 Was Meritorious

             Miner’s motion was that the City failed to state a claim on their

      charging complaint (citation) (CT 1388).

             03. Motion in Limine #3 Was Meritorious

             This motion attacked the incomplete and flawed “cherry picked”

      administrative record (CT 1624).

             04. Motion in Limine #4 Was Meritorious

             This motion was about the exculpatory fact the City failed to



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      produce exculpatory evidence (CT 1664).

             05. Motion in Limine #5 Was Meritorious

             This motion was about the city attorney filing a legal brief in

      replacement what was to be a code officer’s report. Mr. Vu effectively held

      the code officer by the nose and wrote his declaration (CT 1472).

             06. Motion in Limine #6 Was Meritorious

             This was a motion to strike the hearsay of the City’s unsigned

      uncertified hearing transcript recorded and transcribed by an unknown

      person (CT 1612).

             07. Motion in Limine #7 Was Meritorious

             This was a motion to force the proper argumentation of the

      administrative record (CT 1477).

             08. Motion in Limine #8 Was Meritorious

             This was a thorough Judgment on the pleadings at a point the case

      had a different posture (CT 1525).

             09. Motion in Limine #9 Was Meritorious

             This was a Motion for unclean hands detailed 29 bad acts by the City

      under the doctrine of unclean hands (CT 1596).

             10. Motion to Disqualify City Attorney Was Meritorious

             This was a motion to disqualify the City attorney based on the City

      attorney’s continuous bad acts and violation of the professional rules of

      conduct (CT 1261). The Commissioner failed to realize the City’s “bad

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      acts” were part of the lodged evidence and were directly materially related.

             M. City’s Caselaw Inapplicable and Distinguishable

             Plaintiff City’s vexatious litigant caselaw regarding defendant Miner

      is distinguishable, inapplicable, or bad law (1) In re Marriage of Deal 33;

      (2) In re R.H, 35 (3) McColm v. Westwood Park Assn., 45; (4) Ogunsalu v.

      Superior Court, 48; Thompson v. Ioane 65). Miner was not a previous

      vexatious litigant, he never filed a writ, Miner was/is defendant in the case.

             II. THE TRIAL COURT ERRED WHEN IT ORDERED
             MINER TO POST SECURITY AS A DEFENDANT

             A. The Trial Court in its Own Words Stated Miner Had a 50/50
             Chance of Prevailing

             No security was mandated. There are 5 allegations on the citation.

      Two or three is the same as 50/50 chance for either party. What the court

      actually said in the hearing matters.

      •      And so one other holding that I did not address in regards to 391, it
             must also be found that the Court find that there is a likelihood
             of the City essentially obtaining a holding of the citation --
             upholding a citation against you, Mr. Miner. . ... ... ... There are
             five bases given. I wouldn't say that I would necessarily find that
             every bases -- every basis would be a strong likelihood, but by my
             count I would see at least two or three of the grounds on the
             citation as being a strong likelihood of succeeding on behalf of the
             City. (RT 260:21-28)

             Miner is defendant, City is plaintiff. “vexatious litigant statutes were

      enacted to require a person found a vexatious litigant to put up security for

      the reasonable expenses of a defendant who becomes the target of one of

      these obsessive and persistent litigants.” (First Western Development Corp.

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      v. Superior Court 22). Miner contends each individual violation is separate

      on the citation. Winning one is “prevailing” on that one issue.

             III. CUMULATIVE TRIAL COURT ERROR

             Bias - from day one this Commissioner (a recent former County

      district attorney) was in favor of the City. A demurrer was filed. CCP.

      Section 92 enumerates permissible pleadings and motions in limited civil

      cases (Laurel 01). The court was not concerned about the demurrer, it was

      concerned on whether Miner filed “his” appeal documents on time. Miner

      had (RT 44:20-23).

             Eventually, the Court overruled the demurrer simply stating “you

      cannot demurrer to a citation” (RT 43:10-18). It seemed he never read it.

             It was clear he never read the nine motions in limine as he was not

      aware of them on the day of trial (RT 51:18-21). The motions in limine

      were brought up 3/17/22 (RT 8:2-11). Again Court had to be notified there

      were nine motions in limine on calendar (RT 51:18-21).

             The Court went through the motions in limine in minutes and

      summarily denied the nine motions mostly because they were “labeled”

      “motions in limine.” In reality, because of timing and City oppositions, they

      had become noticed motions (RT 54:13-26). (See Kreutzer V. County of San

      Diego,153 Cal. App. 3d 62, 200 Cal. Rptr. 322 (Ct. App. 1984))

             Miner, as a witness, was going to testify to an email he received

      from a DHS fireman. The Court would not permit it. (RT 213-214) He was

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      the witness and received the email. (Evid. Code, § 1400.) Also see the

      recusal request (RT 214:6-26) Issues were constant throughout the hearings

      (RT 216:24-28; 221:1-14) there is no benefit here to list them all.

             It would be relevant to know if someone who placed $4000 in

      citations on property (1) graduated high school (2) could read and interpret

      statutes, (3) had a code enforcement manual (4) had any training in the

      City’s statutes. There was NO discovery to expose issues (RT 98:10-13).

             The Court did what it could to prop up the untrained officer. Doing

      something wrong, with no training, for three years, is still doing it wrong.

             The officer has no survey, real estate or City training that even gives

      him the knowledge to be aware where the public right of way is, where

      Miner’s property begins and ends, which is not the fence. (CT 102-104)

             The Court was completely aware he had eliminated all Miner’s

      witnesses and documents (RT 44:20-23). The Court constantly mis-stated

      the facts (CT 44:7-23. For example Miner had requested witnesses from the

      City (CT 637), and at the court (CT 5083). The foundation for all issues had

      been laid in the evidentiary documents lodged with the Court, (“shall be

      received in evidence”) §53069.4(b)(1) (CT 313-989).

             The Commissioner’s tone and comments were condescending,

      offensive. He appeared bias on many occasions. The Judge never argued in

      Miner’s favor, but did argue with Miner in favor of the City and the officer

      many times. (RT 152:16-28;153:1-28;154,155:1-4) When things were

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      pointed out, he forced retrospective excuses for the record (RT 250-251).

      The reporter’s transcript is tells of the abuse and bias (RT 1-332).

             He always steered the trial and testimony in favor of the City. Such

      as NOT simply placing an X on the spot of the officer’s photographs where

      the officer stated there were violations (RT 130:15-28) so they could be

      argued on appeal - rather than guessed at. Everyone sees photos differently.

             In the end Miner had no civil trial procedure at all, no discovery at

      all, no witnesses at all, no documents from the City at all. The Court

      quashed, and overruled every document Miner had filed - except for the

      trial “appeal.” In passing he only allowed because the City acquiesced.

             In all - there was bias, Constitutional error, legal error, evidentiary

      error, discovery error, and procedural error. The Commissioner failed to

      “follow the evidence.” He contributed to the conviction. This entire

      experience could not have been more prejudicial and more sour.

             It appeared, because Miner was issued a citation, the Commissioner

      believed he was guilty - a scheduling inconvenience and waste of time.

             Not a single ruling was in Miner’s favor. Not one except for being

      permitted to appeal and that was a battle in itself. And after all that, the

      Commissioner declared Miner the vexatious litigant.

      //

      //




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                                     CONCLUSION

      For the Vexatious Litigant Order Appeal

             #1. Miner does not fall within the vexatious litigant statute because:

      (1) only a defendant or a court of appeal may make a motion or declare a

      vexatious litigant, (2) here, Miner is the defendant, not the plaintiff, (3)

      there is no proof Miner has re-litigated any case, (4) Miner has never been

      previously declared a vexatious litigant, (5) Miner’s filings were defensive

      in an attempt to end litigation, not harass any party, (6) Miner’s demurrer

      and motions were quality documents, not frivolous, duplicative, or without

      merit, (7) Miner’s documents were not re-litigation or duplicative (8) Miner

      “reclassified” a case pursuant to statute GC. §53069.4, (9) Miner never filed

      “new litigation,” never “maintained” litigation, (10) Miner never conducted

      “unnecessary discovery” or any discovery, (11) Miner performed no acts

      that were frivolous, or were solely intended to cause unnecessary delay.

             Therefore under §391(b)(3) Miner cannot be declared a vexatious

      litigant as he does not meet the statutory elements necessary as motioned by

      the Plaintiff City (Holcomb v. US Bank Nat. Ass'n 30).

             Miner was not provided with a limited civil case pursuant to §§90-

      100 of the civil code of procedure. The court’s timing, and statutory failures

      contributed to Miner’s effort and acts to obtain a fair trial and a fair review.

             The case should have terminated before Miner was forced to file a

      single motion (Chicken and the egg);

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             #2, IF NOT #1, then the vexatious litigant Order is void because the

      necessary findings, express language, mandated by statute for the vexatious

      litigant order are absent from the Order (CT 5016-5017);

             #3, If NOT #1 AND NOT #2, then vexatious litigant order is not

      supported by substantial evidence to support the finding. Secondly, there is

      no bad faith, cause delay, intent to harm or “mens rea”;

             #4, If NOT #1 NOT #2 OR #3, then the dismissal for security is not

      supported by substantial evidence. A. The Court in its own words stated

      parties had a 2 out of 3 chance. B. What does prevailing mean when there

      are 5 separate finable violations? Each prevailing issue is a separate

      decision. There is no typical “prevailing party” in a citation appeal because

      there are separate distinguishable monetary awards for each violation.

             This is the appeal of the vexatious litigant Order, Order for security,

      and judgment of dismissal. The case should have been dismissed before

      Miner was forced to file documents preserving his defenses for appeal.

                                        PRAYER

             #1. Vacate the Vexatious Litigant ruling;

             #2. Vacate the Vexatious Litigant pre-filing order;

             #3. Vacate the security Order;

             #4. Vacate the Judgment of Dismissal;

             #5. Dismiss the case and citation based upon the;

                    A. Demurrer;

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                    B. Interests of Justice;

             OR enter a judgment in Miner’s Favor for C-F below

                    C. Based on the motion to dismiss;

                    D. Based on motion for judgment on the pleadings;

                    E. Based on the motion for unclean hands;

                    F. Based on any or all motions and pleadings;

             #6. Alternatively or In the INTEREST OF JUSTICE

             Vacate the Orders and Dismissal and remand the entire case

      beginning with discovery, to be heard by a new Judge with a new trial with

      all discovery - based on prejudicial errors;

                    A. Miner has not received an administrative hearing;

                    B. The Commissioner failed to recuse himself;

                    C. Miner has had no discovery;

                    D. Miner has not received a fair trial per statute;

             #7. Reinstate the §128.5/§128.7 motions;

             #8. Correct Miner’s role on register of actions in trial court and

             appellate court to Defendant/Appellant for a proper record;

             #9. For any relief the Court considers just and proper.



                           Respectfully, ____________________
                                         Joseph Miner 5/18/2023
                                         pro per




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                     Establishing Law of Continuing Importance

             The Court should rule on issues in this matter that may be

      subsequent events of continuing public importance affecting 540 local

      agencies procedure and is a question capable of repetition. Appeals of GC.

      §53069.4 issues are escalating.

             #1. A party who reclassifies pursuant to 85(c) to limited civil

      division is a “defendant.

             #2. A demurrer is appropriate as a defense against an uncertain

      “administrative citation” (charging pleading) reclassified to civil court.

             #3. Discovery, pursuant to statute, is permitted in a reclassified

      limited civil case pursuant to CCP. §§90-100.


                                      y, ____________________
                           Respectfully,
                                         Jose
                                            eph Miner 5/18/2023
                                         Joseph
                                         pro per




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      Endnotes

      EN1:     A “new action” in civil court would cost $225. This is re-classification.
      EN2:     No obvious physical boundaries - you would not know what parcel you were
               looking at unless you had real estate survey or appraisal experience.
      EN3:     A Practical Treatise on the Law of Nuisances, H. G. Wood 3rd, 1893, V1 37-
               38, V2 764, 765.
      EN4:     The Law of Public Nuisance: Maintaining Rational Boundaries on a Rational
               Tort Victor E. Schwartz.
      EN5:     The court should note that “role labels” seem to be arbitrarily assigned by the
               court clerks. In the online case register Miner’s label is defendant/appellant in the
               download version he is plaintiff/appellant. Miner protested to the appellate clerk
               that he assigned Miner as plaintiff. TC stated “it does not matter.”

                      CERTIFICATE OF INTERESTED PARTIES

                           None. Except for parties / persons served.

                           CERTIFICATION OF COMPLIANCE

               Appeals must conform to the provisions of California Rules of

      Court.

               I, Joseph Miner, certify that Appellant’s Brief, was produced on a

      computer, that the total number of words contained in the AOB, and

      exclusive of tables and this certificate, does not exceed 10,000 words.

               I relied on the word count of the computer program used to prepare

      the Brief. The number of words exclusive of tables and this certificate, is

      9,841 including pages 1 through end notes pursuant to Word Perfect 7 by

      Corel.

      Dated this 18th day of May, 2023 at Orange County, California.

                                                 _________________
                                                 ____________________

                                                 Joseph Miner 5/18/2023

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                            PROOF OF SERVICE
                 STATE OF CALIFORNIA, COUNTY OF ORANGE

                                  JOSEPH MINER
                                       vs.
                           CITY OF DESERT HOT SPRINGS.

                   Appellate Case No. APRI2200098; APRI2200109
                Riverside County Superior Court Case No. CVPS2106001

             I am employed in the County of Orange, State of California. I am over
      the age of 18 years and not a party to the within action. My business address is
      2576 Newport Blvd #A, Costa Mesa, CA 92627.

              On May 18, 2023, I served the foregoing document described as:
      Application to file consolidated appeals APRI2200098; APRI2200109.
      Proposed Order, and Appellant’s Consolidated Opening Brief, on the
      interested parties in this action.

      ¨      by placing the original and/or a true copy thereof enclosed in (a) sealed
             envelope(s), addressed as follows:

             SEE SPECIFIC ATTACHED SERVICE LIST

      ¨      BY REGULAR MAIL: I deposited such envelope in the mail at U.S.
             Postal Service, Costa Mesa California 92627. The envelope was mailed
             with postage thereon fully prepaid.

             I am aware that on motion of the party served, service is presumed
             invalid if postal cancellation date or postage meter date is more than
             one (1) day after date of deposit for mailing in affidavit.

      ý      BY ELECTRONIC SERVICE: I caused the documents to be sent to the
             persons at the electronic notification address listed in the Service List.

      ý      (State) I declare under penalty of perjury under the laws of the State of
             California that the foregoing is true and correct.

      ¨      (Federal) I declare that I am employed in the office of a member of the
             Bar of this Court, at whose direction the service was made.

      Executed on May 18, 2023, at Orange
                                    range County, California.
                                                  Califo
                                                      f rnia.

                                          _______________________________
                                            _____________________________
                                                                       _
                                                 Lily Dunlop

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       SERVICE LIST

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       Court of Appeal                          NA


       California Supreme Court                 NA




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